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                  EXHIBIT A-10
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Counsel for Defendant Abbott Laboratories


 HOLLI CARTER, on her own behalf and as
 Parent and Natural Guardian of J.C., a Minor,   COURT OF COMMON PLEAS OF
                                                 PHILADELPHIA COUNTY,
                       Plaintiffs,               PENNSYLVANIA

        v.
                                                 Civil Action No. 220302588
 MEAD JOHNSON & COMPANY, LLC,
 MEAD JOHNSON NUTRITION COMPANY,
 ABBOTT LABORATORIES, THE
 PENNSYLVANIA HOSPITAL OF THE
 UNIVERSITY OF PENNSYLVANIA
 HEALTH SYSTEM d/b/a PENNSYLVANIA
 HOSPITAL, and THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA d/b/a
 PENN MEDICINE,

                       Defendants.



                                     NOTICE OF REMOVAL

TO:    The Office of Judicial Records
       Of the Court of Common Pleas of Philadelphia County
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       Pursuant to 28 U.S.C. § 1446(d), Defendant Abbott Laboratories files herewith a copy of

the Notice of Removal filed in the United States District Court for the Eastern District of

Pennsylvania on May 3, 2022.



May 3, 2022                                          Respectfully submitted,

                                                     /s/ John R. Timmer
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                                                     Counsel for Abbott Laboratories
  Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 4 of 375 PageID #:195




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 3, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court, and to be furnished by e-mail or U.S. Mail to the following:

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    Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 5 of 375 PageID #:196




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HOLLI CARTER, on her own behalf and as a
                                               Civil Action No. __________________
Parent and Natural Guardian of J.C., a Minor
16 Carmen Drive                                   (Formerly Case ID No. 220302588, Court of
Cape May, NJ 08210                                Common Pleas Philadelphia County)


                 Plaintiffs,
          v.
MEAD JOHNSON & COMPANY, LLC
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703

MEAD JOHNSON NUTRITION COMPANY
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703

ABBOTT LABORATORIES
CT Corporation System
208 So. Lasalle Street, Suite 814
Chicago, IL 60604

THE PENNSYLVANIA HOSPITAL OF THE
UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM d/b/a PENNSYLVANIA
HOSPITAL
3400 Civic Center Blvd.
Philadelphia, PA 19104

THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA d/b/a PENN MEDICINE
133 South 36th Street
Philadelphia, PA 19104

                Defendants.


                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,
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Defendant Abbott Laboratories (“Abbott”) hereby removes the above-captioned action from the

First Judicial District of Pennsylvania, Court of Common Pleas of Philadelphia County, Case ID

No. 220302588, to the United States District Court for the Eastern District of Pennsylvania.

Abbott provides this “short and plain statement of the grounds for removal.” 28 U.S.C. § 1446(a).

                             NATURE OF REMOVED ACTION

       1.      On March 24, 2022, Plaintiff filed this action in the First Judicial District of

Pennsylvania, Court of Common Pleas of Philadelphia County, Case ID No. 220302588.

       2.      Plaintiff’s filing of this action follows more than 300 other individuals who have

filed similar lawsuits across the country in recent months. These cases are about infants who were

born too early—before 37 weeks of gestation—and developed necrotizing enterocolitis (“NEC”),

an umbrella term for a disease of the gastrointestinal tract that occurs in premature infants.

NEC’s causes are both complex and multifactorial, meaning that it has many known contributing

factors. Among these many risk factors, there are only two reliable prognostic parameters:

gestational age and birth weight. The younger the infant’s gestational age and the less an infant

weighs, the greater the risk that the infant will develop NEC.

       3.      These cases target a series of specialized formula and fortifier nutrition products

that contain cow’s milk protein. These products are designed and sold specifically for premature

infants, who suffer from a host of medical issues relating to low birthweight and

underdevelopment, regardless of what nutrition is administered.

       4.      Infants who are born prematurely, at a low birth weight, and small for their

gestational age, have underdeveloped or maldeveloped gastrointestinal systems that are simply not

prepared to receive nutrition outside the womb. As a result, highly specialized medical

professionals must make sophisticated judgments about the substance, quantity, timing, and



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method of administration when providing nutrition to these fragile infants. A team of NICU

physicians and specialists continuously monitors premature infants for early signs of NEC (among

the many other things that can go wrong). They do so regardless of how nutrition is administered,

and regardless of whether it consists of the mother’s own milk, human donor milk, specialized

formula or fortifier, or a combination. Each of these lawsuits alleges that the use of Abbott’s and/or

Mead Johnson’s specialized preterm infant nutrition products caused an infant’s NEC because the

products are derived from cow’s milk. The evidence will show that there is no basis for these

allegations. These products are safe and save lives. Without them, many more infants would die

or suffer serious setbacks, or face lifelong impairment.

        5.       Like those other actions, Plaintiff asserts product liability claims arising from the

administration of Abbott’s and/or Mead Johnson’s specialized preterm infant formula and/or

human milk fortifiers, which Plaintiff alleges caused her premature infant to develop NEC.

Plaintiff asserts the following causes of action (“COAs”) against Abbott and Defendants Mead

Johnson & Company, LLC and Mead Johnson Nutrition Company (“Mead Johnson”): (1) strict

liability for design defect (“Count I”); (2) strict liability for failure to warn (“Count II”);

(3) negligence (“Count III”); (4) intentional misrepresentation (“Count IV”); and (5) negligent

misrepresentation (“Count V”).

        6.       Unlike most of the lawsuits that preceded this one, however, Plaintiff in this case

also asserts two causes of action against hospital defendants—namely, The Pennsylvania Hospital

of The University of Pennsylvania Health System d/b/a Pennsylvania Hospital (“Pennsylvania

Hospital”)1 and The Trustees of the University of Pennsylvania d/b/a Penn Medicine, (“Penn



        1
         Pennsylvania Hospital argues that even if Plaintiff “had a viable corporate negligence claim against
Pennsylvania Hospital, any such claim is precluded against the Trustees of the University of Pennsylvania d/b/a
Penn Medicine since it is not a hospital.” (Hospital Defendants’ Preliminary Objections ¶ 45.) We agree that if

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Medicine”) (collectively, the “Hospital Defendants”). Plaintiff’s claims against the Hospital

Defendants are for: (1) negligent failure to warn (“Count VI”); and (2) negligent corporate liability

of health-care provider (“Count VII”).2

          7.      The Hospital Defendants are citizens of Pennsylvania and, while they are diverse

from Plaintiff, their citizenship as in-forum defendants should be disregarded.

          8.      Notwithstanding Plaintiff’s inclusion of the Hospital Defendants, this case is

properly removed to this Court pursuant to 28 U.S.C. § 1441 because Abbott has satisfied the

procedural requirements for removal and this Court has subject matter pursuant to 28 U.S.C.

§ 1332.

          9.      As explained in detail below, Plaintiff improperly joined the Hospital Defendants

in this case.

          10.     Nearly all of the hundreds of plaintiffs who have filed similar product liability cases

relating to specialized preterm infant formula and fortifier product have asserted claims against the

manufacturers alone—not any hospitals or medical providers—and there are sound reasons for

this. Indeed, the Pennsylvania residents who filed in Illinois state court, represented by the same

plaintiffs’ counsel here, did not include any claims against the hospitals or medical providers. 3




Pennsylvania Hospital is not considered a hospital, it does not owe any of the duties outlined in Thompson v. Nason
Hospital, 527 Pa. 330, 591 A.2d 703 (1991), and no claim may be brought against it under the theory of corporate
liability. See infra ¶ 36 et seq.
          2
            The Hospital Defendants have filed Preliminary Objections in state court, objecting to both causes of
action advanced by Plaintiff against them. See Ex. A-4. The Hospital Defendants object to these causes of action on
the grounds that Abbott and Mead Johnson’s products are not unreasonably dangerous and that a cause of action for
corporate liability of a healthcare provider fails because Pennsylvania law requires more than a mere act of
negligence for liability to attach to a hospital. Id. at 3, 9. The Hospital Defendants also have moved to strike
Plaintiff’s Complaint for lack of specificity, Id. at 11.
          3
            Plaintiff’s counsel’s decision to exclude local hospitals from the Illinois cases, and the demonstrated
ability of those suits to proceed without them, undermines any forthcoming argument that they are necessary or
indispensable parties.


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        11.    As plaintiffs filed cases in jurisdictions all over the country, Abbott requested

multidistrict consolidation to efficiently litigate these cases and safeguard the standard of care

practiced in NICUs around the country. In an attempt to escape an orderly process, Plaintiff’s

counsel began filing cases in state court, naming hospitals as co-defendants, despite the clear bar

against doing so.

        12.    On April 8, 2022, the United States Judicial Panel for Multidistrict Litigation

(“JPML”) established a Multi-District Litigation (“MDL) for such claims against Abbott and Mead

Johnson pending in federal courts nationwide. See In re Preterm Infant Nutrition Prods. Liab.

Litig., MDL No. 3026, Dkt. 119 (Apr. 8, 2022 Order). More than a dozen law firms represent those

plaintiffs across the country, some of which are leading the MDL and Illinois litigations. And while

Plaintiff’s counsel here has filed cases in other jurisdictions, they have not gained a leadership

position in those other proceedings.

        13.    In an apparent attempt to secure a leadership role in this nationwide litigation,

Plaintiff’s counsel is now attempting to assert claims against the involved hospitals to prevent

removal and transfer to the Preterm Infant Nutrition Products MDL. In the past several weeks,

Plaintiff’s counsel has filed nine lawsuits in California on behalf of twenty-five plaintiffs, and

twenty-nine lawsuits in Pennsylvania on behalf of twenty-nine plaintiffs. In all of these lawsuits,

Plaintiff’s counsel has named as defendants the manufacturers and also the hospitals in which the

premature infants were born and/or received medical treatment. Had these cases been filed against

only the product manufacturers (like the others), they would be readily removed and transferred to

the MDL—where Plaintiff’s counsel has no leadership role. This gamesmanship should not be

tolerated.




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            14.     Having removed this action, Abbott shall promptly request that the JPML transfer

this action to the Preterm Infant Nutrition Products MDL pursuant to the “tag-along” procedure

contained in the JPML Rules and the Case Management Order entered by the Northern District of

Illinois on April 26, 2022. In addition, Abbott will seek a stay of these proceedings in the interest

of judicial efficiency and consistency so that the MDL can address future motions, if any. 4

       I.         ABBOTT HAS SATISFIED THE PROCEDURAL REQUIREMENTS FOR
                  REMOVAL

            15.     In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

which have been filed in the underlying matter are attached as Exhibit A. A copy of the State

docket, showing all filings and activity to date, is attached as Exhibit B.

            16.     Promptly following the filing of this Notice of Removal, written notice of the

removal of this action will be served on all parties’ counsel, as required by 28 U.S.C. § 1446(d).

            17.     A true and correct copy of this Notice of Removal will also be promptly filed with

the Court of Common Pleas, Philadelphia County, pursuant to 28 U.S.C. § 1446(d).

            18.     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) because this

is a civil action in which the properly joined parties are citizens of different states and the amount

in controversy exceeds the sum of $75,000 for Plaintiff’s claims, exclusive of costs and interest.

            19.     Venue for this action is proper in this Court under 28 U.S.C. § 1441(a) because

Philadelphia County is located within the United States District Court for the Eastern District of

Pennsylvania (28 U.S.C. § 118(a)).




            4
          In recent filings in the United States District Court for the Northern District of California, Plaintiff’s
counsel has sought expedited briefing on their Motions to Remand, maligning the JPML’s selected MDL judge,
Chief Judge Rebecca R. Pallmeyer, as somehow incapable or unable to render these decisions—an attack on this
esteemed member of the judiciary that is unsupported and outlandish.


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           20.        Plaintiff filed this action in state court on or about March 24, 2022. Abbott’s

registered agent was served with the Complaint on or about April 13, 2022. Mead Johnson, which

was served on or about April 15, 2022, has consented to removal. No consent for removal from

the Hospital Defendants is required because, as set forth below, they are not properly joined. See

28 U.S.C. § 1446(b)(2)(A) (providing that only those defendants that have been “properly joined

and served” must consent).

           21.        This Notice of Removal is timely pursuant to 28 U.S.C. § 1446 because it is filed

within 30 days of service upon Abbott.

     II.         DIVERSITY JURISDICTION EXISTS AS TO THE PROPERLY JOINED
                 PARTIES

           22.        This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) because this

is a civil action in which the properly joined parties are citizens of different states and the amount

in controversy exceeds the sum of $75,000 for Plaintiff’s claims, exclusive of costs and interest.

                 A.      The Amount in Controversy Requirement Is Satisfied

           23.        It is evident from the Complaint and the nature of Plaintiff’s claimed injuries that

the amount in controversy exceeds $75,000, exclusive of interests and costs.

           24.        Under 28 U.S.C. § 1446(c)(2), “[i]f removal of a civil action is sought on the basis

of the jurisdiction conferred by section 1332(a), the sum demanded in good faith in the initial

pleading shall be deemed to be the amount in controversy, except that—

                      (A) the notice of removal may assert the amount in controversy if
                      the initial pleading seeks. . . (ii) a money judgment, but the State
                      practice either does not permit demand for a specific sum or permits
                      recovery of damages in excess of the amount demanded, and
                      (B) removal of the action is proper on the basis of an amount in
                      controversy asserted under subparagraph (A) if the district court
                      finds, by the preponderance of the evidence, that the amount in
                      controversy exceeds the amount specified in section 1332(a).



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28 U.S.C. § 1446(c)(2)(A)-(B); Federal Courts Jurisdiction and Venue Clarification Act of 2011,

Pub.L. 112-63, Dec. 7, 2011. The United States Court of Appeals for the Third Circuit has stated

that “the party asserting federal jurisdiction in a removal case bears the burden of showing, at all

stages of the litigation, that the case is properly before the federal court.” Frederico v. Home Depot,

507 F.3d 188, 193 (3d Cir. 2007).

       25.     “In removal cases, determining the amount in controversy begins with a reading of

the complaint filed in the state court.” Samuel–Bassett v. KIA Motors America, Inc., 357 F.3d 392,

396 (3d Cir. 2004). In determining whether the jurisdictional amount has been satisfied, the Court

can properly consider both actual and punitive damages claimed by the plaintiff. Packard v.

Provident Nat. Bank, 994 F.2d 1039, 1046 (3d Cir. 1993).

       26.     Here, Plaintiff demands a sum that exceeds the jurisdictional amount of $75,000.

For each of the causes of action asserted against each Defendant in the Complaint, Plaintiff

demands compensatory damages “in excess of $50,000,” in addition to punitive damages “in

excess of $50,000.” Compl. ¶¶ 75(a), 75(d), 83(a), 83(d), 92(a), 92(d), 102(a), 102(d), 112(a),

112(d), 126(a), 126(d), 147(a), 147(d). Plaintiff also demands non-economic damages, lost

income, out-of-pocket costs, lost earning capacity, medical costs, and attorney’s fees, but does not

plead a sum certain for such damages. Compl. ¶¶ 75(b)–(c), 75(f), 83(b)–(c), 83(f), 92(b)–(c),

92(f), 102(b)–(c), 102(f), 112(b)–(c), 112(f), 126(b)–(c), 126(f), 147(b)–(c), 147(f).

       27.     In considering both the compensatory and punitive damages sought by Plaintiff, it

is clear that she demands damages that exceed the jurisdictional threshold of $75,000 set forth by

28 U.S.C. § 1332(a).




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            B.        Complete Diversity of Citizenship Exists Between the Properly Joined
                      Parties

        28.      This case is between “citizens of different States and in which citizens or subjects

of a foreign state are additional parties.” 28 U.S.C. § 1332(a)(1). As explained below, all properly

joined and served defendants are diverse from Plaintiff.

                 1.      Plaintiff Is A Citizen of New Jersey

        29.      Upon information and belief, at all times relevant hereto, Plaintiff is a resident and

citizen of New Jersey. Compl. ¶ 3.

                 2.      Abbott Is A Citizen of Illinois

        30.      Abbott is now, and was at the time Plaintiff commenced this action, a corporation

organized under the laws of the State of Illinois with its corporate headquarters in Lake County,

Illinois.

                 3.      Mead Johnson Is A Citizen of Delaware and Indiana

        31.      Mead Johnson Nutritional Company is a wholly owned subsidiary of Reckitt

Benckiser PLC and is now, and was at the time Plaintiff commenced this action, a corporation

organized under the laws of the State of Delaware, with its principal place of business in the State

of Indiana. It is thus a resident of those two states. Mead Johnson & Company, LLC is a limited

liability company whose sole member is Mead Johnson Nutritional Company, and is therefore a

resident of the States of Delaware and Indiana.

                 4.      The Hospital Defendants’ Citizenship Must Be Disregarded

        32.      Defendant Pennsylvania Hospital is a non-profit corporation registered to do

business in the Commonwealth of Pennsylvania, with its principal place of business in

Philadelphia, Pennsylvania. Compl. ¶ 6.

        33.      Defendant Penn Medicine is a non-profit corporation registered to do business in


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the Commonwealth of Pennsylvania, with its principal place of business in Philadelphia,

Pennsylvania. Compl. ¶ 7.

       34.      Although the Hospital Defendants are citizens of Pennsylvania, they were not

“properly joined” for the reasons set forth below. See U.S.C. § 1441(b). Thus, the Hospital

Defendants’ citizenship must be disregarded for the purposes of determining the propriety of

removal.

           C.      The Hospital Defendants Were Fraudulently Joined And Their Citizenship
                   Must Be Disregarded

       35.      The Hospital Defendants’ presence in this case does not defeat diversity

jurisdiction, and does not prevent removal, because they were fraudulently joined.

       36.      For this Court to exercise diversity jurisdiction over the case, all parties must be

diverse. See 28 U.S.C. § 1446(b) (providing the procedure for removal based on diversity of

citizenship); 28 U.S.C. § 1332(a) (granting federal courts original jurisdiction over all actions

where the matter in controversy exceeds the sum or value of $75,000, exclusive of interests and

costs, and is between citizens of different States). Plaintiff has attempted to take advantage of this

procedural requirement by suing the Hospital Defendants, who are citizens of Pennsylvania, the

forum state, to prevent removal to federal court.

       37.      The so-called “forum defendant rule” of 28 U.S.C. § 1441 states that “[a] civil

action otherwise removable solely on the basis of the jurisdiction . . . may not be removed if any

of the parties in interest properly joined and served as defendants is a citizen of the State in which

such action is brought.” 28 U.S.C. § 1441(b)(2). The Third Circuit, however, has stated that the

requirement that the forum defendant be “‘properly joined and served’ addresses a specific

problem — fraudulent joinder by a plaintiff.” Encompass Ins. Co. v. Stone Mansion Rest. Inc., 902




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F.3d 147, 153 (3d Cir. 2018). Plaintiff here has fraudulently joined the Hospital Defendants in an

attempt to prevent removal to federal court by operation of the forum defendant rule.

       38.     “The party asserting jurisdiction bears the burden of showing the action is properly

before the federal court.” Sikirica v. Nationwide Ins. Co., 416 F.3d 214, 219 (3d Cir. 2005).

       39.     In the Third Circuit, joinder is fraudulent “where there is no reasonable basis in fact

or colorable ground supporting the claim against the joined defendant, or no real intention in good

faith to prosecute the action against the defendant or seek a joint judgment.” Boyer v. Snap-on

Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990) (quoting Abels v. State Farm Fire & Cas. Co., 770

F.2d 26, 29 (3d Cir. 1985)), cert. dismissed sub nom. American Standard v. Steel Valley Auth., 484

U.S. 1021 (1988)).

       40.     In reviewing the alleged fraudulent joinder, the Court assumes as true all factual

allegations of the complaint and resolves “any uncertainties as to the current state of controlling

substantive law in favor of the plaintiff.” Batoff v. State Farm Ins. Co., 977 F.2d 848, 852 (3d Cir.

1992) (quoting Boyer, 913 F.2d at 111). However, a court may look beyond the complaint’s

allegations at “indicia” of fraudulent joinder. See Abels, 770 F.2d at 33. Specifically, the Third

Circuit has stated that a district court is not precluded from “a limited consideration of reliable

evidence that the defendant may proffer to support the removal,” such as evidence “found in the

record from prior proceedings” or “in other relevant matters that are properly subject to judicial

notice.” Id. at 220 (citing Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1319 (9th Cir. 1998)).




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               1.      The Causes of Action Brought Against the Hospital Defendants Alone
                       Fail As A Matter of Law

       41.     Plaintiff alleges only two causes of action against the Hospital Defendants:

negligent failure to warn, Compl. ¶¶ 113–126 (Count VI) and negligent corporate liability of a

healthcare provider, id. ¶¶ 127–147 (Count VII).

       42.     Both counts should be dismissed because Plaintiff has not properly pleaded a claim

against the Hospital Defendants. Under Pennsylvania law, “[t]o plead corporate negligence against

a hospital, the plaintiff’s complaint must include allegations that, if accepted as true, would prove

that: (1) the hospital deviated from the standard of care; (2) the hospital had actual or constructive

notice of the defects or procedures that created the harm; and (3) the hospital’s act or omission was

a substantial factor in bringing about the harm.” Kennedy v. Butler Memorial Hosp., 901 A.2d

1042, 1045 (Superior Ct. of Pa. 2006); see also Thompson v. Nason Hospital, 527 Pa. 330, 591

A.2d 703 (1991).

       43.     In Thompson, the Supreme Court of Pennsylvania embraced four duties that

hospitals owe to patients: (1) “a duty to use reasonable care in the maintenance of safe and adequate

facilities and equipment”; (2) “a duty to select and retain only competent physicians”; (3) “a duty

to oversee all persons who practice medicine within its walls as to patient care”; and (4) “a duty to

formulate, adopt and enforce adequate rules and policies to ensure quality care for the patients.”

Thompson, 527 Pa. at 339–40, 591 A.2d at 707 (internal citations omitted).

       44.     Here, Plaintiff has not alleged that the Hospital Defendants have breached a duty

covered by any of the four categories recognized by the Supreme Court of Pennsylvania. Instead,

she seeks to impose a new duty on the hospitals that is not recognized under Pennsylvania law:

to warn patients about the risks associated with products administered by physicians during the

course of a patient’s treatment. At bottom, this is an attempt to impose on the Hospital Defendants


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a duty to obtain informed consent under the guise of a failure-to-warn claim and a corporate

negligence claim. This has been tried before, and Pennsylvania courts have flatly rejected the

practice.

       45.     To start, Pennsylvania recognizes an informed consent claim only under a battery

theory; it does not permit informed consent claims under any theory of negligence. Montgomery

v. Bazaz-Sehgal, 568 Pa. 574, 585, 798 A.2d 742, 748 (2002). Informed consent claims therefore

cannot be brought against hospitals: “In Pennsylvania, only surgeons who actually perform . . .

operative procedures have the duty to warn patients of risks and thus obtain informed consent.”

Gentzler v. Atlee, 443 Pa. Super. 128, 660 A.2d 1378 (1995). Informed consent claims against

hospitals are not permitted in Pennsylvania because a physician—not a hospital—is in the best

position to advise a patient about the risks of a procedure or treatment. Kelly v. Methodist Hosp.,

444 Pa. Super. 427, 434, 664 A.2d 148, 151 (1995) (imposing a duty to obtain informed consent

on hospitals “ignores the[] unique aspects of the physician-patient relationship” (internal

quotations omitted)); see 40 P.S. § 1303.504 (imposing only a “Duty on Physicians” to “obtain

informed consent” before certain procedures).

       46.     Critically, claims seeking to impose a duty to warn upon a hospital “clearly attempt

to impose upon a hospital duties which are every bit as extensive as the duty to obtain informed

consent.” Id. So regardless of how it is styled, a complaint that in effect seeks “to assert an

informed consent cause of action based on negligence” must be rejected because “[s]uch a theory

does not constitute a viable cause of action in Pennsylvania.” Id.; see Dowhouer v. Judson, 45 Pa.

D. & C.4th 172, 182 (Com. Pl. 2000) (“[T]he plain reading of plaintiffs’ complaint indicates that

plaintiffs are attempting to assert an informed consent cause of action based on negligence.

This theory does not constitute a viable cause of action in Pennsylvania.”).



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       47.     Put differently, Plaintiff does not assert that the Hospital Defendants breached any

duty that they owe under Thompson. She asserts only that the Hospital Defendants negligently

failed to obtain informed consent. Id. But “Thompson does not . . . expose a hospital to corporate

liability for failing to formulate certain policies relating to informed consent since mere negligence

cannot satisfy the mental state requirement for a battery claim.” Gurevitz v. Piczon, 1999 WL

1442424 (Pa. Ct. of Cmn. Pleas 1999) (citing, inter alia, Kelly, 444 Pa. Super. at 432–34, 664 A.2d

at 150). And thus, “Pennsylvania law forbids a claim of corporate negligence against a hospital to

be founded upon a theory that the hospital failed to ensure the patient’s informed consent.” Tucker

v. Cmty. Med. Ctr., 2003 PA Super 356, ¶ 16, 833 A.2d 217, 225 (2003).

       48.     Not only has a hospital’s duty to warn been rejected under Pennsylvania law, but

the Supreme Court of Pennsylvania has explained why: imposing such a duty to warn on hospitals

“would do little in the way of providing an incentive to safety.” Cafazzo v. Cent. Med. Health

Servs., Inc., 430 Pa. Super. 480, 486, 635 A.2d 151, 153–54 (1993), aff’d, 542 Pa. 526, 668 A.2d

521 (1995). Cafazzo reasoned that “a hospital not involved in the development or manufacture of

the product is in no better position to prevent circulation of a defective product”—or to warn of its

defects—than those who researched, developed, marketed, and sold the product. Id. Thus, Cafazzo

held that even if a hospital could be considered a “seller” of an allegedly defective product used in

medical care—though the court found it could not—strict liability would not apply because

“imposing liability for a poorly designed or manufactured product on the hospitals and doctors

who use them . . . is highly unlikely to effect changes” in product safety. Id. at 535, 668 A.2d at

526.

       49.     In addition, Plaintiff cannot contend that the Hospital Defendants are liable for

failure to warn under a vicarious liability theory. First, Plaintiff did not plead that theory in her



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Complaint. In any event, the Supreme Court of Pennsylvania also has recognized that hospitals are

not liable for a failure to obtain informed consent under a theory of vicarious liability because it

would be inappropriate to “interject” an element of control by a hospital into the “highly

individualized and dynamic relationship” between physician and patient. Valles v. Albert Einstein

Med. Ctr., 569 Pa. 542, 554, 805 A.2d 1232, 1239 (2002).

       50.     Second, even if Plaintiff did allege a vicarious liability theory—and even if a

hospital could be vicariously liable for failing to warn—Pennsylvania law applies the doctrine of

informed consent only to cases involving surgical or operative procedures because in cases not

involving surgery, the underlying action “is no longer considered to be battery, but merely to be

negligence.” Brown v. Mercy Fitzgerald Hosp., No. CIV.A.01CV2212, 2001 WL 1923042, at *3

(E.D. Pa. Oct. 1, 2001) (citing Morgan v. MacPhail, 704 A.2d 617, 619 (Pa. 1997)). Plaintiff is

not alleging harm from failure to provide informed consent for a surgical procedure. Rather, she

is alleging harm from the use of specialized preterm infant formulas. The underlying informed

consent action for which Plaintiff seeks to hold the Hospital Defendants liable, therefore, would

still sound in negligence and is still rejected by Pennsylvania law. Id.; Kelly, 444 Pa. Super. at 431,

664 A.2d at 150; Shaw, 439 Pa. Super. at 31, 653 A.2d at 15.

       51.     The specific allegations in Plaintiff’s Complaint only emphasize the point. She

alleges, among other things, that the Hospital Defendants failed “to formulate, adopt, and enforce

adequate rules and policies to instruct its healthcare professionals and medical staff on the

information that should be provided to parents in order to make an informed choice about whether

to allow their babies to be fed the Defendant Manufacturers’ products, notwithstanding their

substantial risk.” Compl. ¶¶ 135(d), 142(e). But Plaintiff’s attempt to impose such a duty on the

Hospital Defendants already has been rejected under Pennsylvania law and ignores the “unique



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aspects of the physician-patient relationship.” Kelly, 444 Pa. Super. at 434, 664 A.2d at 151.

               2.      Plaintiff Has No Real Intention To Prosecute the Hospital Defendants

       52.     Plaintiff has fraudulently joined the Hospital Defendants as she does not have any

real intention of pursuing her claims against them. The Hospital Defendants’ citizenship as in-

forum defendants should therefore be disregarded.

       53.     The Court should look beyond the allegations contained in the Complaint to other

indicia of fraudulent joinder. See Abels, 770 F.2d at 33. Here, the broader context of the current

litigation against Abbott and Mead Johnson is decisive.

       54.     This Court has previously looked to “generalized allegations” and the history of

litigation to conclude that a distributor of a pharmaceutical drug was fraudulently joined in a

products liability action to defeat diversity jurisdiction. See In re Zoloft (Sertraline Hydrochloride)

Prod. Liab. Litig., 257 F. Supp. 3d 717, 721 (E.D. Pa. 2017). It should do the same here. It is clear

from the Complaint that Plaintiff’s general allegations are more concerned with the alleged risks

inherent in the products manufactured and produced by Abbott and Mead Johnson than with the

actions of the Hospital Defendants. All but seven paragraphs of Plaintiff’s 148-paragraph

Complaint concern the alleged actions or inactions of Abbott and Mead Johnson, rather than those

of the Hospital Defendants. Even those factual allegations concerning the Hospital Defendants are

largely focused on their relationship with Abbott and Mead Johnson, and in particular the sales

representatives employed by Abbott and Mead Johnson.

       55.     What is more, Plaintiff alleges only two claims against the Hospital Defendants and

both are barred under Pennsylvania law. This shows that Plaintiff does not intend to pursue the




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Hospital Defendants, but rather, she includes two specious theories of liability against them for the

sole purpose of defeating diversity.

         56.    It is apparent, given the hundreds of other cases filed by Plaintiff’s counsel in

connection with this litigation, that Plaintiff has no intention of pursuing claims against the

Hospital Defendants and intends to pursue only the manufacturers. The citizenship of the Hospital

Defendants as in-forum defendants should therefore be disregarded, and this Court should assume

jurisdiction.

                                              CONCLUSION

         57.    There is complete diversity amongst the properly joined parties, and this Notice of

Removal is appropriate pursuant to 28 U.S.C. § 1441(b).

         58.    Based on the foregoing, the state court action may be removed to this Court in

accordance with the provisions of 28 U.S.C. §§ 1332 and 1441 et. seq. because this is a civil

action pending within the jurisdiction of this Court; this action is between citizens of different

states; and the amount in controversy exceeds $75,000, exclusive of interest and costs.

         59.    No admission of fact, law, or liability is intended by this Notice of Removal, and

Abbott expressly reserves all defenses, counterclaims, and rights otherwise available to it.

         60.    Pursuant to 28 U.S.C. § 1446(d), Abbott will promptly file a Notice of Removal

with the clerk of the state court where this lawsuit has been pending and will serve notice of the

filing of this Notice of Removal on Plaintiff.

         WHEREFORE, Abbott removes this action, now pending in the First Judicial District of

Pennsylvania, Court of Common Pleas of Philadelphia County, Case ID No. 220302588, to this

Court.




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May 3, 2022                          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 3, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court, and to be furnished by U.S. Mail and e-mail to the following:

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 Holli Carter, on her own behalf and as Parent and Natural COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                 PHILADELPHIA COUNTY

                       Plaintiff                            CIVIL DIVISION

 v.                                                         MARCH TERM, 2022
                                                            NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.



                                            ORDER

       AND NOW, this               day of                       2022, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that all

claims against Defendants the Pennsylvania Hospital of the University of Pennsylvania Health

System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn

Medicine are hereby DISMISSED with prejudice.



                                                   BY THE COURT:



                                                   ____________________________________
                                                                                 J.
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 Holli Carter, on her own behalf and as Parent and Natural       COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                       PHILADELPHIA COUNTY

                       Plaintiff                                 CIVIL DIVISION

 v.                                                              MARCH TERM, 2022
                                                                 NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.


                                     ALTERNATIVE ORDER

       AND NOW, this               day of                           2022, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that:

       1.                                               DISMISSED with prejudice;

       2.                                               DISMISSED with prejudice;

       3.                                                         s The Pennsylvania Hospital
              of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and
              The Trustees of the University of Pennsylvania d/b/a Penn Medicine are
              DISMISSED with prejudice, along with all allegations of oppressive, reckless,
              malicious and/or fraudulent conduct;

       4.     Plaintiff Holli Carter s claims in her own right are DISMISSED with prejudice;
              and

       5.                                   STRICKEN for lack of an appropriate verification.


                                                        BY THE COURT:

                                                        ____________________________________
                                                                                      J.
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 Holli Carter, on her own behalf and as Parent and        COURT OF COMMON PLEAS
 Natural Guardian of J.C., a minor                        PHILADELPHIA COUNTY

                        Plaintiff                         CIVIL DIVISION

 v.                                                       MARCH TERM, 2022
                                                          NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


PRELIMINARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
           TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
                                  COMPLAINT

         Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System

                                                                                    (hereinafter

                                                                           int, and, in support

thereof, aver as follows:

I.       INTRODUCTION

         1.    Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022

against Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead

Johnson Nutritional Company

                            See
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        2.       Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania

Hospital and other hospitals in

milk-based infant formula by premature infants following their birth. 1

        3.       Plaintiffs allege that                                        the Plaintiff-minors, including

J.C., were diagnosed with necrotizing enterocolitis (NEC), a gastrointestinal disorder that

premature infants are at increased risk to develop. See

    , ¶ 13. Plaintiffs allege that premature infants fed with their mo

                                                                                                                    -

based infant formula.2

        4.       In addition to asserting product liability claims against the infant formula

manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that Moving Defendants are

liable based on theories of failure to warn and corporate liability. 3

        5.       The factual background regarding the Plaintiff-                 s birth, diagnosis and injuries

are limited to four paragraphs in the Complaint.




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
                                                                         -based infant formula, as discussed
infra and in the accompanying Memorandum of Law, the allegations in the Complaint refer to research and studies
that indicate only that NEC is more common                                                              -based
products as compared with similar infants fed with breast milk. See               -23. Plaintiffs do not cite any
study or statement in the Complaint that indicates NEC is ca               -based infant formula.
3
 As is discussed in detail in the accompanying Memorandum of Law, infant formulas are regulated by the United
States Food and Drug Administration and require to include specified vitamins and nutrients, including infant
                                                                                                       -based infant
                                                                                       -based infant formula should
never be given to premature infants is not supported by the FDA.


                                                         2
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        6.       Plaintiffs aver that J.C. was born prematurely on October 6, 2014

                                                                            -based products by staff at

Pennsylvania Hospital from shortly after his             Id., ¶¶ 11-12.

        7.       Plain                                                                 J.C. developed NEC

                                                                          Id., ¶ 13.

        8.       Plaintiffs generally allege that J.C.

long-term health                                                                              -term health

effects. Id., ¶ 14.

        9.       Moving

stated below and as more fully set forth in the accompanying Memorandum of Law, which is

incorporated herein by reference.

II.     ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

        10.

purchaser, suppli

the public a duty to provide products that were free of unreasonable risk of harm.

        11.                                                                                         milk-

based products made by the Defendant Manufacturers cause NEC in premature and low birth

weight infants and negligently failed to warn the parents of those infants of this danger.

        12.                                                                                        -based

products to breast milk, a Surgeon General report on the subject, and a statement by the American

Academy of Pediatrics. See                        -23.




                                                   3
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       13.      Taking these facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants as they have failed to demonstrate

the product in question is indeed unreasonably dangerous.

       14.      Further, to the extent the product at issue was provided in the context of medical

care, rather than commerce, there can be no claim against Moving Defendants for a product-

liability based theory of failure to warn.

       15.

                                       Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp.,

596 A.2d 845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

             One who supplies directly or through a third person a chattel for another to
             use is subject to liability to those whom the supplier should expect to use
             the chattel with the consent of the other or to be endangered by its probable
             use, for physical harm caused by the use of the chattel in the manner for
             which and by a person for whose use it is supplied, if the supplier

             (a) knows or has reason to know that the chattel is or is likely to be
                 dangerous for the use for which it is supplied, and

             (b) has no reason to believe that those for whose use the chattel is supplied
                 will realize its dangerous condition, and

             (c) fails to exercise reasonable care to inform them of its dangerous
             condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388.

       16.       The threshold inquiry in all products liability cases is whether there is a defect

which rendered the product unreasonably dangerous. Weiner v. American Honda Motor Co., Inc.,

718 A.2d 305, 307 (Pa. Super. 1998).

       17.       A product is defective when it is not safe for its intended use, i.e., the product left

the supplier's control lacking any element necessary to make it safe for its intended use. Id. At

308.

                                                   4
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       18.       Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the




       19.       Although Plaintiffs cite in their Complaint to research studies relating to the

                                -based products in premature infants, the studies demonstrate only,

assuming the facts as true as stated by Plaintiffs, that premature infants are at high risk of NEC,

and that feeding such infants with breast milk may be better at reducing the risk o

milk-based alternatives. See                      -23.

       20.                                                                                     -birth-

weight infants are especially susceptible to NEC         See

Following this, Plaintiffs make the core claim of their Complaint                     -based feeding

products cause NEC in preterm and low birth weight infants                                e scientific

                                                                                        Id. However,

reviewing the portions of the research and trials cited by Plaintiffs in their Complaint belie their

core claim.

       21.

six to ten times more common                                          -fed babies than in exclusively

breast milk-fed babies and three times more common in babies who received a combination of

                            Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants

                 -based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus,

              -based feeding products causes NEC.




                                                   5
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       22.     As averred in the Complaint, the second study cited by Plaintiffs states that

                                               -based diet were 90% less likely to develop surgical

                                                                             -                  Id. at

¶ 18. To state that preterm infants fed only breast milk are less likely to develop a form of NEC is

to admit that NEC still develops in preterm infants regardless of the diet. Thus, P

                                              -based feeding products cause NEC.

       23.

                              lk-based fortifier resulted in a 4.2-fold increased risk of NEC and a

5.1-fold increased risk of surgical NEC or death compared to fortification with a breast milk-based

          Id. at ¶ 19. What the study does not state, as alleged in the Complaint,                   -

based fortifiers cause NEC.

       24.     The Surgeon General report cited by Plaintiffs is alleged in the Complaint to



with higher rates

are 138% more likely to develop NEC." Id.                                             -based formula

caused NEC as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead,

                                                                                     makes the same

acknowledgment as Plaintiffs      that preterm infants are highly susceptible to NEC regardless of

their diet, and that NEC occurs in different rates in preterm in                      -based products

and breast milk. The report does not state that the former causes NEC.

       25.     According to the Complaint, the American Academy of Pediatrics makes a nearly

identical statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a




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                                                            which recommendation is alleged to be

related in part to                           Id. This statement acknowledges that NEC still occurs

in preterm infants fed only breast milk, but simply at a lower rate. According to the Complaint, the

                                           -based feeding products cause NEC.

        26.      The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

                                                                                         -birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-weigh                                   -



                                                                                                7% of

              Id. at ¶ 22-

                                         -based formula causes NEC.

        27.      Thus, Plaintiffs have failed to state a claim for negligent failure to warn against

Movin                                                                                    -based infant

formula is unreasonably dangerous for its intended purpose.

        28.      Further, assuming arguendo                                                     -based

feeding products can be seen as unreasonably dangerous for their intended use as opposed to

simply being a less effective alternative to breast milk products, Moving Defendants still had no

                                           -based products under § 388 because medical providers



        29.                                                                                  Plaintiffs

are alleging that Defendants, in providing medical care to Plaintiff-minor, failed to obtain Plaintiff-




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                                           -based products and failed to warn of the purported risks

and alternatives of such products.

       30.      The sole basis upon which Plaintiffs can proceed against Moving Defendants for

                                  of providing medical care is to assert such a claim under a theory

of failure to obtain informed consent.

       31.      Claims for informed consent in medical malpractice actions are governed by the

Medical Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the

             procedures:

             (1) Performing surgery, including the related administration of
             anesthesia.

             (2) Administering radiation or chemotherapy.

             (3) Administering a blood transfusion.

             (4) Inserting a surgical device or appliance.

             (5) Administering an experimental medication, using an experimental
             device or using an approved medication or device in an experimental
             manner.

             (b) Description of procedure.--Consent is informed if the patient has
             been given a description of a procedure set forth in subsection (a) and
             the risks and alternatives that a reasonably prudent patient would require
             to make an informed decision as to that procedure. The physician shall
             be entitled to present evidence of the description of that procedure and
             those risks and alternatives that a physician acting in accordance with
             accepted standards of medical practice would provide.

   40 P.S. §1303.504 (emphasis added).




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        32.

there is no basis for Plaintiffs to contend that Plaintiff-

infant formula to feed her infant, including warning her of the risks or alternatives of same.

        33.     Further, the informed consent statute only applies to physicians, not hospitals, in

the context of medical procedures. See Morgan v. MacPhail, 550 Pa. 202, 205 (1997).

        34.                                                                     ure to obtain proper

informed consent. Valles v. Albert Einstein Medical Center, 805 A.2d 1232 (2002).

        B.      DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
                CARE PROVIDER

        35.     In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania

Supreme Court recognized the doctrine of corporate liability, holding that a hospital may be found

directly liable for negligence if it fails to meet any of the following four duties: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent physicians; (3) a duty to oversee all persons who practice

medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate

rules and policies to ensure quality care for patients.

        36.

for failure to warn, since both claims are based on the alleged failure to provide warnings to

patients related to t                      -based infant formula.

        37.     Infant formula is regulated by the FDA, and there is no legal restriction on the use

               -based products for feeding of premature infants.

        38.     Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

               -milk based products to low birth weight infants.




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        39.                                                                                     -based

formula is an unreasonably dangerous product.

        40.      Thus, there is no legal basis to contend that Moving Defendants can be held liable

pursuant to a theory of corporate liability for failing to prevent                              -based

products in the feeding of premature infants in the hospital.

        41.      Additionally, Courts considering the application of the duties set forth in Thompson

have insisted on more than a simple finding of a negligent act by someone for whom the hospital

is purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995).

        42.      In considering whether the plaintiff could sustain corporate negligence claims

based on these allegations, the Edwards court analyzed the Thompson decision and delineated the

standards required to sustain such a claim:

              The Thompson theory of corporate liability will not be triggered every time
              something goes wrong in a hospital which harms a patient . . . To establish
              corporate negligence, a plaintiff must show more than an act of negligence by
              an individual for whom the hospital is responsible. Rather, Thompson requires
              a plaintiff to show that the hospital itself is breaching a duty and is somehow
                              Thompson                             systemic negligence

Id. at 1386-87 (citations omitted and emphasis added).

        43.      Thus, a hospital may not be held liable via corporate negligence simply based on the

alleged negligence of an individual health care provider.

        44.                                                                             -based infant

formula was a breach of the standard of care by unidentified health care providers based on the

specific circumstances of the Plaintiff-

considering the paucity of the allegations in the Complaint, such evidence cannot support a finding

of corporate liability.




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       45.     Additionally, even assuming Plaintiffs had a viable corporate negligence claim

against Pennsylvania Hospital, any such claim is precluded against the Trustees of the University

of Pennsylvania since it is not a hospital.

       46.     The Thompson holding has b

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).

       47.     However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       48.     There is no legal basis for holding that the purported corporate parent of a hospital,

such as the Trustees of the University of Pennsylvania, can be held liable under a theory of

corporate negligence.

       49.     Indeed, the Scampone Court cautioned that the trial court should ensure that

 multiple entities are not exposed to liability for breach of the same non-delegable duties. 57 A.2d

at 606-07.

       C.      MOTION TO STRIKE PLAINTIFF COMPLAINT FOR INSUFFICIENT
               SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       50.     Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading.




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         51.    A plaintif



the issues by summarizing the facts essential to support the claims. Alpha Tau Omega Fraternity

v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super. 1983) (citations omitted).

         52.

which a cause of action or defense is based shall be stated in a con

Pa.R.C.P. 1019(a). As the Superior Court has noted,

         Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
         to disclose the material facts sufficient to enable the adverse party to prepare his
         case. A complaint therefore must do more than give the defendant fair notice
         of what the plaintiff's claim is and the grounds upon which it rests. It should
         formulate the issues by fully summarizing the material facts. Material facts
         are ultimate facts, i.e., those facts essential to support the claim. Evidence from
         which such facts may be inferred not only need not but should not be alleged.
         Allegations will withstand challenge under 1019(a) if (1) they contain
         averments of all of the facts a plaintiff will eventually have to prove in order
         to recover, and (2) they are sufficiently specific so as to enable defendant to
         prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

         53.    Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa.

1953).                                  set forth the extent, nature, location and duration of the

injuries suffered, and injuries that are permanent should be stated specifically. Miller v.

Perrige, 71 Pa. D. & C.2d 476, 479 80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D.



than a generalized averment under which any injuries whatever could be proved at the trial.

Defendant would have no k
                                                  12
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        54.     Plaintiffs Complaint is woefully deficient with regard to the specificity of the

allegations of the relevant facts and injuries at issue in this case.

        55.

treatment, diagnosis and injuries is limited to four paragraphs, which are utterly insufficient to

enable defendants to prepare their defenses. See                        -14.

        56.     Plaintiffs aver that the minor was born prematurely but do not identify the

gestational age at which the child was born or his

                                                                                  his birth (Id. at ¶

12) does not comply with the fact-pleading requirements of Rule 1019(a), since such allegations

do not provide defendants with appropriate notice of the facts as to whether the minor actually

                     -based products.

        57.     Further, plaintiffs have failed to identify which of the numerous products sold by

Abbott and Mead Johnson under the Similac and Enfamil brand names were ingested by the minor.

Id. at ¶¶ 37-38.

        58.                                                                                       as

to the period of time in which such products were ingested, when the minor was allegedly

diagnosed with NEC and what treatment was provided for that condition.

        59.                                                                            -term health

effec

        60.

open-ended. Pursuant to Pennsylvania pleading requirements, Moving Defendants should not be

compelled to defend a claim for which the statement of injury is unspecified and subject to change.




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       61.                                                                      Therefore

Complaint should be stricken in its entirety.

       D.
               DAMAGES

       62.     In the Ad Damnum clauses of Counts VI and VII of the Complaint, Plaintiffs make

baseless accusations that Moving Defendants engaged in oppressive, reckless, malicious and/or

fraudulent conduct that allegedly justify an award of punitive damages. See

46.

       63.     However, the Complaint contains no specific allegations of conduct that would

permit recovery of punitive damages as to Moving Defendants.

       64.                                                                            J.C. may have

been given a cow         -based infant formula following birth, absent any context to indicate that

such an action was inappropriate based on the specific issues involved in J.C.

condition following birth.

       65.     For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

and any health care providers                                             -based products.

       66.

as mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula

in care of low birth weight infants, with no restriction as to the use of cow        -based products

for such infants.

       67.     Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least five

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants




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engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow

milk-based infant formula.

          68.   Absent specific factual allegations to justify the claim that the use of infant formula

in J.C.         was extreme and outrageous, there is no basis for an award of punitive damages in

this case.

          69.    Merely contending that punitive damages should be awarded with no supporting

factual justification requires dismissal of the claim.

          70.   Since the purpose of punitive damages is not compensation of a plaintiff but

punishment of the defendant and deterrence, punitive damages can be awarded only for conduct

involving some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For

that reason, Pennsylvania

                                                                       Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584

Pa. 179, 188, 883 A.2d 439, 445 (2005)).

heap an additional punishment on a defendant who is found to have acted in a fashion which is

                         Wagner at *12.

          71.   Punitive damages may not be awarded for misconduct that constitutes ordinary

negligence such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp.,

494 A.2d 1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa.

Super. 1987). An award of punitive damages must be supported by evidence of conduct more

serious than the mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc.,

Inc., 604 F. Supp. 85, 99 (M.D. Pa. 1984).




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       72.       Specifically, with regard to punitive damages in the context of claims against health

care providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages

only to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
       of the h                      willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly

       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

40 P.S. §1303.505.

       73.       The Supreme Court has made clear that when assessing the propriety of the



                                              Hutchinson, supra at 770. An appreciation of the risk

is a necessary element of the mental state required for the imposition of punitive damages. Id. at

772.

       74.

establish that (1) a defendant had a subjective appreciation of the risk of harm to which the plaintiff

was exposed and that (2) he acted, or failed to act, as the case may be, in conscious disregard of

           Id.

       75.       Since professional negligence actions involve allegations that health care

professionals deviated from the governing standard of care, punitive damages are generally not

recoverable in malpractice actions unless the

standard of care is so egregious as to evince a conscious or reckless disregard of a patent risk of

harm to the patient. Wagner, supra.



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       76.     Where the facts as averred show nothing more than negligence, a lapse in judgment,

or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive

damages, often at the pleadings stage of litigation and even if the complaint alleged severe injuries

or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985)

(dismissing punitive damages claim where a plaintiff alleged that a physician negligently

performed a spinal fusion surgery that left the plaintiff with severe neurological defects, and noting

      the mere pleading of outrageous conduct does not, of course, satisfy the requirement

stating facts which, if proven, would form a basis for a jury concluding that the conduct was such

                                                                              Wagner, supra at *11

(contentions that physician failed to prescribe antibiotics, order certain tests or request an



                                              McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa.

Com. Pl. 1996) (sustaining preliminary objections and dismissing claim for punitive damages

where the plaintiff alleged negligence in the prenatal care of her child that led to the child was

                              t is not the outcome of the alleged negligence that is of consideration,

                                                                  Flurer v. Pocono Medical Ctr., 15

Pa. D. & C.4th 645, 670 (Pa. Com. Pl. 1992) (sustaining preliminary objections and finding that



where a hospital allegedly failed to properly utilize a fetal monitor on a pregnant woman who was

involved in a serious car accident and thereafter delivered a stillborn child).

       77.     Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd



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Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-

nursing home was aware of residen

                                                                                      Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       78.     The facts underlying P                                        outrageous or similar

behavior do not even remotely meet the requisite standard under Pennsylvania law that would

permit an award of punitive damages.

       79.     Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are

specifically restricted in claims involving vicarious liability:

       (c)    Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that



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       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).

       80.                                                                     J.C. Similac and/or

Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent of the

alleged risks of such products. See

       81.        Even if such actions were claimed to be egregious or malicious such that punitive

damages were permissible, which is denied for the reasons stated above, Plaintiffs must allege

facts to establish that Moving Defendants had actual knowledge of the alleged wrongful conduct

and nevertheless allowed it. See Zazzera v. Roche, 54 D. & C. 4th 225, 238 (Pa. Com. Pl. 2001);

Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985).

       82.        In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       83.

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E.         MOTION TO DISMISS PLAINTIFF-

       84.        Plaintiff-parent seeks to recover damages in her own right and as the parent and

natural guardian of J.C.

       85.

Defendants in which it is averred that Plaintiff-



            See




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       86.          However, no specific cause of action is asserted as to any damages sought by behalf

of Plaintiff-parent, who is not alleged in the Complaint to have suffered any physical injuries as a

result of the alleged negligent conduct of Moving Defendants. For this reason, Plaintiff-

claim should be dismissed.

       87.          Further, even if Plaintiff-parent had properly articulated a cause of action in the

Complaint to allow her to recover damages in her own right, the Complaint should be stricken

pursuant to Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       88.          Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf

of both the Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein.

Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint,

specifically identifying the cause of action asserted and relief sought in each count.

       89.          Additionally, although the statute of limitations for claims asserted on behalf of

minors are tolled until the age of majority, Plaintiff-

were required to have been brought within two years of the alleged injury. See Hathi v. Krewstown

Park Apts, 561 A.2d 1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524.

       90.          Plaintiffs allege that J.C. was born on October 6, 2014, was fed the Defendant

                                           his birth, and developed NEC shortly thereafter. See Exhibit

             -13.

       91.          Thus, since the Complaint herein was filed on March 24, 2022, Plaintiff-

claims herein are clearly time-barred based on the applicable statute of limitations.




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        F.
                COMPLY WITH Pa.R.C.P. 1024

        92.     Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every



and belief.

        93.     Rule 1024(c) requires that the verification be made by one or more of the parties

filing the pleading.

        94.

violation of Rule 1024. See

        95.     Accordingly, the Complaint should be stricken for lack of an appropriate

verification.

        WHEREFORE, Defendants The Pennsylvania Hospital of the University of Pennsylvania

Health System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine respectfully request that this Honorable Court sustain the instant Preliminary

Objections and enter the attached proposed Order.



                                              BURNS WHITE LLC


                                        BY:
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                                              RICHARD S. MARGULIES, ESQ.
                                              Attorneys for Defendants,
                                              The Pennsylvania Hospital of the University of
                                              Pennsylvania Health System d/b/a Pennsylvania
                                              Hospital and The Trustees of the University of
                                              Pennsylvania d/b/a Penn Medicine




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 Holli Carter, on her own behalf and as Parent and Natural     COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                     PHILADELPHIA COUNTY

                        Plaintiff                              CIVIL DIVISION

 v.                                                            MARCH TERM, 2022
                                                               NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


      MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
       DEFENDANTS THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF
     PENNSYLVANIA HEALTH SYSTEM AND THE TRUSTEES OF THE UNIVERSITY


I.       MATTER BEFORE THE COURT

         Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

P                                                          and The Trustees of the University of

Pennsylvania to Plaintiffs Complaint.



important violations of the procedural requirements governing pleadings and verification of the

accuracy of the factual averments of the Complaint (there are not separate counts identified for the

causes of action of each of the Plaintiffs attempts to allege), most of which are averred upon

informat                                                                                     legally
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recognized cause of action against Moving Defendants, under Pennsylvania law. Our procedural

rules do not permit a plaintiff to simply identify allegedly tortious conduct by a defendant without

pleading the necessary facts to satisfy the elements of the tortious conduct.

       Here, Plaintiffs plead that Moving Defendants permitted Co-                           -based

infant formula to be fed to prematurely born infants, which allegedly caused those infants to




for purposes of these Preliminary Objections accepted as true, do not support the contention that

            -based infant formulas cause



liability causes of action that they attempt to assert against Moving Defendants. It is further



Pennsylvania law against Moving Defendants, as explained in this submission by Moving

Defendants.

II.    STATEMENT OF QUESTIONS PRESENTED

       1.        Whether this Honorable Court should

                    cause of action

the claim that            k-based products are unreasonably dangerous and Moving Defendants

cannot be held liable for negligent failure to warn on the basis that they are a supplier of such

products?

       Suggested answer in the affirmative.

       2.        Whether this Honorable Court sho

                     cause of action with prejudice because it improperly alleges that Moving



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Defendants were required to obtain Plaintiff-           informed                               -based

products for feeding of Plaintiff-minor and warn her of the risks and/or alternatives of same?

       Suggested answer in the affirmative.

       3.

                          cause of action with prejudice because Moving Defendants cannot be held

liable on such a theory for a product which is regulated by the FDA and which is not precluded for

use in premature or low birth weight infants, and where a hospital cannot be held liable for

corporate negligence based on the alleged negligence of an individual health care provider?

       Suggested answer in the affirmative.

       4.

                           cause of action with prejudice as to the Trustees of the University of

Pennsylvania since it is not a hospital and because corporate negligence duties are non-delegable?

       Suggested answer in the affirmative.

       5.

insufficient specificity of the facts and alleged injuries?

       Suggested answer in the affirmative.

       6.

as to Moving Defendants because the Complaint fails to plead facts providing a basis for an award

of punitive damages?

       Suggested answer in the affirmative.

       7.      Whether this Honorable Court should strike Plaintiff-                                to

state a cause of action, and for failure to plead separate causes of action pursuant to Pa.R.C.P. 1020

and based on the applicable statute of limitations?



                                                   3
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         Suggested answer in the affirmative.

         8.

provide a client verification as required by Pa.R.C.P. 1024?

         Suggested answer in the affirmative.

III.     INTRODUCTION AND FACTUAL BACKGROUND

         Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania Hospital

and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow                              -

based products by premature infants in the hospital following their birth. 1 Plaintiffs allege that the

Plaintiff-minors, including J.C., were diagnosed with necrotizing enterocolitis (NEC), a

gastrointestinal disorder that premature infants are at increased risk to develop. See

                                            at ¶ 13. Plaintiffs aver that premature infants fed with their

                                nor breast milk are at decreased risk of developing NEC as compared

with infants given cow               -based products (infant formula). Many of the allegations of the

                                                                                                                      -

minors received infant formula and that they developed NEC shortly after being fed with infant

formula.

         In addition to asserting product liability claims against the infant formula manufacturers

Mead Johnson & Company, LLC, Mead Johnson Nutritional Company (collectively referred to as
                                                                    2
         Johnson                                                        , Plaintiffs have alleged that Moving

Defendants are liable based on theories of failure to warn and corporate liability. See




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
 Mead Johnson and Abbott have been the subject of similar lawsuits in other states, including Connecticut, Illinois
and California.

                                                         4
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                                                at Counts VI and VII. As is discussed in detail below,

Plaintiffs claims against Moving Defendants are legally and factually deficient.

                                                                                  -based products, Plaintiffs refer

in their Complaint to research studies and reports that, as alleged by Plaintiffs, indicate only that

NEC is more common in premature and low birth weight                                                             -based

products as compared with similar infants fed with breast milk. See                                             -23. As

discussed in detail supra,

Complaint, the research studies cited by Plaintiffs do not support the conclusion that NEC is caused

                 -based products. As such, there is no basis to co                                    -based products

are dangerous for premature infants, such that Moving Defendants had a duty to warn Plaintiff-

parents of any risks or alternatives related to infant formula.

         Plaintiffs                             scant information regarding the factual background of this

case. Plaintiffs aver that J.C. was born prematurely on October 6, 2014

                                                                      -based products by staff at Pennsylvania

Hospital from shortly after his               Id., ¶¶ 11-12.

                J.C. developed NEC shortly after first ingesting the Defendant manufacturers

products. Id., ¶ 13. No details are provided regarding the extent of h prematurity, his birth weight,

or his condition following birth other than that he developed NEC on an unidentified date. Further,

no facts are provided by Plaintiffs as to any medical care J.C. received for what period of time J.C.

allegedly ingested cow s milk-based products, and which product(s) he allegedly ingested. 3




3
  Plaintiffs aver that Abbott sells at least seven types of products directed to preterm and/or low birth weight infants,
six of which use the name Similac, and that Mead Johnson sells eight types of infant formulas using the Enfamil
brand name. Id., ¶¶ 37-38.

                                                            5
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Finally, the Complaint is silent as to the nature and extent of J.C. s alleged injuries other than a

                                               Id. ¶ 14.

       Further, the Complaint does not provide any details whatsoever regarding communications

between Plaintiff-parent and medical providers at Pennsylvania Hospital regarding the allegations

that J.C. may have been fed w                                                -based products in the

hospital. Plaintiffs conceded in the Complaint that mothers are encouraged by their healthcare

professionals to breastfeed. Id. ¶ 41. However, Plaintiffs do not provide any information regarding

discussions between Plaintiff-parent and any health care providers at Pennsylvania Hospital related

to breastfeeding and/or using             -based products in this case, including whether or not she

was encouraged to breastfeed and/or was unable or declined to do so. As noted, Plaintiffs plead

that Plaintiff Minor ingest



       Plaintiffs further fail to disclose in their Complaint that infant formula is regulated by the

United States Food and Drug Administration (FDA) and that there is no restriction on the use of

cow        -based products for premature infants. The federal Infant Formula Act of 1980

                                                                                      -359, 94 Stat.

1190. The IFA and its implementing regulations outline the requirements that infant formula must

meet, including how infant formula is made, its contents and ingredients, and the labels used on its

packages. 21 U.S.C. § 350a; 21 C.F.R. §§ 106-07. The IFA provides that infant formulas may only

                                                                             21 C.F.R. § 106.40(a).

Neither the IFA nor the regulations exclude cow milk as an ingredient, and many infant formulas

for sale include cow milk. (                   -38); 21 C.F.R. § 106.3

for infants by reason of its simulation                                       21 U.S.C. § 350a; 21



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C.F.R. §§ 107.50. Before

the FDA, and (2) submit a notice to the FDA at least 90 days before marketing such formula. The

notice must also state that the formula contains the required vitamins and nutrients, as

demonstrated by testing. 21 U.S.C. § 350a(b). These same FDA review procedures apply when a

                                                              21 U.S.C. § 350a(c)(2)(B); 21 C.F.R.

§ 106.3.

       Further, the FDA recognizes that certain infant formulas are intended for low birth weight

babies (such as infants born prematurely) or infants with unusual medical or dietary problems.

Indeed, such formulas have special review requirements. 21 U.S.C. § 350a(h); 21 C.F.R. §

107.50(a). For those formulas known                                                       pted from

certain requirements the required 90-

infant formula, a complete quantitative formulation for the infant formula, and a detailed

descriptio                                                                              21 C.F.R. §

107.50(b)(3). As with other formulas, the regulations do not exclude cow milk as an ingredient for

infant formulas intended for use by an infant with a low birth weight.

       Thus, since Plaintiffs do not allege that the product did not meet federal requirements, there

is no basis for any claim that the product is unreasonably dangerous and/or should not be given

under any circumstances to premature or low birth weight infants.




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IV.    ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

                1. Moving Defendants Cannot Be Held Liable to Plaintiffs Based on a Theory
                   of Failure to Warn Because the Infant Formula is Not Unreasonably
                   Dangerous

        Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a complaint,

in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant a demurrer

where, accepting as true all well pled facts, a legal cause of action cannot be maintained upon those

facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss Fund, 702

A.2d 850, 853 (Pa. 1997).

        Plaintiffs



a duty to provide products that were free of unreasonable risk of harm. Plai             theory against

Moving Defendants is that they were aware cow           milk-based products manufactured by Mead

Johnson and Abbott cause NEC in premature and low birth weight infants and negligently failed

to warn the parents of those infants of this danger. In support of this theory, Plaintiffs cite to five

studies comparing cow            -based products to breast milk, a Surgeon General report on the

subject, and a statement by the American Academy of Pediatrics. Taking these facts as pleaded by

Plaintiffs as true, Plaintiffs have failed to state a claim for negligent failure to warn against Moving

Defendants as they have failed to demonstrate the products in question are indeed unreasonably

dangerous. Further, to the extent the product at issue was provided in the context of medical care,

rather than commerce, there can be no claim against Moving Defendants for a product-liability

based theory of failure to warn.




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of negligen                     Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp., 596 A.2d

845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

              One who supplies directly or through a third person a chattel for another to
              use is subject to liability to those whom the supplier should expect to use
              the chattel with the consent of the other or to be endangered by its probable
              use, for physical harm caused by the use of the chattel in the manner for
              which and by a person for whose use it is supplied, if the supplier

              (a) knows or has reason to know that the chattel is or is likely to be
                  dangerous for the use for which it is supplied, and

              (b) has no reason to believe that those for whose use the chattel is supplied
                  will realize its dangerous condition, and

              (c) fails to exercise reasonable care to inform them of its dangerous
              condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388. To survive preliminary objections, Plaintiffs must aver

sufficient facts, together with the documents and exhibits attached thereto, to make out a prima

facie case as to all elements of the cause of action. Northern Forests II, Inc. v. Keta Realty Co.,

130 A.3d 19, 35 (Pa. Super. 2015).

        The threshold inquiry in all products liability cases is whether there is a defect which

rendered the product unreasonably dangerous. Weiner v. American Honda Motor Co., Inc., 718

A.2d 305                              A product is defective when it is not safe for its intended use,

i.e., the product left the supplier's control lacking any element necessary to make it safe for its

intended use. Id.                                                                                  Id.

Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the Defendant



                       warn. They have not done so as the studies they cite in their Complaint do not




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say    based on the very allegations in the Complaint - what Plaintiffs claim they do. Therefore,

Moving Defendants had no corresponding duty to warn.

                                                                                                        -birth-weight

infants are especially susceptible to NEC             See Exhibit

this, Plaintiffs make the core claim of their Complaint                                    -based feeding products

cause NEC in preterm and low birth weight infants

including numerous rando                                                               Id. Admittedly, if a product

directly causes NEC in preterm and low birth weight infants, that product would certainly be

dangerous. However, reviewing the portions of the research and trials cited by Plaintiffs in their

Complaint belie their core claim.4

         The first study cited by Plaintiffs states, according to the Complaint,

ten times more common in                                        formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who received a combination of formula

                      Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants fed

              -based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus,                                    study does not state

             -based feeding products causes NEC.

         As averred in the Complaint, t

fed an exclusive breast milk-based diet were 90% less likely to develop surgical NEC compared

                                                                         -based products. Id. at ¶ 18. To state


4
                                                                               -based products increased the risk of NEC
in preterm and low-birth-weight infants, they still fail to plead sufficient facts to support this claim. The portions of
the studies relied upon by Plaintiffs, taken as true at this juncture, show only that NEC can be more common in
preterm and low-birth-                                  -based products than in those fed breast or donor milk. These
                                     -based products caused
studies do reflect an increased risk of NEC in the infants, this is a legal conclusion without factual basis, which is
impermissible under Pa. R. Civ. P. 1019 (see discussion supra at p. 19).

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that preterm infants fed only breast milk are less likely to develop a form of NEC is to admit that

NEC still develops in preterm infants regardless of the diet. Thus, P

likewise                                  -based feeding products cause NEC.

        The third study cited by Plaintiffs concluded, per the Complaint,

                          -based fortifier resulted in a 4.2-fold increased risk of NEC and a 5.1-fold

increased risk of surgical NEC or death compared to fortification with a breast milk-based

             Id. at ¶ 19. As Plaintiffs admitted in the Complaint, preterm and low-weight-birth infants

are especially susceptible to NEC. Put another way, these infants are already at an increased

risk of NEC regardless of their diet. This study                                               reflects

this in explaining different rates of risk of developing NEC when using                -based or breast

milk-based fortifiers.

milk-based fortifiers cause NEC.

        The Surgeon General report cited by Plaintiffs is alleged in the Complaint to reiterate the

                                                                                                higher

rates                                   that             infants who are not breastfed are 138% more

likely to develop NEC." Id.                                              -based formula caused NEC

as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead, the Surgeon

General report,                                             ¶ 20, makes the same acknowledgment as

Plaintiffs     that preterm infants are highly susceptible to NEC regardless of their diet, and that

NEC occurs in different rates in                                     -based products and breast milk.

The report does not state that the former causes NEC.

        According to the Complaint, the American Academy of Pediatrics makes a nearly identical

statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a recommendation that



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                                                recommendation is alleged to be related in part to

                       . Id. This statement acknowledges that NEC still occurs in preterm infants

fed only breast milk, but simply at a lower rate. According to the Complaint, the Academy does

not state                -based feeding products cause NEC.

        The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint,                                               -birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-                                        -based formula suffered NEC 21% of the time.




             Id. at ¶ 22-23. Once again, these studies, based on the a

Complaint,                               -based formula causes NEC.

                                                                                    lk-based feeding

products cause NEC and are therefore unreasonably dangerous rests upon the notion that

correlation equals causation. The numerous studies and reports cited by Plaintiffs in their

Complaint purportedly show higher rates of NEC in preterm and low birth

milk-based diets than those fed breast milk, but this data exists in a world where Plaintiffs admit

these infants are at a high risk of developing NEC regardless of diet. All that

demonstrates, as pleaded under these facts, is that breast milk may be better at reducing that already

                                                       -based alternatives. This proposition does not

                                                 -based alternatives unreasonably dangerous within




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the meaning of § 388 of the Restatement (Second) of Torts and, accordingly, does not trigger a

duty to warn on the part of Moving Defendants.

               2.
                    Liable for Negligent Failure to Warn

       Assuming arguendo                                               milk-based feeding products

can be seen as dangerous for their intended use as opposed to simply being a less effective

alternative to breast milk products, Moving Defendants still had no duty to warn of the nature of

           -based products under §                                                                  -

based feeding products. Plaintiffs cite to no caselaw in Pennsylvania holding that a hospital is

considered a supplier under § 388. Indeed, extensive research into this topic turns up no prior

decisions where a Pennsylvania court has found a hospital to be a supplier in a products liability

case for negligent failure to warn.

       To determine a hospital may be defined as supplier of products ancillary to and following

medical services within the meaning of § 388 would be to impose on the hospital a duty to warn

about every conceivable object a patient may encounter in a hospital, right down to the napkins

available in the hospital cafeteria. Imposing such a duty does nothing to advance the purpose of

products liability law, i.e. to protect consumers from dangerous products in the stream of

commerce. Moving Defendants are not in the best position to determine what products are

available in the market for premature and low weight birth infants. In light of this, Plaintiffs have

not sufficiently pleaded that Moving Defendants are a supplier under § 388.

       For the foregoing reasons, Plaintiffs have not pleaded sufficient facts to aver the Defendant

Manu

established Moving Defendants had a duty to warn. Alternatively, even if the products at issue

here can be viewed as unreasonably dangerous, Plaintiffs still have failed to plead sufficient facts

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that Moving Defendants are a supplier of products that are ancillary to the medical services

provided to Plaintiffs. Accordingly, it is respectfully requested this Court sustain Moving

Defendants Preliminary Objections to Count

                3. There is no Legal Basis for Plaintiffs to Present an Informed Consent
                                                          -based products

                                               is couched in language of product liability related to

                               duty

             -based infant formula) that was free of unreasonable risk of harm to consumers

(parents and their premature infants). This theory fails for the reasons stated above. However, to

the extent that Plaintiffs are alleging that Moving Defendants, in providing medical care to

Plaintiff-minor, failed to obtain Plaintiff-                                         -based products

and failed to warn of the purported risks and alternatives of such products, such a claim is also

clearly precluded by Pennsylvania law.

        Plaintiffs broadly allege that Moving Defendants failed to warn of the alleged dangers of

     s milk-based products and provide them with information necessary to make an informed

                                                                                                 See

                       This purported failure to warn/inform allegedly led Plaintiff-minor to be fed

              -based product that                        caused and/or increased the risk of NEC. Id.

at ¶ 125. The sole basis upon which Plaintiffs can proceed against

         in the context of providing medical care is to assert such a claim under a theory of failure

to obtain informed consent. Plaintiffs are impliedly asserting that Moving Defendants failed to

obtain Plaintiff-         informed consent                                              -based infant

formula to feed her child as opposed to breastfeeding or using breast donor milk, based on the




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                              -based products. However, such a claim is not cognizable under

Pennsylvania law.

       Claims for informed consent in medical malpractice actions are governed by the Medical

Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the
             p
             procedures:

                (1) Performing surgery, including the related administration of
                anesthesia.

                (2) Administering radiation or chemotherapy.

                (3) Administering a blood transfusion.

                (4) Inserting a surgical device or appliance.

                (5) Administering an experimental medication, using an
                experimental device or using an approved medication or device in
                an experimental manner.

                (b) Description of procedure.--Consent is informed if the patient has
                been given a description of a procedure set forth in subsection (a)
                and the risks and alternatives that a reasonably prudent patient
                would require to make an informed decision as to that procedure.
                The physician shall be entitled to present evidence of the description
                of that procedure and those risks and alternatives that a physician
                acting in accordance with accepted standards of medical practice
                would provide.

40 P.S. §1303.504 (emphasis added).

       The clear language of the statute above reveals two significant tenets. The first is that the

informed consent statute does not apply to the use of infant formula in feeding premature infants,

since that                                                                                         -

              sent was required for the use of infant formula to feed her infant, including warning

her of the risks or alternatives of same. Second, the informed consent statute only applies to

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physicians, not hospitals, in the context of medical procedures. See Morgan v. MacPhail, 550 Pa.

202, 205 (1997).

         Informed consent has not been extended to any type of therapeutic treatment involving an

i                                                           an ongoing treatment upon examination

by the treating physician, where                                                                 Boyer

v. Smith, 345 Pa. Super. 66, 71, 497 A.2d 646, 648 (1985). The Superior Court ruled that the

informed consent doctrine is premised upon the legal theory that the performance of a medical

procedure without a patient's informed consent constitutes a technical assault or battery and that

merely prescribing an oral medication does not involve a touching so not battery can occur and no

informed consent is needed. Id. at 649. The same principles clearly apply to administration of

infant formula to a newborn.

         Further, an informed consent claim is only applicable to a physician and not the hospital

and/or other health care entities. See 40 P.S. § 1303.504; see also Kelly v. Methodist Hosp., 664

A.2d 148 (Pa. Super. 1995) (holding that generally only the physician who performs the operation

on the patient has the duty of obtaining his consent for the procedure). The Pennsylvania Supreme

Court has held that informed consent involves the relationship between a physician and the patient

and that the failure to obtain proper informed consent is deemed a battery, and the institution plays

no role in the communications involved in obtaining the same. See Valles v. Albert Einstein

Medical Center, 805 A.2d 1232 (2002). In Valles, the Court decisively ruled that:

         We find that a battery which results from a lack of informed consent is not the type
         of action that occurs within the scope of employment. In our view, a medical facility
         cannot maintain control over this aspect of the physician-patient relationship. Our
         lower courts have recognized that the duty to obtain informed consent belongs
         solely to the physician. (Citations omitted). Informed consent flows from the
         discussions each patient has with his physician, based on the facts and
         circumstances each case presents.
         control into this highly individualized and dynamic relationship. We agree with the

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        lower court that to do so would be both improvident and unworkable. Thus, we
        hold that as a matter of law, a medical facility lacks the control over the manner in
        which the physician performs his duty to obtain informed consent so as to render
        the facility vicariously liable.

Id., 805 A.2d at 1239 (emphasis added). The Valles case remains the prevailing law in

Pennsylvania. Pennsylvania courts have repeatedly applied this doctrine, recognizing and

                                                                   consent, it is the conduct of the

unauthorized proced                                    Isaac v. Jameson Mem. Hosp., 932 A.2d 924,

929 (Pa. Super. 2007) (citing Moure v. Raeuchle, 604 A.2d 1003, 1008 (Pa. Super. 1992). Further,

                               the doctrine and its origins as a technical battery, hospitals cannot be



facility cannot maintain control over this aspect of the physician-patient relationshi       Isaac, 932

A.2d at 930. As such, it is clear that the instant cause of action cannot be sustained against Moving

Defendants as a matter of law.

        B. DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
           CARE PROVIDER

                1. Moving Defendants Cannot be Held Liable for Corporate Negligence
                   Regarding a Food Product Which is Permitted for its Intended Use
                   Pursuant to Federal Law

        In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.



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                        rporate liability claim fails based on the same rationale as the claim for failure

to warn. Both claims are based on the alleged failure to provide warnings to patients related to the

use of cow milk-based infant formula. As noted above, infant formula is regulated by the FDA,

and there is no legal                                    s milk-based products for feeding of premature

infants. Indeed, the Infant Formula Act expressly acknowledges that it is permissible to provide

      -milk based products to low birth weight infants. Further, as discussed above, Plaintiffs

                                        -based formula is a dangerous product. Thus, there is no legal

basis to contend that Moving Defendants can be held liable pursuant to a theory of corporate

liability for failing to preclude                   s milk-based products in the feeding of premature

infants in the hospital.

        Additionally, Courts considering the application of the duties set forth in Thompson have

insisted on more than a simple finding of a negligent act by someone for whom the hospital is

purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995). In

considering whether the plaintiff could sustain corporate negligence claims based on these

allegations, the court analyzed the Thompson decision and delineated the standards required to

sustain such a claim:

               The Thompson theory of corporate liability will not be triggered every time
               something goes wrong in a hospital which harms a patient . . . To
               establish corporate negligence, a plaintiff must show more than an act of
               negligence by an individual for whom the hospital is responsible. Rather,
               Thompson requires a plaintiff to show that the hospital itself is breaching a
               duty and is somehow                    Thompson contemplates a kind of
                systemic negligence

Id. at 1386-87 (citations omitted and emphasis added). Thus, c

                                    Id. As noted by the court in Edwards, this reading of t

opinion in Thompson is the only way to logically construe its holding, as hospitals are already held

                                                                                               Thompson
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requires a plaintiff to show that the hospital itself

Id. at 1387; see also MacDonald v. Chestnut Hill Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa.

                                                                                                    ols

were routinely ignored to the detriment of patients or that the kind of systematic negligence on the

part of CHH required by the Edwards

        Thus, a hospital may not be held liable via corporate negligence simply based on the alleged

negligence of an individual health care provider. Accordingly, even if Plaintiffs could establish that

                      -based infant formula was a breach of the standard of care by unidentified health

care providers based on the specific circumstances of the Plaintiff-                               not

been pleaded by Plaintiffs considering the paucity of the allegations in the Complaint, such evidence

cannot support a finding of corporate liability.

        For the reasons stated above, Count VII of

prejudice.

                2. Plaintiffs Are Precluded From Pursuing Corporate Negligence Claims as
                   to The Trustees of the University of Pennsylvania

        As noted infra, the Pennsylvania Supreme Court set forth certain nondelegable duties of

hospitals, which if violated may support a finding of corporate negligence. The Thompson holding



entities performed similar functions as hospitals. See Shannon v. Health America Pennsylvania,

Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland Park Care Center, LLC, 57 A.3d 582

(Pa. 2012). However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

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& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       There is no legal basis for holding that the purported corporate parent of a hospital can be

held liable under a theory of corporate negligence. The Trustees of the University of Pennsylvania

is not a hospital and cannot be held liable under a theory of corporate liability, regardless of its

relationship with Pennsylvania Hospital. Moreover, as Pennsylvania Courts have consistently

                                            -                    one entity can be held liable for a

breach of these duties. The Scampone Court cautioned that the trial court should ensure that

 multiple entities are not exposed to liability for breach of the same non-delegable duties. 57 A.2d

at 606-07. Thus, even if a corporate negligence claim were permissible as to Pennsylvania

Hospital, which is denied for the reasons stated above, The Trustees of the University of

Pennsylvania, which is not a hospital, cannot also be exposed to liability for an alleged breach of

the same, non-delegable duties arising out of the same factual allegations. Accordingly, even



the non-hospital Defendant, the Trustees of the University of Pennsylvania, are legally insufficient

and must therefore be dismissed.

       C. MOTION TO STRIKE PLAINTIFFS COMPLAINT FOR INSUFFICIENT
          SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the nature of

a motion to strike for insufficient specificity in a pl



rest, and the complaint must also formulate the issues by summarizing the facts essential to support

the claims. Alpha Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352

(Pa. Super. 1983) (citations omitted). Pennsylvania Rule of Civil Procedure 1019(a) provides that

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                                                                          be stated in a concise and

                                      As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       Further, it is well established that, with regard to the description of injuries sustained by a

plaintiff, the Complaint must be stated with sufficient particularity to put the defendant on notice

of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa. 1953).

Complaint must set forth the extent, nature, location and duration of the injuries suffered,

and injuries that are permanent should be stated specifically. Miller v. Perrige, 71 Pa. D. &

C.2d 476, 479 80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa.



averment under which any injuries whatever could be proved at the trial. Defendant would have

no knowledge in advance of the trial of what they are.

                   Complaint is woefully deficient with regard to the specificity of the allegations

of the relevant facts and injuries at issue in this case.                              material facts

                                       tment, diagnosis and injuries is limited to four paragraphs,

which are utterly insufficient to enable defendants to prepare their defenses. See

11-14. Plaintiffs aver that the minor was born prematurely but do not identify the gestational age
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at which the child was born or his birth weight.

                                                                               (Id. at ¶ 12) does not

comply with the fact-pleading requirements of Rule 1019(a), since such allegations do not provide

Moving Defendants with appropriate notice of the facts as to whether the minor actually ingested

            -based products. Further, plaintiffs have failed to identify which of the numerous

products sold by Abbott and Mead Johnson under the Similac and Enfamil brand names were

ingested by the minor. Id. at ¶¶ 37-38.

of the material facts as to the period of time in which such products were ingested, when the minor

was allegedly diagnosed with NEC and what treatment was provided for that condition.

                                                                                -

that are alleged to have resulted from the diagnosis of NEC.

with particularity, is amorphous, vague, and open-ended. Pursuant to Pennsylvania pleading

requirements, Moving Defendants should not be compelled to defend a claim for which the

statement of injury is unspecified and subject to change.

        In short, P

Rules of Civil Procedure as to the necessary specificity for the description of the facts and alleged

injuries sustained.

                                                                   Therefore              Complaint

should be stricken in its entirety.

        D. MOTION TO STRIKE PLAINTIFFS CLAIMS FOR PUNITIVE DAMAGES

        As in the other infant formula cases, In the Ad Damnum clauses of Counts VI and VII of

the Complaint, Plaintiffs make baseless accusations that Moving Defendants engaged in

oppressive, reckless, malicious and/or fraudulent conduct that allegedly justify an award of



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punitive damages. See                   pp. 38, 46. However, the Complaint contains no specific

allegations of conduct that would permit recovery of punitive damages as to Moving Defendants.

Rather, Plaintiffs merely allege that                                 J.C. may have been given a

cow        -based infant formula following birth, absent any context to indicate that such an action

was inappropriate based on the specific issues involved in J.C.

following birth. For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

                                                                         -based products.



mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula in

care of low birth weight infants, with no r                                     -based products for

such infants. Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least four

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow

milk-based infant formula. Absent specific factual allegations to justify the claim that the use of

infant formula in J.C.

damages in this case. Merely contending that punitive damages should be awarded with no

supporting factual justification requires dismissal of this claim.

       Since the purpose of punitive damages is not compensation of a plaintiff but punishment

of the defendant and deterrence, punitive damages can be awarded only for conduct involving

some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania

available in only                                  Wagner v. Onofrey, 2006 Pa. Dist. & Cnty. Dec.



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LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584 Pa. 179, 188, 883

A.2d 439, 445 (2005)).

punishment on a defendant who is found to have acted in a fashion which is particularly

             Wagner at *12.

       Punitive damages may not be awarded for misconduct that constitutes ordinary negligence

such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp., 494 A.2d

1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

An award of punitive damages must be supported by evidence of conduct more serious than the

mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984).

       Specifically, with regard to punitive damages in the context of claims against health care

providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages only

to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
                                     willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly

       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

41 P.S. §1303.505.

       The Supreme Court has made clear that when assessing the propriety of the imposition of



                                     Hutchinson, supra at 770. An appreciation of the risk is a

necessary element of the mental state required for the imposition of punitive damages. Id. at 772.



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defendant had a subjective appreciation of the risk of harm to which the plaintiff was exposed and

                                                                                                Id.

        Since professional negligence actions involve allegations that health care professionals

deviated from the governing standard of care, punitive damages are generally not recoverable in



so egregious as to evince a conscious or reckless disregard of a patent risk of harm to the patient.

Wagner, supra.

        Where the facts as averred show nothing more than negligence, a lapse in judgment, or

mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive damages,

often at the pleadings stage of litigation and even if the complaint alleged severe injuries or death.

See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985) (dismissing punitive

damages claim where a plaintiff alleged that a physician negligently performed a spinal fusion

                                                                                    the mere pleading

of outrageous conduct does not, of course, satisfy the requirement stating facts which, if proven,

would form a basis for a jury concluding that the conduct was such that an award of punitive

                                                  Wagner, supra at *11 (contentions that physician

failed to prescribe antibiotics, order certain tests or request an infectious disease consult constituted



             McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa. Com. Pl. 1996) (sustaining

preliminary objections and dismissing claim for punitive damages where the plaintiff alleged

                                                                                                      [i]t

is not the outcome of the alleged negligence that is of consideration, but rather the alleged conduct



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of defendants that is at issue    Flurer v. Pocono Medical Ctr., 15 Pa. D. & C.4th 645, 670 (Pa.

Com. Pl. 1992)                                                                                   of



to properly utilize a fetal monitor on a pregnant woman who was involved in a serious car accident

and thereafter delivered a stillborn child).

       Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-

                                                                             gistration as a sexual

                                                                                      Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical




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insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       All of the cases in the paragraph above set forth examples of egregious conduct, completely

inapposite to the facts of the instant case.

reckless, outrageous or similar behavior do not even remotely meet the requisite standard under

Pennsylvania law that would permit an award of punitive damages. Even assuming the allegations

in the Complaint were true for the purposes of this argument only, the outcome in this case was

not the result of any intentional wrongdoing or deliberate misconduct on the part of Moving

Defendants or any medical provider at Pennsylvania Hospital, nor does the Complaint contain any

such allegations.

       Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are specifically

restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).                                                                 J.C. Similac

and/or Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent

of the alleged risks of such products. See                   Even if such actions were claimed to

be egregious or malicious such that punitive damages were permissible, which is denied for the

reasons stated above, Plaintiffs must allege facts to establish that Moving Defendants had actual

knowledge of the alleged wrongful conduct and nevertheless allowed it. See Zazzera v. Roche, 54

D. & C. 4th 225, 238 (Pa. Com. Pl. 2001); Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637

(Pa. Super. 1985). In this matter, Plaintiffs have failed to plead any facts to suggest that Moving



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Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       For all these r

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E. MOTION TO DISMISS PLAINTIFF-

                1. Plaintiff-Parent has Failed to State a Cause of Action

       Plaintiff-parent seeks to recover damages in her own right and as the parent and natural

guardian of J.C. Plaintiffs Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-

of income, and/or other harms. Her life has been significantly altered by the Injured

          See                                        However, no specific cause of action is asserted

as to any damages sought by Plaintiff-parent in her own right, who is not alleged in the Complaint

to have suffered any physical injuries as a result of the alleged negligent conduct of Moving

Defendants. For this reason, Plaintiff-

                2. Plaintiffs are Required to Plead Separate Claims Pursuant to
                   Pa.R.C.P. 1020

       Further, even if Plaintiff-parent had properly articulated a cause of action in the Complaint

to allow her to recover damages in her own right, the Complaint should be stricken pursuant to

Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf of both the

Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein. Claims on



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behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint, specifically

identifying the cause of action asserted and relief sought in each count.

               3. Plaintiff-                   Precluded Pursuant to the Statute of Limitations

       Although the statute of limitations for claims asserted on behalf of minors are tolled until

the age of majority, Plaintiff-                were not similarly tolled and were required to have

been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561 A.2d

1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524. Plaintiffs allege that J.C. was born on October 6, 2014,

                                                              his birth, and developed NEC shortly

thereafter. See Exhibit            -13. Thus, since the Complaint herein was filed on March 24,

2022, Plaintiff-                                        -barred based on the applicable statute of

limitations.

       F.
            COMPLY WITH Pa.R.C.P. 1024

       Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every pleading

                                                                            edge or information and

belief. Rule 1024(c) requires that the verification be made by one or more of the parties filing the

ple

Rule 1024. See                                                 should be stricken for lack of an

appropriate verification.




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V,     REQUESTED RELIEF

       For the foregoing reasons, Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.



                                             BURNS WHITE LLC


                                       BY:
                                             JAMES A. YOUNG, ESQ.
                                             RICHARD S. MARGULIES, ESQ.
                                             Attorneys for Defendants,
                                             The Pennsylvania Hospital of the University of
                                             Pennsylvania Health System d/b/a Pennsylvania
                                             Hospital and The Trustees of the University of
                                             Pennsylvania d/b/a Penn Medicine




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                                 CERTIFICATE OF SERVICE

       I, Richard S. Margulies, Esquire, do hereby certify that on this day I caused a true and

correct copy of the foregoing Preliminary Objections of Defendants The Pennsylvania Hospital of

the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine                    Complaint, to be served via

electronic filing, to the following counsel of record, addressed as follows:


                                       Tracy Finken, Esq.
                                         Anapol Weiss
                                       One Logan Square
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                                    Philadelphia, PA 19103

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                                         BY:
                                               RICHARD S. MARGULIES, ESQ.


Dated: April 19, 2022
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Fax: (202) 780-3678
Email: awalsh@alexwalshlaw.com                   ATTORNEY FOR PLAINTIFFS
______________________________________________________________________________
HOLLI CARTER, on her own behalf             :    COURT OF COMMON PLEAS
and as Parent and Natural Guardian of J.C., :    PHILADELPHIA COUNTY
a Minor,                                    :
                    Plaintiffs              :
       v.                                   :    CIVIL ACTION
                                            :
MEAD JOHNSON & COMPANY, LLC, et al. :            NO.: 220302588
                    Defendants.             :
__________________________________________________________________________
                               AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA                           )
COUNTY OF PHILADELPHIA                                 )
       TRACY FINKEN, ESQUIRE, being duly sworn according to law, deposes and says that
she is the attorney for the Plaintiff above named action and that the facts set forth in the Affidavit
as set forth below are true and correct to the best of her knowledge, information and belief.
       1.      On March 24, 2022, a Civil Action Complaint was filed in the above matter in the
Court of Common Pleas of Philadelphia County, Pennsylvania.
       2.      On or around April 15, 2022, Defendants, Mead Johnson & Company, LLC and
Mead Johnson Nutrition Company, were served with a true and correct copy of the Complaint in
this matter by certified mail, return receipt requested #7020 1810 0002 1257 5326 and #7020
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1810 0002 1257 5333. A true and correct copy of the transmittal letter as well as the return
receipt is attached hereto.
       3.      I hereby state that I am the attorney for the within named Plaintiff and the facts set
forth in the foregoing Affidavit, are true and correct to the best of my knowledge, information
and belief; and this statement is made subject to the penalties of 18 Pa. C.S.A. Sec. 4904 relating
to unsworn falsification to authorities.




                                              _______________________________________
                                              TRACY FINKEN, ESQUIRE




                                                 2
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                       EXHIBIT B
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Case Description

 Case ID:      220302588
 Case Caption: CARTER ETAL VS MEAD JOHNSON & COMPANY, LLC, ETAL
 Filing Date:  Thursday , March 24th, 2022
 Court:        MAJOR JURY-COMPLEX
 Location:     City Hall
 Jury:         JURY
 Case Type:    PRODUCT LIABILITY
 Status:       WAITING TO LIST CASE MGMT CONF

Related Cases

No related cases were found.

Case Event Schedule

No case events were found.

Case motions

                                          Control
           Motion          Assign/Date                Date/Received     Judge
                                            No
PRELIMINARY                pending       22043311     19-APR-2022 ANDERS, DANIEL
OBJECTIONS                                                        J



Case Parties

                                      Expn
   Seq #                      Assoc                   Type            Name
                                      Date
       1                                      ATTORNEY          FINKEN, TRACY A
                                              FOR
                                              PLAINTIFF
Address: ONE LOGAN SQUARE             Aliases: none
         130 N. 18TH ST.
         SUITE 1600
         PHILADELPHIA PA 19103
         (215)735-0773
         tfinken@anapolweiss.com
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      2                           1           PLAINTIFF    CARTER, HOLLI
Address: 16 CARMEN DRIVE              Aliases: none
         CAPE MAY NJ 08210


      3                           1           MINOR -      C, J
                                              PLAINTIFF
Address: 16 CARMEN DRIVE              Aliases: none
         CAPE MAY NJ 08210


      4                                       DEFENDANT    MEAD JOHNSON &
                                                           COMPANY LLC
Address: ILLINOIS CORPORATION         Aliases: none
         SERVICE C
         801 ADLAI STEVENSON
         DRIVE
         SPRINGFIELD IL 62703


      5                                       DEFENDANT    MEAD JOHNSON
                                                           NUTRITION
                                                           COMPANY
Address: ILLINOIS CORPORATION         Aliases: none
         SERVICE C
         801 ADLAI STEVENSON
         DRIVE
         SPRINGFIELD IL 62703


      6                                       DEFENDANT    ABBOTT
                                                           LABORATORIES
Address: CT CORPORATION               Aliases: none
         SYSTEM
         208 SO. LASALLE STREET
         SUITE 814
         CHICAGO IL 60604


      7                         11            DEFENDANT    PA HOSPITAL OF
                                                           THE UNIVERSITY OF
                                                           PA HEALTH SYSTEM
Address: 3400 CIVIC CENTER BLVD       Aliases: PENNSYLVANIA HOSPITAL
         PHILADELPHIA PA 19104
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 200 of 375 PageID #:391




       8                                        DEFENDANT    TRUSTEES OF THE
                                                             UNIVERSITY OF
                                                             PENNSYLVANIA
Address: 133 SOUTH 36TH STREET        Aliases: PENN MEDICINE
         PHILADELPHIA PA 19104


       9                                        TEAM         ANDERS, DANIEL J
                                                LEADER
Address: 529 CITY HALL                Aliases: none
         PHILADELPHIA PA 19107


      10                                        ATTORNEY     YOUNG, JAMES A
                                                FOR
                                                DEFENDANT
Address: BURNS WHITE LLC              Aliases: none
         1880 JOHN F. KENNEDY
         BOULEVARD
         10TH FLOOR
         PHILADELPHIA PA 19103
         (215)587-1625
         jayoung@burnswhite.com


      11                                        ATTORNEY     MARGULIES,
                                                FOR          RICHARD S
                                                DEFENDANT
Address: BURNS WHITE LLC              Aliases: none
         1880 JFK BLVD., 10TH FLR
         PHILADELPHIA PA 19103
         (215)587-1600
         rsmargulies@burnswhite.com



Docket Entries

   Filing                                                 Disposition    Approval/
                   Docket Type             Filing Party
 Date/Time                                                   Amount      Entry Date
24-MAR-2022 ACTIVE CASE                                                 25-MAR-2022
02:18 PM                                                                09:49 AM
      Docket
             E-Filing Number: 2203054589
      Entry:
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 201 of 375 PageID #:392




24-MAR-2022 COMMENCEMENT                   FINKEN, TRACY                       25-MAR-2022
02:18 PM    CIVIL ACTION JURY              A                                   09:49 AM
 Documents:     Click link(s) to preview/purchase the documents
              Final Cover

     Docket
            none.
     Entry:


24-MAR-2022 COMPLAINT FILED                FINKEN, TRACY                       25-MAR-2022
02:18 PM    NOTICE GIVEN                   A                                   09:49 AM
 Documents:     Click link(s) to preview/purchase the documents
              Carter Complaint - 2022.03.TBD (Pennsylvania Hospital) (Final)_(4623212_v1).pdf

     Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
     Entry: AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


24-MAR-2022 JURY TRIAL                     FINKEN, TRACY                       25-MAR-2022
02:18 PM    PERFECTED                      A                                   09:49 AM
     Docket
            12 JURORS REQUESTED.
     Entry:


24-MAR-2022 WAITING TO LIST                FINKEN, TRACY                       25-MAR-2022
02:18 PM    CASE MGMT CONF                 A                                   09:49 AM
     Docket
            none.
     Entry:


06-APR-2022 AFFIDAVIT OF                                                       08-APR-2022
09:45 AM    SERVICE FILED                                                      10:33 AM
 Documents:     Click link(s) to preview/purchase the documents
              186318.02_AFFIDAVIT_F85FD62B-D4D1-3F40-B0BC-2C5A4D72B66A.pdf
            AFFIDAVIT OF SERVICE OF CIVIL ACTION COMPLAINT UPON
     Docket
            TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA BY PERSONAL
     Entry:
            SERVICE ON 03/30/2022 FILED.


06-APR-2022 AFFIDAVIT OF                                                       08-APR-2022
10:01 AM    SERVICE FILED                                                      10:33 AM
 Documents:     Click link(s) to preview/purchase the documents
              186318.01_AFFIDAVIT_2EB88FA5-0B0E-A641-B3B4-F92B10B409C9.pdf
            AFFIDAVIT OF SERVICE OF CIVIL ACTION COMPLAINT UPON PA
     Docket
            HOSPITAL OF THE UNIVERSITY OF PA HEALTH SYSTEM BY
     Entry:
            PERSONAL SERVICE ON 03/30/2022 FILED.
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 202 of 375 PageID #:393




06-APR-2022 PRAECIPE-ATTACH                 FINKEN, TRACY                    07-APR-2022
03:21 PM    VERIFICATION                    A                                11:55 AM
 Documents:     Click link(s) to preview/purchase the documents
              Carter, Holli 2022_04_6 - Praecipe to amend verification.pdf

     Docket PRAECIPE TO SUBSTITUTE/ATTACH VERIFICATION FILED. (FILED
     Entry: ON BEHALF OF J C AND HOLLI CARTER)


18-APR-2022 ENTRY OF                        YOUNG, JAMES                     18-APR-2022
12:15 PM    APPEARANCE                      A                                03:49 PM
 Documents:     Click link(s) to preview/purchase the documents
              Carter EOA.pdf
            ENTRY OF APPEARANCE OF RICHARD S MARGULIES AND JAMES A
     Docket YOUNG FILED. (FILED ON BEHALF OF TRUSTEES OF THE
     Entry: UNIVERSITY OF PENNSYLVANIA AND PA HOSPITAL OF THE
            UNIVERSITY OF PA HEALTH SYSTEM)


19-APR-2022 PRELIMINARY                     MARGULIES,                       19-APR-2022
03:21 PM    OBJECTIONS                      RICHARD S                        04:19 PM
 Documents:     Click link(s) to preview/purchase the documents
              Carter - POs to Complaint.pdf

            11-22043311 PRELIMINARY OBJECTIONS TO PLAINTIFF'S
     Docket COMPLAINT FILED. RESPONSE DATE: 05/09/2022 (FILED ON BEHALF
     Entry: OF TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA AND PA
            HOSPITAL OF THE UNIVERSITY OF PA HEALTH SYSTEM)


26-APR-2022 NOTICE OF                       MARGULIES,                       26-APR-2022
01:43 PM    INTENT/PARCP 1042.6             RICHARD S                        02:10 PM
 Documents:     Click link(s) to preview/purchase the documents
              Carter - Notice of Intent to Non Pros.pdf

            NOTICE OF INTENT TO ENTER JUDGMENT OF NON PROS FOR
            FAILURE TO FILE CERTIFICATE OF MERIT TO J C AND HOLLI
     Docket
            CARTER. CERTIFICATE OF SERVICE ATTACHED. (FILED ON BEHALF
     Entry:
            OF TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA AND PA
            HOSPITAL OF THE UNIVERSITY OF PA HEALTH SYSTEM)


29-APR-2022 AFFIDAVIT OF                    FINKEN, TRACY                    29-APR-2022
12:02 PM    SERVICE FILED                   A                                12:09 PM
 Documents:     Click link(s) to preview/purchase the documents
              Carter, Holli - Service Affidavit.pdf
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 203 of 375 PageID #:394




            AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON MEAD
     Docket JOHNSON NUTRITION COMPANY AND MEAD JOHNSON &
     Entry: COMPANY LLC BY CERTIFIED MAIL ON 04/15/2022 FILED. (FILED ON
            BEHALF OF J C AND HOLLI CARTER)
JS 44 (Rev. 10/20)   Case: 1:24-cv-11760 Document
                                             CIVIL#: 1-2 Filed: 10/31/24
                                                      COVER      SHEETPage 204 of 375 PageID #:395
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       HOLLI CARTER, on her own behalf and as Parent and
       Natural Guardian of J.C., a Minor
   (b) County of Residence of First Listed Plaintiff Cape May County, NJ                                 County of Residence of First Listed Defendant                                              ,
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an X in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an X in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an X in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers              Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                      New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veterans Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                            Leave Act                       864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                           or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRSThird Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an X in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. §§ 1332, 1441, and 1446
VI. CAUSE OF ACTION Brief description of cause:
                                       Products liability cause of action targeting preterm infant formula.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                               Exceeds $700,000                            JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          (SEE ATTACHED ADDENDUM)                               DOCKET NUMBER 1:22-cv-71 (N.D. Ill.) (MDL No. 3026
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
May 2, 2022                                                           /s/
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                      APPLYING IFP                                  JUDGE                           MAG. JUDGE
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 205 of 375 PageID #:396




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HOLLI CARTER, on her own behalf and as               Civil Action No. _________
 Parent and Natural Guardian of J.C., a Minor,
                                                      (Formerly Case ID No. 220302588, Court of
                        Plaintiffs,                   Common Pleas Philadelphia County)


         v.

 MEAD JOHNSON & COMPANY, LLC,
 MEAD JOHNSON NUTRITION COMPANY,
 ABBOTT LABORATORIES, THE
 PENNSYLVANIA HOSPITAL OF THE
 UNIVERSITY OF PENNSYLVANIA
 HEALTH SYSTEM d/b/a PENNSYLVANIA
 HOSPITAL, and THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA d/b/a
 PENN MEDICINE,

                        Defendants.



                       ADDENDUM REGARDING RELATED CASES
       In re: Abbott Laboratories, et al., Preterm Infant Nutrition Products Liability Litigation,

Multidistrict Litigation (“MDL”) 3026, is currently pending and involves related cases. Abbott

Laboratories believes the following cases are, or will be, included in MDL 3026 before Chief

Judge Pallmeyer in the U.S. District Court for the Northern District of Illinois as a result of the

Judicial Panel on Multidistrict Litigation’s transfer and conditional transfer orders:


 Plaintiff(s) Name(s)                                                  Case Number
 Adams, Kamekia                                                        2:22-cv-00036
 Bookhart, Kimberlee                                                   4:22-cv-00032
 Brown, Deondrick, Sr.; Etienne, Rebekah                               3:21-cv-00687
 Childs, Alyhana                                                       1:22-cv-00711
 Clarke, Samatha                                                       4:22-cv-00144
 Crawford, Candace                                                     1:21-cv-00201
 Davis, Patriece                                                       5:21-cv-00481
 De Los Santos, Justin                                                 1:22-cv-01089
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 206 of 375 PageID #:397




 Plaintiff(s) Name(s)                                                                Case Number
 Devine, Karrie                                                                      1:22-cv-01197
 Donaldson, Rebecca                                                                  4:22-cv-00147
 Feliciano, Selena                                                                   1:22-cv-01439
 George, Ashia                                                                       1:20-cv-02537
 Grosshuesh, Abigail                                                                 1:22-cv-00363
 Gschwend, Jessica; Hodges, Justin                                                   1:22-cv-00197
 Hall, Shannon E.                                                                    1:22-cv-00071
 Hughes, Tatyana                                                                     4:22-cv-00157
 Hunte, Anika; Peterson, Dane                                                        3:20-cv-01626
 Kelton, Mary                                                                        5:21-cv-02145
 Koeth, Katina                                                                       1:21-cv-06234
 LaFond, Lisa; LaFond, Ashley; and LaFond, Angela1                                   2:22-cv-00724
 Lincoln, Brianna                                                                    4:22-cv-00033
 Littles, Lashanae                                                                   5:21-cv-02146
 Mar, Ericka                                                                         1:22-cv-00232
 McKinnon, Lisa; McKinnon, Todd                                                      2:22-cv-00422
 Medley, Darius; Robinson, Chakoya                                                   2:22-cv-00273
 Osmun, Klaire; Osmun, Joshua                                                        3:22-cv-05018
 Payne, Kerrie; Church, Eric Sr.                                                     4:22-cv-00230
 Pariani, Margurite2                                                                 2:22-cv-00723
 Perkins, Laurie Lynn McCubbin; Perkins, Michael                                     2:22-cv-00658
 Poston, Stephanie                                                                   4:22-cv-00158
 Rhodes, Danitra                                                                     1:22-cv-00239
 Richardson, Latrice                                                                 2:21-cv-09932
 Rinehart, Anthony; Rinehart, Jessica                                                1:22-cv-00192
 Sanchez Juan, Sara Melissa                                                          6:21-cv-00502
 Shindel, Erika                                                                      1:22-cv-00561
 Silvers, Stephanie                                                                  4:22-cv-00159
 Stuper, Megan                                                                       1:22-cv-00204
 Taylor, Dorothy                                                                     1:22-cv-00203
 Thomas, Trisha; Johnson-Merrida, Ameerah; Maeder, Nila;
 Eberhart, Maria; Viera, Virjinia; Forrest, Lisa; and Madison,
 Sylvia3                                                                             4:22-cv-002460
 Tracy, Kristine, Roesler, Alyssa, Barnes, Amber, Johson,
 Robneisha, Williams, Maria, Nelmes, Leanne and Joshua4                              3:22-cv-002480

         1
           Abbott removed LaFond, et al. to the United States District Court for the Eastern District of California on
April 27, 2022. While currently assigned to Judge Troy L Nunley, Abbott will be filing a “tag-along” order shortly.
         2
          Abbott removed Pariani to the United States District Court for the Eastern District of California on April
27, 2022. While currently assigned to Judge Troy L Nunley, Abbott will be filing a “tag-along” order shortly.
         3
           Abbott removed Thomas, et al. to the United States District Court for the Northern District of California
on April 21, 2022. While currently assigned to Judge Haywood S Gilliam, Jr, Abbott filed a “tag-along” on April
27, 2022.
         4
             Abbott removed Tracy, et al. to the United States District Court for the Northern District of California on
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 207 of 375 PageID #:398




 Plaintiff(s) Name(s)                                                             Case Number
 Walker, Hope                                                                     3:22-cv-00174
 Hartwick, Kami; Michelle Perez; Ashley Gutierrez; and Malika
 Gillespie5                                                                       3:22-cv-02598




April 22, 2022. While currently assigned to Judge Yvonne Gonzalez Rogers, Abbott filed a “tag-along” on April
27, 2022.
         5
          Abbott removed Hartwick, et al. to the United States District Court for the Northern District of California
on April 27, 2022. While currently assigned to Judge Sallie Kim, Abbott filed a “tag-along” on April 27, 2022.
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 208 of 375 PageID #:399




                   EXHIBIT A-11
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 209 of 375 PageID #:400
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 210 of 375 PageID #:401
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 211 of 375 PageID #:402
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 212 of 375 PageID #:403




                   EXHIBIT A-12
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 213 of 375 PageID #:404
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 214 of 375 PageID #:405
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 215 of 375 PageID #:406




                   EXHIBIT A-13
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 216 of 375 PageID #:407
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 217 of 375 PageID #:408
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 218 of 375 PageID #:409




                   EXHIBIT A-14
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 219 of 375 PageID #:410
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 220 of 375 PageID #:411




                   EXHIBIT A-15
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 221 of 375 PageID #:412



SCHNADER HARRISON SEGAL & LEWIS LLP
By: Samuel W. Silver (I.D. No. 56596)
1600 Market Street, Suite 3600
Philadelphia, Pennsylvania 19103-7286
Telephone: 215-751-2309
Facsimile: 215-751-2205
Email: ssilver@schnader.com

Attorney for Defendant Abbott Laboratories

                                              :
HOLLI CARTER, on her own behalf and           :
as Parent and Natural Guardian of J.C., a     :
Minor,                                        :   IN THE COURT OF COMMON PLEAS
                                              :   OF PHILADELPHIA COUNTY,
                      Plaintiff,              :   PENNSYLVANIA
                                              :
       v.                                     :
                                              :   No. 220302588
MEAD JOHNSON & COMPANY, LLC,                  :
et al,                                        :
                                              :
                      Defendants.



                                   ENTRY OF APPEARANCE

TO THE OFFICE OF JUDICIAL RECORDS:

              Kindly enter my appearance on behalf of defendant Abbott Laboratories.


                                             /s/ Samuel W. Silver
                                             Samuel W. Silver (Pennsylvania Bar No. 56596)
                                             Schnader Harrison Segal & Lewis LLP
                                             1600 Market Street, Suite 3600
                                             Philadelphia, Pennsylvania 19103-7286
                                             Telephone: 215-751-2309
                                             Facsimile: 215-751-2205
                                             ssilver@schnader.com


Dated: November 4, 2022
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 222 of 375 PageID #:413




                   EXHIBIT A-16
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 223 of 375 PageID #:414




ANAPOL WEISS
BY: PAOLA PEARSON, ESQUIRE (I.D. 318356)
ppearson@anapolweiss.com
130 N. 18TH ST., SUITE 1600
PHILADELPHIA, PA 19103                       ATTORNEY FOR PLAINTIFFS
HOLLI CARTER, on her own behalf and as       :   COURT OF COMMON PLEAS
Parent and Natural Guardian of J.C., a minor :   PHILADELPHIA COUNTY
16 Carmen Drive                              :
Cape May, NJ 08210                           :
                      Plaintiffs             :
        v.                                   :    CIVIL ACTION
                                             :
MEAD JOHNSON & COMPANY, LLC                  :
Illinois Corporation Service Co.             :
801 Adlai Stevenson Drive                    :
Springfield, IL 62703                        :
                                             :    NO. 220302588
                                             :
MEAD JOHNSON NUTRITION COMPANY :
Illinois Corporation Service Co.             :
801 Adlai Stevenson Drive                    :
Springfield, IL 62703                        :
                                             :
                                             :
ABBOTT LABORATORIES                          :
CT Corporation System                        :
208 So. Lasalle Street, Suite 814            :
Chicago, IL 60604                            :
                                             :
                                             :
THE PENNSYLVANIA HOSPITAL OF                 :
THE UNIVERSITY OF PENNSYLVANIA               :
HEALTH SYSTEM d/b/a PENNSYLVANIA             :
HOSPITAL                                     :
3400 Civic Center Blvd.                      :
Philadelphia, PA 19104                       :
                                             :
                                             :
THE TRUSTEES OF THE UNIVERSITY OF :
PENNSYLVANIA d/b/a PENN MEDICINE             :
              th
133 South 36 Street                          :
Philadelphia, PA 19104                       :
                                             :
                      Defendants             :    JURY TRIAL DEMANDED




                                        1
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 224 of 375 PageID #:415




                                 ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearance of the undersigned for Plaintiffs, Holli Carter, on her own

behalf and as Parent and Natural Guardian of J.C., a minor, in the above-captioned matter.



Dated: November 7, 2022                                    ANAPOL WEISS


                                                           /s/ Paola Pearson__________
                                                           Paola Pearson (PA #318356)
                                                           130 N. 18th Street – Suite 1600
                                                           Philadelphia, PA 19103
                                                           Tel: (215) 790-4554
                                                           Fax: (215) 875-7719
                                                           ppearson@anapolweiss.com




                                                2
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 225 of 375 PageID #:416




                               CERTIFICATE OF SERVICE

       I, Paola Pearson, hereby certify that on this 7th day of November 2022, the foregoing Entry

of Appearance was filed and made available via ECF to all counsel of record.




                                                    By:     /s/ Paola Pearson____
                                                            Paola Pearson, Esquire




                                                3
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 226 of 375 PageID #:417




                   EXHIBIT A-17
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 227 of 375 PageID #:418




 BURNS WHITE, LLC                               Attorneys for Defendants,
 By: James A. Young, Esquire                    The Pennsylvania Hospital of the University of
      Richard S. Margulies, Esquire             Pennsylvania Health System d/b/a Pennsylvania
      Gregory A. Dachko, Esquire                Hospital and The Trustees of the University of
 Attorney ID No. 00213/62306/328552             Pennsylvania d/b/a Penn Medicine
 1880 John F. Kennedy Boulevard, 10th Floor
 Philadelphia, PA 19103
 215-587-1625/1628/1658                         .
 jayoung@burnswhite.com
 rsmargulies@burnswhite.com
 gadachko@burnswhite.com
__________________________________________
HOLLI CARTER, on her own behalf and as Parent :      COURT OF COMMON PLEAS
and Natural Guardian of J.C., a minor         :      PHILADELPHIA COUNTY
                              Plaintiffs,     :
                                              :
       v.                                     :      MARCH TERM 2022
                                              :      NO. 2588
MEAD JOHNSON & COMPANY, LLC, et al.           :
                              Defendants.     :

                                ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter my appearance as co-counsel in the above-captioned matter on behalf of

Defendants, The Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a

Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine.

                                           BURNS WHITE LLC


                                           BY:    /s/ Gregory A. Dachko
                                                  JAMES A. YOUNG, ESQUIRE
                                                  RICARD S. MARGULIES, ESQUIRE
                                                  GREGORY A. DACHKO, ESQUIRE
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 228 of 375 PageID #:419




                                  CERTIFICATE OF SERVICE

          I, Gregory A. Dachko, Esquire, attorney for Defendants, The Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the

University of Pennsylvania d/b/a Penn Medicine do hereby certify that a true and correct copy of

the foregoing Entry of Appearance was electronically filed on this date and served to all counsel of

record.




                                              BY:    /s/ Gregory A. Dachko
                                                     GREGORY A. DACHKO, ESQUIRE

DATE: November 8, 2022
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                   EXHIBIT A-18
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Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 235 of 375 PageID #:426
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                   EXHIBIT A-19
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 248 of 375 PageID #:439
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                   EXHIBIT A-20
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 250 of 375 PageID #:441




TUCKER LAW GROUP, LLC                        ATTORNEYS FOR MEAD JOHNSON &
Kenneth A. Murphy, Esquire                   COMPANY, LLC AND MEAD
Heather R. Olson, Esquire                    JOHNSON NUTRITION COMPANY
Ten Penn Center
1801 Market Street, Suite 2500
Philadelphia, PA 19103
(215) 875-0609
kmurphy@tlgattorneys.com

HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
J.C., a Minor                         :
                                      : MARCH TERM, 2022
                        Plaintiffs,   : No. 2588
        v.                            :
                                      :
MEAD JOHNSON & COMPANY, LLC,          :
et al.,                               :
                                      :
                        Defendants.   :

                            ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

      Kindly enter the appearance of Kenneth A. Murphy, Esquire and Heather R.

Olson, Esquire as counsel for Defendants, Mead Johnson & Company, LLC and Mead

Johnson Nutrition Company in the above-referenced matter.

                                      Respectfully submitted,

                                      TUCKER LAW GROUP, LLC

Dated: December 5, 2022               /s/ Kenneth A. Murphy
                                      Kenneth A. Murphy, Esquire
                                      Heather R. Olson, Esquire
                                      Ten Penn Center
                                      1801 Market Street, Suite 2500
                                      Philadelphia, PA 19103
                                      (215) 875-0609
                                      Counsel for Defendants, Mead Johnson &
                                      Company, LLC and Mead Johnson Nutrition
                                      Company
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                             CERTIFICATE OF SERVICE

       I, Kenneth A. Murphy, Esquire, hereby certify that I caused to be served a true

and correct copy of the foregoing document to all counsel of record via the Court

electronic filing system:


                                                /s/ Kenneth A. Murphy
                                                Kenneth A. Murphy, Esquire

Dated: December 5, 2022
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                   EXHIBIT A-21
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 253 of 375 PageID #:444
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                   EXHIBIT A-22
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 256 of 375 PageID #:447
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                   EXHIBIT A-23
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 258 of 375 PageID #:449




 BY:                    , Esquire
          Meaghann C. Porth, Esquire

 Attorney I.D. No.: 29053/307629/314034
 1205 Westlakes Drive, Suite 330
 Berwyn, PA 19312
 (610) 964-1900
 (610) 964-1981
 Attorneys for Defendant,
 Abbott Laboratories

 HOLLI CARTER, on her own behalf and as
                                      :                 COURT OF COMMON PLEAS
 Parent and Natural Guardian of J.C., a minor,
                                      :                 PHILADELPHIA COUNTY
                                      :
                       Plaintiffs,    :                 CIVIL DIVISION - LAW
                                      :
            v.                        :                 MARCH TERM, 2022
                                      :
 MEAD JOHNSON & COMPANY, LLC,         :                 NO.: 02588
 MEAD JOHNSON NUTRITION COMPANY,      :
 ABBOTT LABORATORIES, THE             :
 PENNSYLVANIA HOSPITAL OF THE         :
 UNIVERSITY OF PENNSYLVANIA HEALTH :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL :
 and THE TRUSTEES OF THE UNIVERSITY   :
 OF PENNSYLVANIA d/b/a PENN MEDICINE, :
                                      :
                       Defendants.    :

                                  ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

          Kindly enter the appearances of Meaghann C. Porth, Esquire and Ryan J.

as counsel on behalf of Defendant, Abbott Laboratories with regard to the above-captioned

matter.

                                                     Respectfully submitted,

                                                     CAMPBELL CONROY &             EIL, P.C.

                                             By:     /s/Meaghann C. Porth
                                                                    , Esquire
                                                     Meaghann C. Porth, Esquire
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 259 of 375 PageID #:450




                                            Attorneys for Defendant,
DATED: January 12, 2023                     Abbott Laboratories




                                        2
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                   CERTIFICATE OF SERVICE AND COMPLIANCE

       I, the undersigned, hereby certify that I have electronically filed the foregoing Entry of

Appearance with the Prothonotary of the Court using the CM/ECF system which will send

notification of filing to those attorneys registered on this 12 th day of January, 2023.

       I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.



                                                       CAMPBELL CONROY &              EIL, P.C.



                                               By:     /s/Meaghann C. Porth
                                                       Meaghann C. Porth, Esquire
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                   EXHIBIT A-24
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 262 of 375 PageID #:453




                               IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                                    COUNTY
                                   FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                             TRIAL DIVISION CIVIL




           CARTER ETAL                                                March Term 2022
               VS                                                        No. 02588
 MEAD JOHNSON & COMPANY, LLC, ETAL


                                  CASE MANAGEMENT ORDER
                                      COMPLEX TRACK                                  12-JAN-2023
                                                                                   T. ITALIANO
AND NOW, 12-JAN-2023 , it is Ordered that:

1.    The case management and time standards adopted for complex track cases shall be applicable to
      this case and are hereby incorporated into this Order.

2.    All discovery on the above matter shall be completed not later than 02-OCT-2023.

3.    Plaintiff shall identify and submit curriculum vitae and expert reports of all expert witnesses
      intended to testify at trial to all other parties not later than 06-NOV-2023.

4.    Defendant and any additional defendants shall identify and submit curriculum vitae and expert
      reports of all expert witnesses intended to testify at trial not later than 04-DEC-2023.

5.    All pre-trial motions shall be filed not later than 04-DEC-2023.

6.    A settlement conference may be scheduled at any time after 02-JAN-2024. Prior to the
      settlement conference all counsel shall serve all opposing counsel and file a settlement
      memorandum containing the following:

      (a).    A concise summary of the nature of the case if plaintiff or of the defense if defendant or
              additional defendant;

      (b).    A statement by the plaintiff or all damages accumulated, including an itemization of
              injuries and all special damages claimed by categories and amount;

      (c).    Defendant shall identify all applicable insurance carriers, together with applicable limits
              of liability.

7.    A pre-trial conference will be scheduled any time after 04-MAR-2024. Fifteen days
      prior to pre-trial conference, all counsel shall serve all opposing counsel and file a pre-
      trial memorandum containing the following:

      (a).    A concise summary of the nature of the case if plaintiff or the defense if defendant or
              additional defendant;
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              (b).       A list of all witnesses who may be called to testify at trial by name and address. Counsel
                         should expect witnesses not listed to be precluded from testifying at trial;

              (c).       A list of all exhibits the party intends to offer into evidence. All exhibits shall be pre-
                         numbered and shall be exchanged among counsel prior to the conference. Counsel
                         should expect any exhibit not listed to be precluded at trial;

              (d).       Plaintiff shall list an itemization of injuries or damages sustained together with all special
                         damages claimed by category and amount. This list shall include as appropriate,
                         computations of all past lost earnings and future lost earning capacity or medical
                         expenses together with any other unliquidated damages claimed; and

              (e).       Defendant shall state its position regarding damages and shall identify all applicable
                         insurance carriers, together with applicable limits of liability;

              (f).       Each counsel shall provide an estimate of the anticipated length of trial.

8.            It is expected that the case will be ready for trial 01-APR-2024, and counsel should anticipate
              trial to begin expeditiously thereafter.

9.            All counsel are under a continuing obligation and are hereby ordered to serve a copy of this order
              upon all unrepresented parties and upon all counsel entering an appearance subsequent to the
              entry of this Order.

                                                                    BY THE COURT:



                                                                    _________________________
                                                                    LINDA CARPENTER, J.
                                                                    TEAM LEADER
\\TMI73801 (Rev 11/04)
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                   EXHIBIT A-25
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Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 267 of 375 PageID #:458




                   EXHIBIT A-26
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 268 of 375 PageID #:459




BURNS WHITE LLC                                         Attorneys for Defendants,
By:    James A. Young, Esquire                          The Pennsylvania Hospital of the
       Richard S. Margulies, Esquire                    University of Pennsylvania Health
       Susan R. Engle, Esquire                          System d/b/a Pennsylvania Hospital and
Attorney ID Nos. 00213 / 62306 / 81671                  The Trustees of the University of
1880 John F. Kennedy Boulevard, 10th Floor              Pennsylvania d/b/a Penn Medicine
Philadelphia, PA 19103
(215) 587-1625 / 1628 / 1669
jayoung@burnswhite.com
rsmargulies@burnswhite.com
srengle@burnswhite.com

HOLLI CARTER, on her own behalf and as              :   COURT OF COMMON PLEAS
Parent and Natural Guardian of J.C., a Minor,       :   PHILADELPHIA COUNTY
                             Plaintiffs,            :
                                                    :   CIVIL ACTION
       v.                                           :
                                                    :   MARCH TERM 2022
MEAD JOHNSON & COMPANY, LLC, et al.,                :   NO. 2588
                   Defendants.                      :

                      PRAECIPE TO SUBSTITUTE APPEARANCE

TO THE OFFICE OF JUDICIAL RECORDS/PROTHONOTARY:

       Kindly withdraw the appearance of Gregory A. Dachko, Esquire and enter the appearance

of Susan R. Engle, Esquire on behalf of Defendants, The Pennsylvania Hospital of the University

of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine, in the above-captioned matter.

                                             BURNS WHITE LLC

                                    BY:      /s/ Gregory A. Dachko
                                             Gregory A. Dachko, Esquire

                                    BY:      /s/ Susan R. Engle
                                             Susan R. Engle, Esquire

DATE: March 1, 2023
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 269 of 375 PageID #:460




                                   CERTIFICATE OF SERVICE

       I, Susan R. Engle, Esquire, attorney for attorney for Defendants, The Pennsylvania Hospital

of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine, do hereby certify that a true and correct copy

of the foregoing Praecipe to Substitute Appearance was electronically filed on this date and

served to all counsel of record.



                                      BY:    /s/ Susan R. Engle
                                             Susan R. Engle, Esquire

DATE: March 1, 2023
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                   EXHIBIT A-27
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HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
J.C., a Minor                         :
                                      : MARCH TERM, 2022
                        Plaintiffs,   : No. 2588
       v.                             :
                                      :
MEAD JOHNSON & COMPANY, LLC,          :
et al.                                :
                                      :
                        Defendants.   :


                                     ORDER

      AND NOW, this ________ day of _____________, 2023, upon consideration of

the Motion for Admission Pro Hac Vice of Erica L. Gerson, Esquire, to Represent

Defendants, Mead Johnson & Company, LLC and Mead Johnson Nutrition Company, it

is hereby ORDERED that the Motion is GRANTED. This Court hereby admits Erica L.

Gerson, Esquire, pro hac vice in this case on behalf of Defendants, Mead Johnson &

Company, LLC and Mead Johnson Nutrition Company.



                                            BY THE COURT:



                                            _______________________
                                                                  J.
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TUCKER LAW GROUP, LLC                      ATTORNEYS FOR DEFENDANTS MEAD
Kenneth A. Murphy, Esquire                 JOHNSON & COMPANY, LLC AND
Heather R. Olson, Esquire                  MEAD JOHNSON NUTRITION
Ten Penn Center                            COMPANY
1801 Market Street, Suite 2500
Philadelphia, PA 19103
(215) 875-0609
kmurphy@tlgattorneys.com
holson@tlgattorneys.com

 HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
 and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
 J.C., a Minor                         :
                                       : MARCH TERM, 2022
                         Plaintiffs,   : No. 2588
        v.                             :
                                       :
 MEAD JOHNSON & COMPANY, LLC,          :
 et al.                                :
                                       :
                         Defendants.   :

     MOTION FOR ADMISSION PRO HAC VICE OF ERICA L. GERSON, ESQUIRE,
               TO REPRESENT MEAD JOHNSON DEFENDANTS

       Defendants, Mead Johnson & Company, LLC and Mead Johnson Nutrition

Company (collectively, the                Defendants ), by and through their counsel,

Tucker Law Group, LLC, hereby move this Court for an order pursuant to Pa. R. C. P.

1012.1(b) and (e), Rule 301 of the Pennsylvania Bar Admission Rules, and the

Pennsylvania Interest on Lawyer Trust Account Regulations for pro hac vice Admission

(204 Pa. Code § 81.501 et seq.) admitting Erica L. Gerson, Esquire, to the bar of this

Court, pro hac vice, for the purpose of representing the Mead Johnson Defendants, and

aver the following in support thereof:

1.     Ms. Gerson is an attorney in the law firm of Steptoe & Johnson LLP, 1330

       Connecticut Avenue NW, Washington, D.C. 20036. Ms. Gerson has an attorney-

       client relationship with Mead Johnson & Company, LLC and Mead Johnson
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      Nutrition Company, and has special skills, knowledge and experience relating to

      this case. The efficient administration, prosecution and resolution of this case will

      be materially advanced by the admission pro hac vice of Ms. Gerson.                  A

      Verification Statement from Ms. Gerson, is attached hereto as Exhibit A.

2.    Ms. Gerson is a member in good standing in the District of Columbia and has been

      admitted to practice since 2005. See Exhibit A.

3.    Ms. Gerson is national counsel for the Mead Johnson Defendants, is familiar with

      the complex, technical issues presented in this matter, and her participation in this

      case will help clarify the issues before the Court. See Exhibit A.

4.    The Mead Johnson Defendants have specifically requested that Ms. Gerson be

      permitted to participate in this matter and represent its interests in this matter. See

      Exhibit A.

5.    Ms. Gerson is not presently suspended or disbarred in any Court, nor is she

      currently subject to any disciplinary proceedings by any organization to discipline

      attorneys at law. Further, Ms. Gerson has never received any public discipline,

      including, but not limited to, suspension or disbarment by any organization with the

      authority to discipline attorneys at law. Exhibit A.

6.    Ms. Gerson is familiar with Pennsylvania Bar Admission Rule 301 and has agreed

      to abide by the Rules of Professional Conduct applicable to Pennsylvania lawyers.

      Ms. Gerson will abide by the Rules of Court, including all disciplinary rules and, if

      this motion is granted, she will serve as associate counsel with Kenneth Murphy,

      Esquire, counsel of record for the Mead Johnson Defendants in this matter.




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7.    Ms. Gerson has applied to the Pennsylvania Interest on Lawyers' Trust Account

      Board (Pennsylvania IOLTA Board) and paid the appropriate fee required under

      204 Pa. Code § 81.503. to be admitted pro hac vice. Our office received a copy

      of the fee payment certification letter from the IOLTA Board, a copy of which is

      attached as Exhibit B.

8.    Ms. Gerson will be associated with Kenneth Murphy, Esquire of Tucker Law Group,

      LLC at all stages of this action.      Mr. Murphy, after reasonable investigation,

      believes that Ms. Gerson is a reputable and competent attorney and recommends

      that she be considered for admission pro hac vice. A true Verification Statement

      from Mr. Murphy pursuant to Pa. R. C. P. 1012.1(d)(2) is attached hereto as Exhibit

      C.

9.    Kenneth Murphy, Esquire, of Tucker Law Group, LLC is a member in good

      standing of the Bar of the Commonwealth of Pennsylvania. Tucker Law Group and

      Mr. Murphy will be counsel of record for the Mead Johnson Defendants and will

      continue to participate fully in this litigation and will sign, serve, and accept service

      of all papers on the Mead Johnson

10.   All the requirements to satisfy the applicable rules of Court are met.

11.   There is no good cause for denial of this motion.




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      WHEREFORE, it is respectfully requested that this Court enter the attached Order

granting Erica Gerson leave to appear as counsel pro hac vice for Defendants, Mead

Johnson & Company, LLC and Mead Johnson Nutrition Company.




                                              Respectfully submitted,

                                              TUCKER LAW GROUP, LLC

Date: March 14, 2023                          /s/ Kenneth A. Murphy
                                              Kenneth A. Murphy, Esquire
                                              Heather R. Olson, Esquire
                                              Ten Penn Center
                                              1801 Market Street, Suite 2500
                                              Philadelphia, PA 19103
                                              (215) 875-0609
                                              (215) 559-6209 fax
                                              kmurphy@tlgattorneys.com
                                              holson@tlgattorneys.com




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                              CERTIFICATE OF SERVICE

       I, Kenneth A. Murphy, Esquire certify that on this date, I caused a copy of the

foregoing Motion for Pro Hac Vice of Erica L. Gerson to be electronically filed through the



all counsel of record.



                                                 TUCKER LAW GROUP, LLC

Date: March 14, 2023                             /s/ Kenneth A. Murphy
                                                 Kenneth A. Murphy, Esquire




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                        EXHIBIT A




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                       VERIFICATION OF ERICA L. GERSON, ESQUIRE

          I, Erica L. Gerson, Esquire, hereby submit this Verification Statement in support of

the attached Motion for Admission pro hac vice to represent Defendants, Mead Johnson

& Company, LLC and Mead Johnson Nutrition Company (

                ), in this action in the Court of Common Pleas of Philadelphia County,

Pennsylvania. In support of this Motion made pursuant to pursuant to Pa. R. C. P.

1012.1(b) and (e), Rule 301 of the Pennsylvania Bar Admission Rules, and the

Pennsylvania Interest on Lawyer Trust Account Regulations for pro hac vice Admission

(204 Pa. Code § 81.501 et seq.), I swear and affirm that the following is true and correct

based upon my personal knowledge:

          1. I am a Partner with Steptoe and Johnson LLP, 1330 Connecticut Avenue, NW,

              Washington, DC 20036. Telephone: (202) 429-3049; email address:

              egerson@steptoe.com.

          2. I have been licensed to practice law in the following jurisdictions with the

              corresponding bar license number: District of Columbia (#494670); State of

              Maryland.1 Additionally, I have been admitted to practice in the following

              courts: U.S. Court of Federal Claims; U.S. Court of Appeals, Fourth Circuit;

              U.S. District Court, District of Columbia; U.S. District Court, District of Maryland;

              U.S. District Court, Northern District of Illinois.

          3. I am a member in good standing of all Bar(s) to which I am admitted.




1
    Maryland does not assign bar numbers to attorneys.

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      4. With respect to each jurisdiction identified in Paragraph 2 above, I have never

         been suspended, disbarred, or otherwise disciplined by any court, nor am I the

         subject of any disciplinary proceedings.

      5. I am involved in the following pending actions in the Philadelphia County Court

         of Common Pleas in which I am applying for admission pro hac vice:

Case Name                                                              Case Number

Carter, et al. v. Mead Johnson & Company, LLC, et al.                  220302588

Mays, et al. v. Mead Johnson & Company, LLC, et al.                    220302963

Wieger, et al. v. Mead Johnson & Company, LLC, et al.                  220302601



      6. If admitted, I agree to comply with and be bound by the applicable statues, case

         law, and procedural rules of the Commonwealth of Pennsylvania, including the

         Pennsylvania Rules of Professional Conduct.

      7. I do not have any pending pro hac vice admissions that I have applied for in

         any other court jurisdictions.

      8. If admitted, I agree to subject myself to the jurisdiction of the Pennsylvania

         courts and the Pennsylvania Disciplinary Board with respect to acts or

         omissions occurring during my appearance in this matter for which admission

         pro hac vice is sought.

      9. I respectfully submit that there is a good cause for my admission pro hac vice

         based upon my personal knowledge.

      10. Further, I have consented to the appointment of Kenneth A. Murphy, Esquire,

         of Tucker Law Group, LLC, as the agent upon whom services of process shall


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          be made for all actions, including disciplinary actions, that may arise out of the

          practice of law in this matter for which admission pro hac vice is being sought.

       I declare under the penalty of perjury the foregoing is true and correct. I hereby

state that the facts above are true and correct to the best of my knowledge, information,

and belief. I understand that statements herein are made subject to the penalties of 18

Pa. CS § 4904 (relating to unsworn falsification to authorities).




Date: March 14, 2023                             /s/ Erica L. Gerson
                                                 Erica L. Gerson, Esquire




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                        EXHIBIT B




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 March 14, 2023


 ERICA GERSON, Esq.
 STEPTOE & JOHNSON LLP
 1330 CONNECTICUT AVE NW
 WASHINGTON, DC 20036


 SENT TO ERICA GERSON VIA Email: EGERSON@STEPTOE.COM


 Dear Attorney GERSON:


 This letter serves as the fee payment certification referenced in 204 Pa Code §81.503 and
 acknowledges receipt of the $375.00 fee paid by Online Payment on this date related to your
 pursuit for admission pro hac vice in the case identified as Carter v. Mead Johnson & Company,
 LLC, et al., no. 220302588, filed in Court of Common Pleas of Philadelphia County.

 You should refer to Pa Rule of Civil Procedure 1012.1, local court rules, and other regulations of
 204 Pa Code §81.501 et. seq. concerning additional requirements related to seeking pro hac vice
 admission.

 Sincerely,




 Stephanie S. Libhart
 Executive Director

 cc: KENNETH ALONZO MURPHY, Esq.
     kmurphy@tlgattorneys.com
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                        EXHIBIT C




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TUCKER LAW GROUP, LLC                        ATTORNEYS FOR DEFENDANTS MEAD
Kenneth A. Murphy, Esquire                   JOHNSON & COMPANY, LLC AND
Heather R. Olson, Esquire                    MEAD JOHNSON NUTRITION
Ten Penn Center                              COMPANY
1801 Market Street, Suite 2500
Philadelphia, PA 19103
(215) 875-0609
kmurphy@tlgattorneys.com
holson@tlgattorneys.com

 HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
 and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
 J.C., a Minor                         :
                                       : MARCH TERM, 2022
                         Plaintiffs,   : No. 2588
        v.                             :
                                       :
 MEAD JOHNSON & COMPANY, LLC,          :
 et al.                                :
                                       :
                         Defendants.   :

               VERIFICATION OF KENNETH A. MURPHY, ESQUIRE

COMMONWEALTH OF PENNSYLVANIA                     )
                                                 ) ss:
COUNTY OF PHILADELPHIA                           )


      I, Kenneth A. Murphy, hereby submit this Verification Statement in support of the

attached Motion to Admit Erica L. Gerson, Esquire pro hac vice to represent Defendants,

Mead Johnson & Company, LLC and Mead Johnson Nutrition Company (collectively, the

Mead Johnson Defendants), in this matter.

      1.     I am a Partner at Tucker Law Group, LLC, Ten Penn Center, 1801 Market

             Street, Suite 2500, Philadelphia, PA 19103.

      2.     I have been licensed to practice law in the following jurisdictions with the

             corresponding bar license number: The Commonwealth of Pennsylvania

             (#58162), the State of New Jersey (#047641992). Additionally, I have been

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             admitted to practice in the following courts: U.S. District Court, Eastern

             District of Pennsylvania, U.S. Court of Appeals, D.C. Circuit, U.S. Court of

             Appeals, Third Circuit.

      3.     I am a member in good standing of the Bar of the Commonwealth of

             Pennsylvania and the other courts to which I am admitted.

      4.     I am licensed to practice law in all the jurisdictions that I have been admitted

             and am counsel of record representing the Mead Johnson Defendants in

             this matter.

      5.     I hereby certify and affirm that after reasonable investigation and on

             personal knowledge, I believe that Erica L. Gerson, is a reputable and

             competent attorney, and I am in a position to recommend that this candidate

             be admitted pro hac vice for practice in the Commonwealth of Pennsylvania

             to represent the Mead Johnson Defendants in this matter.

      6.     I am not currently acting as the sponsor of any other candidate for

             admission pro hac vice in Pennsylvania, other than Anthony Anscombe,

             Esquire who has also applied for admission pro hac vice in this matter.

      7.     If applicable, at the conclusion of this matter, I affirm that any proceeds from

             the settlement of this cause of action in which Ms. Gerson is granted

             admission pro hac vice shall be received, held, distributed, and accounted

             for in accordance with Rule 301 of the Pennsylvania Rules of Professional

             Conduct, including the IOLTA provisions thereof, if applicable.

      I declare under the penalty of perjury the foregoing is true and correct. I hereby

state that the facts above are true and correct to the best of my knowledge, information,



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and belief. I understand that statements herein are made subject to the penalties of 18

Pa. CS §4904 (relating to unsworn falsification to authorities).



                                                 TUCKER LAW GROUP, LLC

                                          By:    /s/ Kenneth A. Murphy
                                                 Kenneth A. Murphy, Esquire

Date: March 14, 2023




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                   EXHIBIT A-28
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                   EXHIBIT A-29
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 291 of 375 PageID #:482
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                   EXHIBIT A-30
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 294 of 375 PageID #:485
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                   EXHIBIT A-31
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 297 of 375 PageID #:488
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                   EXHIBIT A-32
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 WELSH AND RECKER, P.C.                      ATTORNEYS FOR DEFENDANTS MEAD
 Catherine M. Recker (PA Bar No. 56813)      JOHNSON & COMPANY, LLC AND MEAD
 Amy B. Carver (PA Bar No. 84819)            JOHNSON NUTRITION COMPANY
 Richard D. Walk , III (PA Bar No. 329420)
 306 Walnut Street
 Philadelphia, PA 19106
 215-972-6430

 Holli Carter, on her own behalf and as      COURT OF COMMON PLEAS
 Parent and Natural Guardian of J.C., a      PHILADELPHIA COUNTY
 Minor,
                        Plaintiff,           March Term, 2022

                        v.
                                             No. 220302588
 Mead Johnson & Company, LLC, et al.,
                   Defendants.


                                NOTICE OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearance of Catherine M. Recker, Amy B. Carver, and Richard D.

Walk, III as attorneys for Mead Johnson & Company, LLC and Mead Johnson Nutrition

Company in the above-captioned matter.

Dated: March 21, 2023                            Respectfully submitted,

                                                 /s/ Richard D. Walk, III
                                                 Catherine M. Recker (PA Bar No. 56813)
                                                 Amy B. Carver (PA Bar No. 84819)
                                                 Richard D. Walk , III (PA Bar No. 329420)
                                                 WELSH & RECKER, P.C.
                                                 306 Walnut St.
                                                 Philadelphia, PA 19106
                                                 Tel: (215) 972-6430
                                                 Fax: 1-985-617-1021
                                                 cmrecker@welshrecker.com
                                                 abcarver@welshrecker.com
                                                 rwalk@welshrecker.com
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                                 CERTIFICATE OF SERVICE

       I, Richard D. Walk, III, hereby certify that I caused a true and correct copy of the

foregoing Notice of Appearance to be filed with the Prothonotary of the Court of Common Pleas

of Philadelphia County using the Court’s electronic filing system, and the filing is available for

viewing and download from the Court’s electronic filing system, and a true and correct copy was

served via ECF on all counsel of record registered with the Court’s electronic filing system.




Dated: March 21, 2023                                                /s/ Richard D. Walk, III
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                   EXHIBIT A-33
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                   EXHIBIT A-34
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KLINE & SPECTER, P.C.
THOMAS R. KLINE, ESQUIRE
Attorney I.D. No. 28895
TOBIAS MILLROOD, ESQUIRE
Attorney I.D. No. 77764
ELIZABETH CRAWFORD, ESQUIRE
Attorney I.D. No. 313702
MELISSA MERK, ESQUIRE
Attorney I.D. No. 90363

Attorney I.D. No. 205677

1525 Locust Street
19th Floor
Philadelphia, PA 19102
(215) 772-1000/(215) 772-1359 fax.                  Attorney for Plaintiffs

                 IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                         FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                   TRIAL DIVISION - CIVIL

 HOLLI CARTER, on her own behalf and as
 Parent and Natural Guardian of J.C., a Minor,
 Plaintiffs, March Term, 2022
                Plaintiff,
    No. 02588
          v.

 MEAD JOHNSON & COMPANY, LLC,                           JURY TRIAL DEMANDED et
 al.

                  Defendants.




                                       ENTRY OF APPEARANCE

TO THE Prothonotary:

          Kindly enter my appearance as co-counsel on behalf of the Plaintiffs in the above-captioned
matter.
                                                  Respectfully submitted,

                                                  KLINE & SPECTER, P.C.
Dated: March 24, 2023
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 307 of 375 PageID #:498




                                              /s/               l

                                              Attorney for Plaintiffs




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2023, I caused a true and correct copy of the

foregoing document to be served by electronic filing to all counsel of record.



Dated: March 24, 2023

                                             Attorney for Plaintiffs
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                   EXHIBIT A-35
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 309 of 375 PageID #:500
Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 310 of 375 PageID #:501




                   EXHIBIT A-36
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 311 of 375 PageID #:502




ANAPOL WEISS
BY: PAOLA PEARSON, ESQUIRE (I.D. 318356)
ppearson@anapolweiss.com
130 N. 18TH ST., SUITE 1600
PHILADELPHIA, PA 19103                   ATTORNEY FOR PLAINTIFFS
HOLLI CARTER, on her own behalf and      :   COURT OF COMMON PLEAS
as Parent and Natural Guardian of J.C.,  :   PHILADELPHIA COUNTY
a Minor                                  :
                                         :
                      Plaintiffs         :    CIVIL ACTION
        v.                               :
                                         :
MEAD JOHNSON & COMPANY, LLC              :   NO. 220302588
Illinois Corporation Service Co.         :
801 Adlai Stevenson Drive                :
Springfield, IL 62703                    :
                                         :
                                         :
MEAD JOHNSON NUTRITION COMPANY :
Illinois Corporation Service Co.         :
801 Adlai Stevenson Drive                :
Springfield, IL 62703                    :
                                         :
                                         :
ABBOTT LABORATORIES                      :
CT Corporation System                    :
208 So. Lasalle Street, Suite 814        :
Chicago, IL 60604                        :
                                         :
                                         :
THE PENNSYLVANIA HOSPITAL OF             :
THE UNIVERSITY OF PENNSYLVANIA           :
HEALTH SYSTEM d/b/a PENNSYLVANIA         :
HOSPITAL                                 :
3400 Civic Center Blvd                   :
Philadelphia, PA 19104                   :
                                         :
                                         :
THE TRUSTEES OF THE UNIVERSITY OF :
PENNSYLVANIA d/b/a PENN MEDICINE         :
              th
133 South 36 Street                      :
Philadelphia, PA 19104                   :
                                         :
                                         :
                      Defendants         :    JURY TRIAL DEMANDED


                                        1
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 312 of 375 PageID #:503




                      WITHDRAWAL OF APPEARANCE OF COUNSEL

TO THE PROTHONOTARY:

          Kindly withdraw my appearance as counsel for Plaintiffs, Holli Carter, on her own behalf

and as Parent and Natural Guardian of J.C., a minor, in the above-captioned matter. All other

Plaintiffs’ counsel currently listed as attorneys of record will continue to represent Plaintiffs in this

action.



Dated: May 2 2023                                               ANAPOL WEISS


                                                                /s/ Paola Pearson__________
                                                                Paola Pearson (PA #318356)
                                                                130 N. 18th Street – Suite 1600
                                                                Philadelphia, PA 19103
                                                                Tel: (215) 790-4554
                                                                Fax: (215) 875-7719
                                                                ppearson@anapolweiss.com




                                                   2
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 313 of 375 PageID #:504




                               CERTIFICATE OF SERVICE

       I, Paola Pearson, hereby certify that on this 2nd day of May 2023, the foregoing Withdrawal

of Appearance was filed and made available via ECF to all counsel of record.




                                                    By:     /s/ Paola Pearson____
                                                            Paola Pearson, Esquire




                                                3
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                   EXHIBIT A-37
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ANAPOL WEISS
BY: TRACY FINKEN, ESQUIRE (I.D. 82258)
tfinken@anapolweiss.com
130 N. 18TH ST., SUITE 1600
PHILADELPHIA, PA 19103                        ATTORNEY FOR PLAINTIFFS
HOLLI CARTER, on her own behalf and           :   COURT OF COMMON PLEAS
as Parent and Natural Guardian of J.C.,       :   PHILADELPHIA COUNTY
a Minor                                       :
                                              :
                     Plaintiffs               :    CIVIL ACTION
       v.                                     :
                                              :
MEAD JOHNSON & COMPANY, LLC                   :   NO. 220302588
Illinois Corporation Service Co.              :
801 Adlai Stevenson Drive                     :
Springfield, IL 62703                         :
                                              :
                                              :
MEAD JOHNSON NUTRITION COMPANY                :
Illinois Corporation Service Co.              :
801 Adlai Stevenson Drive                     :
Springfield, IL 62703                         :
                                              :
                                              :
ABBOTT LABORATORIES                           :
CT Corporation System                         :
208 So. Lasalle Street, Suite 814             :
Chicago, IL 60604                             :
                                              :
                                              :
THE PENNSYLVANIA HOSPITAL OF                  :
THE UNIVERSITY OF PENNSYLVANIA                :
HEALTH SYSTEM d/b/a PENNSYLVANIA              :
HOSPITAL                                      :
3400 Civic Center Blvd                        :
Philadelphia, PA 19104                        :
                                              :
                                              :
THE TRUSTEES OF THE UNIVERSITY OF             :
PENNSYLVANIA d/b/a PENN MEDICINE              :
133 South 36th Street                         :
Philadelphia, PA 19104                        :
                                              :
                                              :
                     Defendants               :    JURY TRIAL DEMANDED


                                          1
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                      WITHDRAWAL OF APPEARANCE OF COUNSEL

TO THE PROTHONOTARY:

          Kindly withdraw my appearance as counsel for Plaintiffs, Holli Carter, on her own behalf

and as Parent and Natural Guardian of J.C., a minor, in the above-captioned matter. All other

Plaintiffs’ counsel currently listed as attorneys of record will continue to represent Plaintiffs in this

action.



Dated: May 2 2023                                               ANAPOL WEISS


                                                                /s/ Tracy Finken __________
                                                                Tracy Finken (PA #82258)
                                                                130 N. 18th Street – Suite 1600
                                                                Philadelphia, PA 19103
                                                                Tel: (215) 735-0773
                                                                Fax: (215) 875-7727
                                                                tfinken@anapolweiss.com




                                                   2
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 317 of 375 PageID #:508




                               CERTIFICATE OF SERVICE

       I, Tracy Finken, hereby certify that on this 2nd day of May 2023, the foregoing Withdrawal

of Appearance was filed and made available via ECF to all counsel of record.




                                                    By:    /s/ Tracy Finken____
                                                           Tracy Finken, Esquire




                                               3
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                   EXHIBIT A-38
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SCHNADER HARRISON SEGAL & LEWIS LLP
Samuel W. Silver (Pa. I.D. No. 56596)
John R. Timmer (Pa. I.D. 89814)
1600 Market Street, Suite 3600
Philadelphia, Pennsylvania 19103-7286
Telephone: 215-751-2309
Facsimile: 215-751-2205
Email: ssilver@schnader.com
Email: jtimmer@schnader.com
Attorneys for Defendant Abbott Laboratories

           IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                   FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                             TRIAL DIVISION - CIVIL

HOLLI CARTER, et al.,                                 :
                                                      : MARCH TERM, 2022
               Plaintiff,                             :
                                                      : No. 220302588
      v.                                              :

MEAD JOHNSON & COMPANY, LLC, et al.,

               Defendants.

                             WITHDRAWAL OF APPEARANCES

TO THE OFFICE OF JUDICIAL RECORDS:

               Kindly withdraw the appearances of Samuel W. Silver and John R. Timmer of the

law firm of Schnader Harrison Segal & Lewis LLP on behalf of defendant Abbott Laboratories

in the above-captioned matter.

                                              /s/ Samuel W. Silver

                                              /s/ John R. Timmer
                                              SCHNADER HARRISON SEGAL & LEWIS LLP
                                              Samuel W. Silver (Pa. I.D. No. 56596)
                                              Email: ssilver@schnader.com
                                              John R. Timmer (Pa. I.D. 89814)
                                              Email: jtimmer@schnader.com
                                              1600 Market Street, Suite 3600
                                              Philadelphia, Pennsylvania 19103-7286

Dated: June 8, 2023


                                                                              PHDATA 8585660_1
 Case: 1:24-cv-11760 Document #: 1-2 Filed: 10/31/24 Page 320 of 375 PageID #:511



                               CERTIFICATE OF SERVICE

       I, John R. Timmer, hereby certify that on this 8th day of June, 2023, the foregoing

Withdrawal of Appearance was filed and made available via ECF to all counsel of record.



                                           /s/ John R. Timmer
                                           SCHNADER HARRISON SEGAL & LEWIS LLP
                                           Samuel W. Silver (Pa. I.D. No. 56596)
                                           Email: ssilver@schnader.com
                                           John R. Timmer (Pa. I.D. 89814)
                                           Email: jtimmer@schnader.com
                                           1600 Market Street, Suite 3600
                                           Philadelphia, Pennsylvania 19103-7286




                                                                                PHDATA 8585660_1
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                   EXHIBIT A-39
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 Holli Carter, on her own behalf and as Parent and Natural COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                 PHILADELPHIA COUNTY

                       Plaintiff                            CIVIL DIVISION

 v.                                                         MARCH TERM, 2022
                                                            NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.



                                            ORDER

       AND NOW, this               day of                       2023, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Complaint, and any Response thereto, it is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that all

claims against Defendants the Pennsylvania Hospital of the University of Pennsylvania Health

System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn

Medicine are hereby DISMISSED with prejudice.



                                                    BY THE COURT:



                                                    ____________________________________
                                                                                  J.
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 Holli Carter, on her own behalf and as Parent and Natural   COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                   PHILADELPHIA COUNTY

                       Plaintiff                             CIVIL DIVISION

 v.                                                          MARCH TERM, 2022
                                                             NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.


                                     ALTERNATIVE ORDER

       AND NOW, this               day of                       2023, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Complaint, and any Response thereto, it is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that:

       1.     Count VI of Plaintiffs’ Complaint is DISMISSED with prejudice;

       2.     Count VII of Plaintiffs’ Complaint is DISMISSED with prejudice;

       3.     Plaintiffs’ claims for punitive damages as to Defendants The Pennsylvania Hospital
              of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and
              The Trustees of the University of Pennsylvania d/b/a Penn Medicine are
              DISMISSED with prejudice, along with all allegations of oppressive, reckless,
              malicious and/or fraudulent conduct;

       4.     Plaintiff Holli Carter’s claims in her own right are DISMISSED with prejudice;
              and

       5.     Plaintiffs’ Complaint is STRICKEN for lack of an appropriate verification.


                                                    BY THE COURT:

                                                    ____________________________________
                                                                                  J.
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 BURNS WHITE LLC                                 Attorneys For Defendants,
 By: James A. Young, Esq.                        The Pennsylvania Hospital of the University of
      Richard S. Margulies, Esq.                 Pennsylvania Health System d/b/a Pennsylvania
      Attorney ID Nos. 00213/62306               Hospital and The Trustees of the University of
 1880 John F. Kennedy Boulevard, 10th Floor      Pennsylvania d/b/a Penn Medicine
 Philadelphia, PA 19103
 215-587-1625/1628
 jayoung@burnswhite.com
 rsmargulies@burnswhite.com


 Holli Carter, on her own behalf and as Parent and        COURT OF COMMON PLEAS
 Natural Guardian of J.C., a minor                        PHILADELPHIA COUNTY

                        Plaintiff                         CIVIL DIVISION

 v.                                                       MARCH TERM, 2022
                                                          NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


PRELIMINARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
           TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
                    TO PLAINTIFFS’ COMPLAINT

       Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System

(“Pennsylvania Hospital”) and the Trustees of the University of Pennsylvania (hereinafter

“Moving Defendants”) hereby preliminarily object to Plaintiffs’ Complaint, and, in support

thereof, aver as follows:

I.     INTRODUCTION

       1.      Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022

against Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead
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Johnson Nutritional Company (collectively referred to as “Mead Johnson”) and Abbott

Laboratories (“Abbott”). See Plaintiff’s Complaint, attached as Exhibit “A.”1

         2.       Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania

Hospital and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s

milk-based infant formula by premature infants following their birth. 2

         3.       Plaintiffs allege that “upon information and belief” the Plaintiff-minors, including

J.C., were diagnosed with necrotizing enterocolitis (NEC), a gastrointestinal disorder that

premature infants are at increased risk to develop. See Plaintiffs’ Complaint, attached as Exhibit

“A,” ¶ 13. Plaintiffs allege that premature infants fed with their mother’s breast milk or donor

breast milk are at decreased risk of developing NEC as compared with infants given cow’s milk-

based infant formula.3

         4.       In addition to asserting product liability claims against the infant formula

manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that Moving Defendants are

liable based on theories of failure to warn and corporate liability. 4




1
  Shortly after the filing of the Complaint, this case was removed to federal court. Following briefing and a hearing,
the case was remanded to this Honorable Court. There was then an effort by all Defendants to transfer these cases to
this Court’s Mass Tort Program. Plaintiffs opposed this request, and same was denied by this Honorable Court.
These preliminary objections were timely filed after the initial filing of the Complaint, but never ruled upon.
2
  Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
3
  Although Plaintiffs aver in the Complaint that NEC is caused by cow’s milk-based infant formula, as discussed
infra and in the accompanying Memorandum of Law, the allegations in the Complaint refer to research and studies
that indicate only that NEC is more common in premature and low birth weight infants fed with cow’s milk-based
products as compared with similar infants fed with breast milk. See Exhibit “A,” ¶¶ 17-23. Plaintiffs do not cite any
study or statement in the Complaint that indicates NEC is caused by cow’s milk-based infant formula.
4
 As is discussed in detail in the accompanying Memorandum of Law, infant formulas are regulated by the United
States Food and Drug Administration and require to include specified vitamins and nutrients, including infant
formulas intended for low birth weight infants. The FDA permits does not restrict the use of cow’s milk-based infant
formula for premature or low birth weight infants. Plaintiff’s contention that cow’s milk-based infant formula should
never be given to premature infants is not supported by the FDA.


                                                          2
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        5.       The factual background regarding the Plaintiff-minor’s birth, diagnosis and injuries

are limited to four paragraphs in the Complaint.

        6.       Plaintiffs aver that J.C. was born prematurely on October 6, 2014 and that “upon

information and belief was fed Similac and/or Enfamil cow’s milk-based products by staff at

Pennsylvania Hospital from shortly after his birth.” Id., ¶¶ 11-12.

        7.       Plaintiffs further allege that “upon information and belief” J.C. developed NEC

shortly after first ingesting the Defendant manufacturers’ products. Id., ¶ 13.

        8.       Plaintiffs generally allege that J.C. “suffered injuries and has continued to suffer

long-term health effects,” with no specific description of those alleged injuries or long-term health

effects. Id., ¶ 14.

        9.       Moving Defendants Preliminarily Object to Plaintiffs’ Complaint for the reasons

stated below and as more fully set forth in the accompanying Memorandum of Law, which is

incorporated herein by reference.

II.     ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

        10.      Plaintiffs allege in Count VI of the Complaint that Moving Defendants, “as

purchaser, supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs and

the public a duty to provide products that were free of unreasonable risk of harm.

        11.      Plaintiffs’ theory against Moving Defendants is that they were aware cow’s milk-

based products made by the Defendant Manufacturers cause NEC in premature and low birth

weight infants and negligently failed to warn the parents of those infants of this danger.




                                                   3
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       12.      In support of this theory, Plaintiffs cite to five studies comparing cow’s milk-based

products to breast milk, a Surgeon General report on the subject, and a statement by the American

Academy of Pediatrics. See Exhibit “A,” ¶¶ 17-23.

       13.      Taking these facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants as they have failed to demonstrate

the product in question is indeed unreasonably dangerous.

       14.      Further, to the extent the product at issue was provided in the context of medical

care, rather than commerce, there can be no claim against Moving Defendants for a product-

liability based theory of failure to warn.

       15.      “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a

claim of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp.,

596 A.2d 845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

             One who supplies directly or through a third person a chattel for another to
             use is subject to liability to those whom the supplier should expect to use
             the chattel with the consent of the other or to be endangered by its probable
             use, for physical harm caused by the use of the chattel in the manner for
             which and by a person for whose use it is supplied, if the supplier

             (a) knows or has reason to know that the chattel is or is likely to be
                 dangerous for the use for which it is supplied, and

             (b) has no reason to believe that those for whose use the chattel is supplied
                 will realize its dangerous condition, and

             (c) fails to exercise reasonable care to inform them of its dangerous
             condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388.

       16.      “The threshold inquiry in all products liability cases is whether there is a defect

which rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc.,

718 A.2d 305, 307 (Pa. Super. 1998).

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       17.     “A product is defective when it is not safe for its intended use, i.e., the product left

the supplier's control lacking any element necessary to make it safe for its intended use.” Id. At

308.

       18.     Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the

Defendant Manufacturers’ products are unreasonably dangerous for their intended use, triggering

Moving Defendants’ duty to warn.

       19.     Although Plaintiffs cite in their Complaint to research studies relating to the

purported risks of cow’s milk-based products in premature infants, the studies demonstrate only,

assuming the facts as true as stated by Plaintiffs, that premature infants are at high risk of NEC,

and that feeding such infants with breast milk may be better at reducing the risk of NEC than cow’s

milk-based alternatives. See Exhibit “A,” ¶¶ 17-23.

       20.     At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-

weight infants are especially susceptible to NEC.” See Exhibit “A” at ¶ 16 (emphasis added).

Following this, Plaintiffs make the core claim of their Complaint – that cow’s milk-based feeding

products cause NEC in preterm and low birth weight infants – and that “[e]xtensive scientific

research, including numerous randomized controlled trials” confirm this claim. Id. However,

reviewing the portions of the research and trials cited by Plaintiffs in their Complaint belie their

core claim.

       21.     The first study cited by Plaintiffs states, according to the Complaint, that “NEC was

six to ten times more common in exclusively cow’s milk formula-fed babies than in exclusively

breast milk-fed babies and three times more common in babies who received a combination of

formula and breast milk.” Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants

fed cow’s milk-based products than those fed breast milk is to say that NEC still occurs in infants



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fed exclusively breast milk, but only at a lower rate. Thus, Plaintiffs’ first study does not state

cow’s milk-based feeding products causes NEC.

        22.     As averred in the Complaint, the second study cited by Plaintiffs states that

“preterm babies fed an exclusive breast milk-based diet were 90% less likely to develop surgical

NEC compared to preterm babies fed a diet that included some cow’s milk-based products.” Id. at

¶ 18. To state that preterm infants fed only breast milk are less likely to develop a form of NEC is

to admit that NEC still develops in preterm infants regardless of the diet. Thus, Plaintiffs’ second

study likewise does not state that cow’s milk-based feeding products cause NEC.

        23.     The third study cited by Plaintiffs concluded, per the Complaint, “fortification of

breast milk with a cow’s milk-based fortifier resulted in a 4.2-fold increased risk of NEC and a

5.1-fold increased risk of surgical NEC or death compared to fortification with a breast milk-based

fortifier.” Id. at ¶ 19. What the study does not state, as alleged in the Complaint, is that cow’s milk-

based fortifiers cause NEC.

        24.     The Surgeon General report cited by Plaintiffs is alleged in the Complaint to

reiterate the principle made in the prior three studies and states that “formula feeding is associated

with higher rates” of NEC in preterm infants and that “premature infants who are not breastfed

are 138% more likely to develop NEC." Id. at ¶ 20 (emphasis added). If cow’s milk-based formula

caused NEC as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead,

the Surgeon General report, as described in Plaintiffs’ Complaint at ¶ 20, makes the same

acknowledgment as Plaintiffs – that preterm infants are highly susceptible to NEC regardless of

their diet, and that NEC occurs in different rates in preterm infants fed cow’s milk-based products

and breast milk. The report does not state that the former causes NEC.




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       25.     According to the Complaint, the American Academy of Pediatrics makes a nearly

identical statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a

recommendation that “all premature infants should be fed either their mother’s milk or, if their

mother’s milk is unavailable, pasteurized donor milk,” which recommendation is alleged to be

related in part to “lower rates… of NEC.” Id. This statement acknowledges that NEC still occurs

in preterm infants fed only breast milk, but simply at a lower rate. According to the Complaint, the

Academy does not claim that cow’s milk-based feeding products cause NEC.

       26.     The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint, a study “found that premature and low-birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of the time.”

In another study, as alleged in the Complaint, “babies given exclusively breast milk products

suffered NEC 5% of the time,” whereas “babies given cow’s milk products suffered NEC 17% of

the time.” Id. at ¶ 22-23. Once again, these studies, based on the allegations in Plaintiffs’

Complaint, do not state that cow’s milk-based formula causes NEC.

       27.     Thus, Plaintiffs have failed to state a claim for negligent failure to warn against

Moving Defendants as they have failed to state facts to establish that cow’s milk-based infant

formula is unreasonably dangerous for its intended purpose.

       28.     Further, assuming arguendo that the Defendant Manufacturers’ cow’s milk-based

feeding products can be seen as unreasonably dangerous for their intended use as opposed to

simply being a less effective alternative to breast milk products, Moving Defendants still had no

duty to warn of the nature of cow’s milk-based products under § 388 because medical providers

are not “supplying” a product to a patient within the stream of commerce.



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       29.      Plaintiffs’ failure to warn claim is similarly precluded to the extent that Plaintiffs

are alleging that Defendants, in providing medical care to Plaintiff-minor, failed to obtain Plaintiff-

parent’s consent to the use of cow’s milk-based products and failed to warn of the purported risks

and alternatives of such products.

       30.      The sole basis upon which Plaintiffs can proceed against Moving Defendants for

“failure to warn” in the context of providing medical care is to assert such a claim under a theory

of failure to obtain informed consent.

       31.      Claims for informed consent in medical malpractice actions are governed by the

Medical Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the
             patient’s authorized representative prior to conducting the following
             procedures:

             (1) Performing surgery, including the related administration of
             anesthesia.

             (2) Administering radiation or chemotherapy.

             (3) Administering a blood transfusion.

             (4) Inserting a surgical device or appliance.

             (5) Administering an experimental medication, using an experimental
             device or using an approved medication or device in an experimental
             manner.

             (b) Description of procedure.--Consent is informed if the patient has
             been given a description of a procedure set forth in subsection (a) and
             the risks and alternatives that a reasonably prudent patient would require
             to make an informed decision as to that procedure. The physician shall
             be entitled to present evidence of the description of that procedure and
             those risks and alternatives that a physician acting in accordance with
             accepted standards of medical practice would provide.

   40 P.S. §1303.504 (emphasis added).



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       32.     Since the use of infant formula in feeding premature infants is not a “procedure,”

there is no basis for Plaintiffs to contend that Plaintiff-parent’s consent was required for the use of

infant formula to feed her infant, including warning her of the risks or alternatives of same.

       33.     Further, the informed consent statute only applies to physicians, not hospitals, in

the context of medical procedures. See Morgan v. MacPhail, 550 Pa. 202, 205 (1997).

       34.     Thus, a hospital cannot be held liable for a physician’s failure to obtain proper

informed consent. Valles v. Albert Einstein Medical Center, 805 A.2d 1232 (2002).

       B.      DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
               CARE PROVIDER

       35.     In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania

Supreme Court recognized the doctrine of corporate liability, holding that a hospital may be found

directly liable for negligence if it fails to meet any of the following four duties: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent physicians; (3) a duty to oversee all persons who practice

medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate

rules and policies to ensure quality care for patients.

       36.     Plaintiffs’ corporate liability claim fails based on the same rationale as the claim

for failure to warn, since both claims are based on the alleged failure to provide warnings to

patients related to the use of cow’s milk-based infant formula.

       37.     Infant formula is regulated by the FDA, and there is no legal restriction on the use

of cow’s milk-based products for feeding of premature infants.

       38.     Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

provide cow’s-milk based products to low birth weight infants.




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        39.      Further, as discussed above, Plaintiffs cannot demonstrate that cow’s milk-based

formula is an unreasonably dangerous product.

        40.      Thus, there is no legal basis to contend that Moving Defendants can be held liable

pursuant to a theory of corporate liability for failing to prevent the use of cow’s milk-based

products in the feeding of premature infants in the hospital.

        41.      Additionally, Courts considering the application of the duties set forth in Thompson

have insisted on more than a simple finding of a negligent act by someone for whom the hospital

is purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995).

        42.      In considering whether the plaintiff could sustain corporate negligence claims

based on these allegations, the Edwards court analyzed the Thompson decision and delineated the

standards required to sustain such a claim:

              The Thompson theory of corporate liability will not be triggered every time
              something goes wrong in a hospital which harms a patient . . . To establish
              corporate negligence, a plaintiff must show more than an act of negligence by
              an individual for whom the hospital is responsible. Rather, Thompson requires
              a plaintiff to show that the hospital itself is breaching a duty and is somehow
              substandard…Thompson contemplates a kind of ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added).

        43.      Thus, a hospital may not be held liable via corporate negligence simply based on the

alleged negligence of an individual health care provider.

        44.      Accordingly, even if Plaintiffs could establish that the use of cow’s milk-based infant

formula was a breach of the standard of care by unidentified health care providers based on the

specific circumstances of the Plaintiff-minor’s case herein, which has not been pleaded by Plaintiffs

considering the paucity of the allegations in the Complaint, such evidence cannot support a finding

of corporate liability.




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       45.     Additionally, even assuming Plaintiffs had a viable corporate negligence claim

against Pennsylvania Hospital, any such claim is precluded against the Trustees of the University

of Pennsylvania since it is not a hospital.

       46.     The Thompson holding has been extended to HMO’s and nursing home facilities,

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).

       47.     However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       48.     There is no legal basis for holding that the purported corporate parent of a hospital,

such as the Trustees of the University of Pennsylvania, can be held liable under a theory of

corporate negligence.

       49.     Indeed, the Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07.

       C.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
               SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       50.     Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading.




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       51.     A plaintiff’s Complaint is required to provide a defendant with notice of what the

plaintiff’s claims are and the grounds upon which they rest, and the complaint must also formulate

the issues by summarizing the facts essential to support the claims. Alpha Tau Omega Fraternity

v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super. 1983) (citations omitted).

       52.     Pennsylvania Rule of Civil Procedure 1019(a) provides that “the material facts on

which a cause of action or defense is based shall be stated in a concise and summary form.”

Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       53.     Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa.

1953). A plaintiff’s Complaint must set forth the extent, nature, location and duration of the

injuries suffered, and injuries that are permanent should be stated specifically. Miller v.

Perrige, 71 Pa. D. & C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D.

& C.2d 713, 714 (Pa. Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more

than a generalized averment under which any injuries whatever could be proved at the trial.

Defendant would have no knowledge in advance of the trial of what they are.”)
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        54.     Plaintiffs’ Complaint is woefully deficient with regard to the specificity of the

allegations of the relevant facts and injuries at issue in this case.

        55.     Plaintiffs’ description of the material facts relating to the minor’s care and

treatment, diagnosis and injuries is limited to four paragraphs, which are utterly insufficient to

enable defendants to prepare their defenses. See Exhibit “A,” ¶¶ 11-14.

        56.     Plaintiffs aver that the minor was born prematurely but do not identify the

gestational age at which the child was born or his birth weight. Plaintiffs’ allegation that “upon

information and belief,” the minor was fed Similac and/or Enfamil shortly after his birth (Id. at ¶

12) does not comply with the fact-pleading requirements of Rule 1019(a), since such allegations

do not provide defendants with appropriate notice of the facts as to whether the minor actually

ingested cow’s milk-based products.

        57.     Further, plaintiffs have failed to identify which of the numerous products sold by

Abbott and Mead Johnson under the Similac and Enfamil brand names were ingested by the minor.

Id. at ¶¶ 37-38.

        58.     Plaintiffs’ Complaint further fails to provide a description of the material facts as

to the period of time in which such products were ingested, when the minor was allegedly

diagnosed with NEC and what treatment was provided for that condition.

        59.     The Complaint further fails to state the nature of the injuries and “long-term health

effects” that are alleged to have resulted from the diagnosis of NEC.

        60.     Plaintiffs’ damages claim is not stated with particularity, is amorphous, vague, and

open-ended. Pursuant to Pennsylvania pleading requirements, Moving Defendants should not be

compelled to defend a claim for which the statement of injury is unspecified and subject to change.




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       61.     These omissions are fatal defects in Plaintiff’s Complaint. Therefore, Plaintiffs’

Complaint should be stricken in its entirety.

       D.      MOTION TO           STRIKE       PLAINTIFFS’       CLAIMS       FOR     PUNITIVE
               DAMAGES

       62.     In the Ad Damnum clauses of Counts VI and VII of the Complaint, Plaintiffs make

baseless accusations that Moving Defendants engaged in oppressive, reckless, malicious and/or

fraudulent conduct that allegedly justify an award of punitive damages. See Exhibit “A,” pp. 38,

46.

       63.     However, the Complaint contains no specific allegations of conduct that would

permit recovery of punitive damages as to Moving Defendants.

       64.     Rather, Plaintiffs merely allege that “upon information and belief” J.C. may have

been given a cow’s milk-based infant formula following birth, absent any context to indicate that

such an action was inappropriate based on the specific issues involved in J.C.’s medical care and

condition following birth.

       65.     For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

and any health care providers regarding the purported use of cow’s milk-based products.

       66.     Plaintiff’s allegations of oppressive, malicious and similar conduct must be rejected

as mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula

in care of low birth weight infants, with no restriction as to the use of cow’s milk-based products

for such infants.

       67.     Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least five

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants




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engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula.

        68.    Absent specific factual allegations to justify the claim that the use of infant formula

in J.C.’s case was extreme and outrageous, there is no basis for an award of punitive damages in

this case.

        69.     Merely contending that punitive damages should be awarded with no supporting

factual justification requires dismissal of the claim.

        70.    Since the purpose of punitive damages is not compensation of a plaintiff but

punishment of the defendant and deterrence, punitive damages can be awarded only for conduct

involving some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For

that reason, Pennsylvania Supreme Court decisions establish that “punitive damages are an

‘extreme remedy’ available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584

Pa. 179, 188, 883 A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to

heap an additional punishment on a defendant who is found to have acted in a fashion which is

particularly egregious.” Wagner at *12.

        71.    Punitive damages may not be awarded for misconduct that constitutes ordinary

negligence such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp.,

494 A.2d 1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa.

Super. 1987). An award of punitive damages must be supported by evidence of conduct more

serious than the mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc.,

Inc., 604 F. Supp. 85, 99 (M.D. Pa. 1984).




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        72.       Specifically, with regard to punitive damages in the context of claims against health

care providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages

only to be awarded as follows:

        (a)     Award. -- Punitive damages may be awarded for conduct that is the result
        of the health care provider’s willful or wanton conduct or reckless indifference to
        the rights of others. In assessing punitive damages, the trier of fact can properly
        consider the character of the health care provider’s act, the nature and extent of the
        harm to the patient that the health care provider caused or intended to cause and the
        wealth of the health care provider.

        (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
        support an award of punitive damages.

40 P.S. §1303.505.

        73.       The Supreme Court has made clear that when assessing the propriety of the

imposition of punitive damages, “the state of mind of the actor is vital. The act or failure to act,

must be intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk

is a necessary element of the mental state required for the imposition of punitive damages. Id. at

772.

        74.       Thus, “a punitive damages claim must be supported by evidence sufficient to

establish that (1) a defendant had a subjective appreciation of the risk of harm to which the plaintiff

was exposed and that (2) he acted, or failed to act, as the case may be, in conscious disregard of

that risk.” Id.

        75.       Since professional negligence actions involve allegations that health care

professionals deviated from the governing standard of care, punitive damages are generally not

recoverable in malpractice actions unless the medical provider’s deviation from the applicable

standard of care is so egregious as to evince a conscious or reckless disregard of a patent risk of

harm to the patient. Wagner, supra.



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       76.     Where the facts as averred show nothing more than negligence, a lapse in judgment,

or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive

damages, often at the pleadings stage of litigation and even if the complaint alleged severe injuries

or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985)

(dismissing punitive damages claim where a plaintiff alleged that a physician negligently

performed a spinal fusion surgery that left the plaintiff with severe neurological defects, and noting

that “the mere pleading of outrageous conduct does not, of course, satisfy the requirement

stating facts which, if proven, would form a basis for a jury concluding that the conduct was such

that an award of punitive damages was warranted.”) (emphasis added); Wagner, supra at *11

(contentions that physician failed to prescribe antibiotics, order certain tests or request an

infectious disease consult constituted “nothing more than ordinary negligence and are insufficient

to support an award of punitive damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa.

Com. Pl. 1996) (sustaining preliminary objections and dismissing claim for punitive damages

where the plaintiff alleged negligence in the prenatal care of her child that led to the child was

stillborn and holding that “[i]t is not the outcome of the alleged negligence that is of consideration,

but rather the alleged conduct of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15

Pa. D. & C.4th 645, 670 (Pa. Com. Pl. 1992) (sustaining preliminary objections and finding that

plaintiffs were not “capable of pleading the requisite behavior” for an award of punitive damages

where a hospital allegedly failed to properly utilize a fetal monitor on a pregnant woman who was

involved in a serious car accident and thereafter delivered a stillborn child).

       77.     Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd



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Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       78.     The facts underlying Plaintiffs’ bare assertions of reckless, outrageous or similar

behavior do not even remotely meet the requisite standard under Pennsylvania law that would

permit an award of punitive damages.

       79.     Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are

specifically restricted in claims involving vicarious liability:

       (c)    Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that



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       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).

       80.     Plaintiffs allege in this action that unidentified “staff” fed J.C. Similac and/or

Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent of the

alleged risks of such products. See Exhibit “A,” ¶ 12.

       81.     Even if such actions were claimed to be egregious or malicious such that punitive

damages were permissible, which is denied for the reasons stated above, Plaintiffs must allege

facts to establish that Moving Defendants had actual knowledge of the alleged wrongful conduct

and nevertheless allowed it. See Zazzera v. Roche, 54 D. & C. 4th 225, 238 (Pa. Com. Pl. 2001);

Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985).

       82.     In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       83.     For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E.      MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

       84.     Plaintiff-parent seeks to recover damages in her own right and as the parent and

natural guardian of J.C.

       85.     Plaintiffs’ Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-parent “suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly altered by the Injured Infant’s

injuries.” See Exhibit “A,” ¶¶ 126, 139 and 147.




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       86.       However, no specific cause of action is asserted as to any damages sought by behalf

of Plaintiff-parent, who is not alleged in the Complaint to have suffered any physical injuries as a

result of the alleged negligent conduct of Moving Defendants. For this reason, Plaintiff-parent’s

claim should be dismissed.

       87.       Further, even if Plaintiff-parent had properly articulated a cause of action in the

Complaint to allow her to recover damages in her own right, the Complaint should be stricken

pursuant to Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       88.       Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf

of both the Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein.

Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint,

specifically identifying the cause of action asserted and relief sought in each count.

       89.       Additionally, although the statute of limitations for claims asserted on behalf of

minors are tolled until the age of majority, Plaintiff-parent’s claims were not similarly tolled and

were required to have been brought within two years of the alleged injury. See Hathi v. Krewstown

Park Apts, 561 A.2d 1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524.

       90.       Plaintiffs allege that J.C. was born on October 6, 2014, was fed the Defendant

manufacturers’ products shortly after his birth, and developed NEC shortly thereafter. See Exhibit

“A,” ¶¶ 11-13.

       91.       Thus, since the Complaint herein was filed on March 24, 2022, Plaintiff-parent’s

claims herein are clearly time-barred based on the applicable statute of limitations.




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        F.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
                COMPLY WITH Pa.R.C.P. 1024

        92.     Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every

pleading containing a factual averment based upon the signer’s personal knowledge or information

and belief.

        93.     Rule 1024(c) requires that the verification be made by one or more of the parties

filing the pleading.

        94.     In this case, Plaintiffs’ counsel signed the verification for the Complaint, in

violation of Rule 1024. See Exhibit “A.”

        95.     Accordingly, the Complaint should be stricken for lack of an appropriate

verification.

        WHEREFORE, Defendants The Pennsylvania Hospital of the University of Pennsylvania

Health System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine respectfully request that this Honorable Court sustain the instant Preliminary

Objections and enter the attached proposed Order.



                                              BURNS WHITE LLC


                                        BY:
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                                              The Pennsylvania Hospital of the University of
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 Holli Carter, on her own behalf and as Parent and Natural     COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                     PHILADELPHIA COUNTY

                        Plaintiff                              CIVIL DIVISION

 v.                                                            MARCH TERM, 2022
                                                               NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


      MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
       DEFENDANTS THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF
     PENNSYLVANIA HEALTH SYSTEM AND THE TRUSTEES OF THE UNIVERSITY
               OF PENNSYLVANIA TO PLAINTIFFS’ COMPLAINT

I.      MATTER BEFORE THE COURT

        Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System (“Pennsylvania Hospital”) and The Trustees of the University of

Pennsylvania to Plaintiffs’ Complaint.

        While patently obvious that Plaintiffs’ Complaint must be dismissed for clear and

important violations of the procedural requirements governing pleadings and verification of the

accuracy of the factual averments of the Complaint (there are not separate counts identified for the

causes of action of each of the Plaintiffs attempts to allege), most of which are averred “upon

information and belief,” the substance of Plaintiffs’ allegations do not support any legally
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recognized cause of action against Moving Defendants, under Pennsylvania law. Our procedural

rules do not permit a plaintiff to simply identify allegedly tortious conduct by a defendant without

pleading the necessary facts to satisfy the elements of the tortious conduct.

       Here, Plaintiffs plead that Moving Defendants permitted Co-Defendants’ cow’s milk-based

infant formula to be fed to prematurely born infants, which allegedly caused those infants to

develop necrotizing enterocolitis (“NEC”). Plaintiffs then plead themselves out of Court by

attempting to support a “failure to warn” claim by referencing various articles that, as pleaded and

for purposes of these Preliminary Objections accepted as true, do not support the contention that

cow’s milk-based infant formulas cause NEC. Thus, distinct from the Complaint’s procedural

shortcomings, Plaintiffs have failed to plead facts that support the “failure to warn” and corporate

liability causes of action that they attempt to assert against Moving Defendants. It is further

noteworthy that there is no viable “failure to warn” cause of action that is recognized under

Pennsylvania law against Moving Defendants, as explained in this submission by Moving

Defendants.

II.    STATEMENT OF QUESTIONS PRESENTED

       1.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Complaint

“Failure to Warn” cause of action with prejudice because Plaintiffs’ Complaint does not support

the claim that cow’s milk-based products are unreasonably dangerous and Moving Defendants

cannot be held liable for negligent failure to warn on the basis that they are a supplier of such

products?

       Suggested answer in the affirmative.

       2.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Complaint

“Failure to Warn” cause of action with prejudice because it improperly alleges that Moving



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Defendants were required to obtain Plaintiff-parent’s informed consent to use of cow’s milk-based

products for feeding of Plaintiff-minor and warn her of the risks and/or alternatives of same?

       Suggested answer in the affirmative.

       3.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Complaint

“Corporate Negligence” cause of action with prejudice because Moving Defendants cannot be held

liable on such a theory for a product which is regulated by the FDA and which is not precluded for

use in premature or low birth weight infants, and where a hospital cannot be held liable for

corporate negligence based on the alleged negligence of an individual health care provider?

       Suggested answer in the affirmative.

       4.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Complaint

“Corporate Negligence” cause of action with prejudice as to the Trustees of the University of

Pennsylvania since it is not a hospital and because corporate negligence duties are non-delegable?

       Suggested answer in the affirmative.

       5.      Whether this Honorable Court should strike Plaintiffs’ Complaint in its entirety for

insufficient specificity of the facts and alleged injuries?

       Suggested answer in the affirmative.

       6.      Whether this Honorable Court should strike Plaintiffs’ claims for punitive damages

as to Moving Defendants because the Complaint fails to plead facts providing a basis for an award

of punitive damages?

       Suggested answer in the affirmative.

       7.      Whether this Honorable Court should strike Plaintiff-parent’s claims for failure to

state a cause of action, and for failure to plead separate causes of action pursuant to Pa.R.C.P. 1020

and based on the applicable statute of limitations?



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         Suggested answer in the affirmative.

         8.      Whether this Honorable Court should strike Plaintiffs’ Complaint for failure to

provide a client verification as required by Pa.R.C.P. 1024?

         Suggested answer in the affirmative.

III.     INTRODUCTION AND FACTUAL BACKGROUND

         Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania Hospital

and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s milk-

based products by premature infants in the hospital following their birth. 1 Plaintiffs allege that the

Plaintiff-minors, including J.C., were diagnosed with necrotizing enterocolitis (NEC), a

gastrointestinal disorder that premature infants are at increased risk to develop. See Plaintiffs’

Complaint, attached as Exhibit “A” at ¶ 13. Plaintiffs aver that premature infants fed with their

mother’s breast milk or donor breast milk are at decreased risk of developing NEC as compared

with infants given cow’s milk-based products (infant formula). Many of the allegations of the

Complaint are pleaded “upon information and belief,” including the allegations that Plaintiff-

minors received infant formula and that they developed NEC shortly after being fed with infant

formula.

         In addition to asserting product liability claims against the infant formula manufacturers

Mead Johnson & Company, LLC, Mead Johnson Nutritional Company (collectively referred to as

“Mead Johnson”) and Abbott Laboratories (“Abbott”)2, Plaintiffs have alleged that Moving

Defendants are liable based on theories of failure to warn and corporate liability. See Plaintiff’s




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
 Mead Johnson and Abbott have been the subject of similar lawsuits in other states, including Connecticut, Illinois
and California.

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Complaint, attached as Exhibit “A” at Counts VI and VII. As is discussed in detail below,

Plaintiffs’ claims against Moving Defendants are legally and factually deficient.

         Although Plaintiffs aver that NEC is caused by cow’s milk-based products, Plaintiffs refer

in their Complaint to research studies and reports that, as alleged by Plaintiffs, indicate only that

NEC is more common in premature and low birth weight infants fed with cow’s milk-based

products as compared with similar infants fed with breast milk. See Exhibit “A,” ¶¶ 17-23. As

discussed in detail supra, assuming the truth of the factual allegations stated in Plaintiffs’

Complaint, the research studies cited by Plaintiffs do not support the conclusion that NEC is caused

by cow’s milk-based products. As such, there is no basis to contend that cow’s milk-based products

are dangerous for premature infants, such that Moving Defendants had a duty to warn Plaintiff-

parents of any risks or alternatives related to infant formula.

         Plaintiffs’ Complaint provides scant information regarding the factual background of this

case. Plaintiffs aver that J.C. was born prematurely on October 6, 2014 and that “upon information

and belief was fed Similac and/or Enfamil cow’s milk-based products by staff at Pennsylvania

Hospital from shortly after his birth.” Id., ¶¶ 11-12. Plaintiffs further allege that “upon information

and belief” J.C. developed NEC shortly after first ingesting the Defendant manufacturers’

products. Id., ¶ 13. No details are provided regarding the extent of her prematurity, his birth weight,

or his condition following birth other than that he developed NEC on an unidentified date. Further,

no facts are provided by Plaintiffs as to any medical care J.C. received for what period of time J.C.

allegedly ingested cow’s milk-based products, and which product(s) he allegedly ingested. 3




3
  Plaintiffs aver that Abbott sells at least seven types of products directed to preterm and/or low birth weight infants,
six of which use the name Similac, and that Mead Johnson sells eight types of infant formulas using the Enfamil
brand name. Id., ¶¶ 37-38.

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Finally, the Complaint is silent as to the nature and extent of J.C.’s alleged injuries other than a

vague reference to “long term health effects.” Id. ¶ 14.

       Further, the Complaint does not provide any details whatsoever regarding communications

between Plaintiff-parent and medical providers at Pennsylvania Hospital regarding the allegations

that J.C. may have been fed with Mead Johnson and/or Abbott cow’s milk-based products in the

hospital. Plaintiffs conceded in the Complaint that mothers are encouraged by their healthcare

professionals to breastfeed. Id. ¶ 41. However, Plaintiffs do not provide any information regarding

discussions between Plaintiff-parent and any health care providers at Pennsylvania Hospital related

to breastfeeding and/or using cow’s milk-based products in this case, including whether or not she

was encouraged to breastfeed and/or was unable or declined to do so. As noted, Plaintiffs plead

that Plaintiff Minor ingested formula “on information and belief” only, and similarly plead “on

information and belief” that Plaintiff Minor developed NEC as a result.

       Plaintiffs further fail to disclose in their Complaint that infant formula is regulated by the

United States Food and Drug Administration (FDA) and that there is no restriction on the use of

cow’s milk-based products for premature infants. The federal Infant Formula Act of 1980 (“IFA”)

was enacted “to assure the safety and nutrition of infant formulas.” Pub. L. No. 96-359, 94 Stat.

1190. The IFA and its implementing regulations outline the requirements that infant formula must

meet, including how infant formula is made, its contents and ingredients, and the labels used on its

packages. 21 U.S.C. § 350a; 21 C.F.R. §§ 106-07. The IFA provides that infant formulas may only

contain “substances that are safe and suitable for use in infant formula.” 21 C.F.R. § 106.40(a).

Neither the IFA nor the regulations exclude cow milk as an ingredient, and many infant formulas

for sale include cow milk. (Exhibit “A,” ¶¶ 37-38); 21 C.F.R. § 106.3 (“infant formula” is a “food

for infants by reason of its simulation of human milk”) (emphasis added). 21 U.S.C. § 350a; 21



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C.F.R. §§ 107.50. Before selling any “new infant formula,” a manufacturer must (1) register with

the FDA, and (2) submit a notice to the FDA at least 90 days before marketing such formula. The

notice must also state that the formula contains the required vitamins and nutrients, as

demonstrated by testing. 21 U.S.C. § 350a(b). These same FDA review procedures apply when a

manufacturer makes a “major change” to an existing formula. 21 U.S.C. § 350a(c)(2)(B); 21 C.F.R.

§ 106.3.

       Further, the FDA recognizes that certain infant formulas are intended for low birth weight

babies (such as infants born prematurely) or infants with unusual medical or dietary problems.

Indeed, such formulas have special review requirements. 21 U.S.C. § 350a(h); 21 C.F.R. §

107.50(a). For those formulas – known as “exempt” formulas because they may be exempted from

certain requirements – the required 90-day notice must include “the label and other labeling of the

infant formula, a complete quantitative formulation for the infant formula, and a detailed

description of the medical conditions for which the infant formula is represented.” 21 C.F.R. §

107.50(b)(3). As with other formulas, the regulations do not exclude cow milk as an ingredient for

infant formulas intended for use by an infant with a low birth weight.

       Thus, since Plaintiffs do not allege that the product did not meet federal requirements, there

is no basis for any claim that the product is unreasonably dangerous and/or should not be given

under any circumstances to premature or low birth weight infants.




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IV.    ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

                1. Moving Defendants Cannot Be Held Liable to Plaintiffs Based on a Theory
                   of Failure to Warn Because the Infant Formula is Not Unreasonably
                   Dangerous

        Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a complaint,

in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant a demurrer

where, accepting as true all well pled facts, a legal cause of action cannot be maintained upon those

facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss Fund, 702

A.2d 850, 853 (Pa. 1997).

        Plaintiffs allege in Count VI of the Complaint that Moving Defendants, “as purchaser,

supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs and the public

a duty to provide products that were free of unreasonable risk of harm. Plaintiffs’ theory against

Moving Defendants is that they were aware cow’s milk-based products manufactured by Mead

Johnson and Abbott cause NEC in premature and low birth weight infants and negligently failed

to warn the parents of those infants of this danger. In support of this theory, Plaintiffs cite to five

studies comparing cow’s milk-based products to breast milk, a Surgeon General report on the

subject, and a statement by the American Academy of Pediatrics. Taking these facts as pleaded by

Plaintiffs as true, Plaintiffs have failed to state a claim for negligent failure to warn against Moving

Defendants as they have failed to demonstrate the products in question are indeed unreasonably

dangerous. Further, to the extent the product at issue was provided in the context of medical care,

rather than commerce, there can be no claim against Moving Defendants for a product-liability

based theory of failure to warn.




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       “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a claim

of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp., 596 A.2d

845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

           One who supplies directly or through a third person a chattel for another to
           use is subject to liability to those whom the supplier should expect to use
           the chattel with the consent of the other or to be endangered by its probable
           use, for physical harm caused by the use of the chattel in the manner for
           which and by a person for whose use it is supplied, if the supplier

           (a) knows or has reason to know that the chattel is or is likely to be
               dangerous for the use for which it is supplied, and

           (b) has no reason to believe that those for whose use the chattel is supplied
               will realize its dangerous condition, and

           (c) fails to exercise reasonable care to inform them of its dangerous
           condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388. To survive preliminary objections, Plaintiffs must aver

sufficient facts, together with the documents and exhibits attached thereto, to make out a prima

facie case as to all elements of the cause of action. Northern Forests II, Inc. v. Keta Realty Co.,

130 A.3d 19, 35 (Pa. Super. 2015).

       “The threshold inquiry in all products liability cases is whether there is a defect which

rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc., 718

A.2d 305, 307 (Pa. Super. 1998). “A product is defective when it is not safe for its intended use,

i.e., the product left the supplier's control lacking any element necessary to make it safe for its

intended use.” Id. At 308. Whether a product is “unreasonably dangerous” is a question of law. Id.

Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use, triggering Moving

Defendants’ duty to warn. They have not done so as the studies they cite in their Complaint do not




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say – based on the very allegations in the Complaint - what Plaintiffs claim they do. Therefore,

Moving Defendants had no corresponding duty to warn.

         At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-weight

infants are especially susceptible to NEC.” See Exhibit “A” at ¶ 16 (emphasis added). Following

this, Plaintiffs make the core claim of their Complaint – that cow’s milk-based feeding products

cause NEC in preterm and low birth weight infants – and that “[e]xtensive scientific research,

including numerous randomized controlled trials” confirm this claim. Id. Admittedly, if a product

directly causes NEC in preterm and low birth weight infants, that product would certainly be

dangerous. However, reviewing the portions of the research and trials cited by Plaintiffs in their

Complaint belie their core claim.4

         The first study cited by Plaintiffs states, according to the Complaint, that “NEC was six to

ten times more common in exclusively cow’s milk formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who received a combination of formula

and breast milk.” Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants fed

cow’s milk-based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus, Plaintiffs’ first study does not state

cow’s milk-based feeding products causes NEC.

         As averred in the Complaint, the second study cited by Plaintiffs states that “preterm babies

fed an exclusive breast milk-based diet were 90% less likely to develop surgical NEC compared

to preterm babies fed a diet that included some cow’s milk-based products.” Id. at ¶ 18. To state


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  To the extent Plaintiffs’ claim that Defendant Manufacturers’ cow’s milk-based products increased the risk of NEC
in preterm and low-birth-weight infants, they still fail to plead sufficient facts to support this claim. The portions of
the studies relied upon by Plaintiffs, taken as true at this juncture, show only that NEC can be more common in
preterm and low-birth-weight infants fed cow’s milk-based products than in those fed breast or donor milk. These
studies do not show the cow’s milk-based products caused any increase in risk. To the extent Plaintiffs’ state the
studies do reflect an increased risk of NEC in the infants, this is a legal conclusion without factual basis, which is
impermissible under Pa. R. Civ. P. 1019 (see discussion supra at p. 19).

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that preterm infants fed only breast milk are less likely to develop a form of NEC is to admit that

NEC still develops in preterm infants regardless of the diet. Thus, Plaintiffs’ second study

likewise does not state that cow’s milk-based feeding products cause NEC.

       The third study cited by Plaintiffs concluded, per the Complaint, “fortification of breast

milk with a cow’s milk-based fortifier resulted in a 4.2-fold increased risk of NEC and a 5.1-fold

increased risk of surgical NEC or death compared to fortification with a breast milk-based

fortifier.” Id. at ¶ 19. As Plaintiffs admitted in the Complaint, preterm and low-weight-birth infants

are especially susceptible to NEC. Put another way, these infants are already at an increased

risk of NEC regardless of their diet. This study, as described in Plaintiffs’ Complaint, reflects

this in explaining different rates of risk of developing NEC when using cow’s milk-based or breast

milk-based fortifiers. What the study does not state, as alleged in the Complaint, is that cow’s

milk-based fortifiers cause NEC.

       The Surgeon General report cited by Plaintiffs is alleged in the Complaint to reiterate the

principle made in the prior three studies and states that “formula feeding is associated with higher

rates” of NEC in preterm infants and that “premature infants who are not breastfed are 138% more

likely to develop NEC." Id. at ¶ 20 (emphasis added). If cow’s milk-based formula caused NEC

as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead, the Surgeon

General report, as described in Plaintiffs’ Complaint at ¶ 20, makes the same acknowledgment as

Plaintiffs – that preterm infants are highly susceptible to NEC regardless of their diet, and that

NEC occurs in different rates in preterm infants fed cow’s milk-based products and breast milk.

The report does not state that the former causes NEC.

       According to the Complaint, the American Academy of Pediatrics makes a nearly identical

statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a recommendation that



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“all premature infants should be fed either their mother’s milk or, if their mother’s milk is

unavailable, pasteurized donor milk,” which recommendation is alleged to be related in part to

“lower rates… of NEC.” Id. This statement acknowledges that NEC still occurs in preterm infants

fed only breast milk, but simply at a lower rate. According to the Complaint, the Academy does

not state that cow’s milk-based feeding products cause NEC.

       The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint, a study “found that premature and low-birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of the time.”

In another study, as alleged in the Complaint, “babies given exclusively breast milk products

suffered NEC 5% of the time,” whereas “babies given cow’s milk products suffered NEC 17% of

the time.” Id. at ¶ 22-23. Once again, these studies, based on the allegations in Plaintiffs’

Complaint, do not state that cow’s milk-based formula causes NEC.

       Ultimately, Plaintiffs’ claim that Defendant Manufacturers’ cow’s milk-based feeding

products cause NEC and are therefore unreasonably dangerous rests upon the notion that

correlation equals causation. The numerous studies and reports cited by Plaintiffs in their

Complaint purportedly show higher rates of NEC in preterm and low birth weight infants fed cow’s

milk-based diets than those fed breast milk, but this data exists in a world where Plaintiffs admit

these infants are at a high risk of developing NEC regardless of diet. All that Plaintiffs’ Complaint

demonstrates, as pleaded under these facts, is that breast milk may be better at reducing that already

high risk of NEC in these infants than cow’s milk-based alternatives. This proposition does not

make the Defendant Manufacturers’ cow’s milk-based alternatives unreasonably dangerous within




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the meaning of § 388 of the Restatement (Second) of Torts and, accordingly, does not trigger a

duty to warn on the part of Moving Defendants.

               2. Moving Defendants Are Not a “Supplier” and, Therefore, Cannot Be Held
                  Liable for Negligent Failure to Warn

       Assuming arguendo that the Defendant Manufacturers’ cow’s milk-based feeding products

can be seen as dangerous for their intended use as opposed to simply being a less effective

alternative to breast milk products, Moving Defendants still had no duty to warn of the nature of

cow’s milk-based products under § 388 because they are not considered a supplier of cow’s milk-

based feeding products. Plaintiffs cite to no caselaw in Pennsylvania holding that a hospital is

considered a supplier under § 388. Indeed, extensive research into this topic turns up no prior

decisions where a Pennsylvania court has found a hospital to be a supplier in a products liability

case for negligent failure to warn.

       To determine a hospital may be defined as supplier of products ancillary to and following

medical services within the meaning of § 388 would be to impose on the hospital a duty to warn

about every conceivable object a patient may encounter in a hospital, right down to the napkins

available in the hospital cafeteria. Imposing such a duty does nothing to advance the purpose of

products liability law, i.e. to protect consumers from dangerous products in the stream of

commerce. Moving Defendants are not in the best position to determine what products are

available in the market for premature and low weight birth infants. In light of this, Plaintiffs have

not sufficiently pleaded that Moving Defendants are a supplier under § 388.

       For the foregoing reasons, Plaintiffs have not pleaded sufficient facts to aver the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use and thus have not

established Moving Defendants had a duty to warn. Alternatively, even if the products at issue

here can be viewed as unreasonably dangerous, Plaintiffs still have failed to plead sufficient facts

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that Moving Defendants are a supplier of products that are ancillary to the medical services

provided to Plaintiffs. Accordingly, it is respectfully requested this Court sustain Moving

Defendants’ Preliminary Objections to Count VI: Failure to Warn of Plaintiffs’ Complaint.

               3. There is no Legal Basis for Plaintiffs to Present an Informed Consent
                  Claim Regarding the Use of Cow’s milk-based products

       Plaintiffs’ failure to warn claim is couched in language of product liability related to

Moving Defendants’ alleged duty “as a purchaser, supplier and/or distributor” to provide a product

(cow’s milk-based infant formula) that was free of unreasonable risk of harm to consumers

(parents and their premature infants). This theory fails for the reasons stated above. However, to

the extent that Plaintiffs are alleging that Moving Defendants, in providing medical care to

Plaintiff-minor, failed to obtain Plaintiff-parent’s consent to the use of cow’s milk-based products

and failed to warn of the purported risks and alternatives of such products, such a claim is also

clearly precluded by Pennsylvania law.

       Plaintiffs broadly allege that Moving Defendants failed to warn of the alleged dangers of

cow’s milk-based products and provide them with information necessary “to make an informed

choice about whether to allow their baby to be fed the Defendant Manufacturers’ products.” See

Exhibit “A” at ¶ 121. This purported failure to warn/inform allegedly led Plaintiff-minor to be fed

a cow’s milk-based product that Plaintiffs’ contend caused and/or increased the risk of NEC. Id.

at ¶ 125. The sole basis upon which Plaintiffs can proceed against Moving Defendants for “failure

to warn” in the context of providing medical care is to assert such a claim under a theory of failure

to obtain informed consent. Plaintiffs are impliedly asserting that Moving Defendants failed to

obtain Plaintiff-parent’s informed consent as to whether she should use cow’s milk-based infant

formula to feed her child as opposed to breastfeeding or using breast donor milk, based on the




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alleged risks of cow’s milk-based products. However, such a claim is not cognizable under

Pennsylvania law.

       Claims for informed consent in medical malpractice actions are governed by the Medical

Care Availability and Reduction of Error Act, which provides as follows:

           (a) Duty of Physicians.--Except in emergencies, a physician owes a
           duty to a patient to obtain the informed consent of the patient or the
           patient’s authorized representative prior to conducting the following
           procedures:

               (1) Performing surgery, including the related administration of
               anesthesia.

               (2) Administering radiation or chemotherapy.

               (3) Administering a blood transfusion.

               (4) Inserting a surgical device or appliance.

               (5) Administering an experimental medication, using an
               experimental device or using an approved medication or device in
               an experimental manner.

               (b) Description of procedure.--Consent is informed if the patient has
               been given a description of a procedure set forth in subsection (a)
               and the risks and alternatives that a reasonably prudent patient
               would require to make an informed decision as to that procedure.
               The physician shall be entitled to present evidence of the description
               of that procedure and those risks and alternatives that a physician
               acting in accordance with accepted standards of medical practice
               would provide.

40 P.S. §1303.504 (emphasis added).

       The clear language of the statute above reveals two significant tenets. The first is that the

informed consent statute does not apply to the use of infant formula in feeding premature infants,

since that is not a “procedure.” Thus, there is no basis for Plaintiffs to contend that Plaintiff-

parent’s consent was required for the use of infant formula to feed her infant, including warning

her of the risks or alternatives of same. Second, the informed consent statute only applies to

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physicians, not hospitals, in the context of medical procedures. See Morgan v. MacPhail, 550 Pa.

202, 205 (1997).

       Informed consent has not been extended to any type of therapeutic treatment involving an

ingestible therapeutic drug, which the court defined as “an ongoing treatment upon examination

by the treating physician, where any change of condition can be diagnosed and controlled.” Boyer

v. Smith, 345 Pa. Super. 66, 71, 497 A.2d 646, 648 (1985). The Superior Court ruled that the

informed consent doctrine is premised upon the legal theory that the performance of a medical

procedure without a patient's informed consent constitutes a technical assault or battery and that

merely prescribing an oral medication does not involve a touching so not battery can occur and no

informed consent is needed. Id. at 649. The same principles clearly apply to administration of

infant formula to a newborn.

       Further, an informed consent claim is only applicable to a physician and not the hospital

and/or other health care entities. See 40 P.S. § 1303.504; see also Kelly v. Methodist Hosp., 664

A.2d 148 (Pa. Super. 1995) (holding that generally only the physician who performs the operation

on the patient has the duty of obtaining his consent for the procedure). The Pennsylvania Supreme

Court has held that informed consent involves the relationship between a physician and the patient

and that the failure to obtain proper informed consent is deemed a battery, and the institution plays

no role in the communications involved in obtaining the same. See Valles v. Albert Einstein

Medical Center, 805 A.2d 1232 (2002). In Valles, the Court decisively ruled that:

       We find that a battery which results from a lack of informed consent is not the type
       of action that occurs within the scope of employment. In our view, a medical facility
       cannot maintain control over this aspect of the physician-patient relationship. Our
       lower courts have recognized that the duty to obtain informed consent belongs
       solely to the physician. (Citations omitted). Informed consent flows from the
       discussions each patient has with his physician, based on the facts and
       circumstances each case presents. We decline to interject an element of a hospital’s
       control into this highly individualized and dynamic relationship. We agree with the

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        lower court that to do so would be both improvident and unworkable. Thus, we
        hold that as a matter of law, a medical facility lacks the control over the manner in
        which the physician performs his duty to obtain informed consent so as to render
        the facility vicariously liable.

Id., 805 A.2d at 1239 (emphasis added). The Valles case remains the prevailing law in

Pennsylvania. Pennsylvania courts have repeatedly applied this doctrine, recognizing and

acknowledging that “[i]n a claim alleging lack of informed consent, it is the conduct of the

unauthorized procedure that constitutes the tort.” Isaac v. Jameson Mem. Hosp., 932 A.2d 924,

929 (Pa. Super. 2007) (citing Moure v. Raeuchle, 604 A.2d 1003, 1008 (Pa. Super. 1992). Further,

“[g]iven the unique nature of the doctrine and its origins as a technical battery, hospitals cannot be

held vicariously liable for a physician’s failure to obtain informed consent because ‘a medical

facility cannot maintain control over this aspect of the physician-patient relationship.’” Isaac, 932

A.2d at 930. As such, it is clear that the instant cause of action cannot be sustained against Moving

Defendants as a matter of law.

        B. DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
           CARE PROVIDER

                1. Moving Defendants Cannot be Held Liable for Corporate Negligence
                   Regarding a Food Product Which is Permitted for its Intended Use
                   Pursuant to Federal Law

        In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.



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        Plaintiffs’ corporate liability claim fails based on the same rationale as the claim for failure

to warn. Both claims are based on the alleged failure to provide warnings to patients related to the

use of cow’s milk-based infant formula. As noted above, infant formula is regulated by the FDA,

and there is no legal restriction on the use of cow’s milk-based products for feeding of premature

infants. Indeed, the Infant Formula Act expressly acknowledges that it is permissible to provide

cow’s-milk based products to low birth weight infants. Further, as discussed above, Plaintiffs

cannot demonstrate that cow’s milk-based formula is a dangerous product. Thus, there is no legal

basis to contend that Moving Defendants can be held liable pursuant to a theory of corporate

liability for failing to preclude the use of cow’s milk-based products in the feeding of premature

infants in the hospital.

        Additionally, Courts considering the application of the duties set forth in Thompson have

insisted on more than a simple finding of a negligent act by someone for whom the hospital is

purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995). In

considering whether the plaintiff could sustain corporate negligence claims based on these

allegations, the court analyzed the Thompson decision and delineated the standards required to

sustain such a claim:

               The Thompson theory of corporate liability will not be triggered every time
               something goes wrong in a hospital which harms a patient . . . To
               establish corporate negligence, a plaintiff must show more than an act of
               negligence by an individual for whom the hospital is responsible. Rather,
               Thompson requires a plaintiff to show that the hospital itself is breaching a
               duty and is somehow substandard…Thompson contemplates a kind of
               ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added). Thus, corporate liability requires “more than

individual acts of negligence.” Id. As noted by the court in Edwards, this reading of the Court’s

opinion in Thompson is the only way to logically construe its holding, as hospitals are already held

vicariously liable for the negligent acts of their employees and ostensible agents, while “Thompson
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requires a plaintiff to show that the hospital itself is breaching a duty and is somehow substandard.”

Id. at 1387; see also MacDonald v. Chestnut Hill Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa.

C.P. 2005) (granting nonsuit to the hospital defendant where “[t]here was no evidence that protocols

were routinely ignored to the detriment of patients or that the kind of systematic negligence on the

part of CHH required by the Edwards decision was present.”)

        Thus, a hospital may not be held liable via corporate negligence simply based on the alleged

negligence of an individual health care provider. Accordingly, even if Plaintiffs could establish that

the use of cow’s milk-based infant formula was a breach of the standard of care by unidentified health

care providers based on the specific circumstances of the Plaintiff-minor’s case herein, which has not

been pleaded by Plaintiffs considering the paucity of the allegations in the Complaint, such evidence

cannot support a finding of corporate liability.

        For the reasons stated above, Count VII of Plaintiffs’ Complaint should be dismissed with

prejudice.

                2. Plaintiffs Are Precluded From Pursuing Corporate Negligence Claims as
                   to The Trustees of the University of Pennsylvania

        As noted infra, the Pennsylvania Supreme Court set forth certain nondelegable duties of

hospitals, which if violated may support a finding of corporate negligence. The Thompson holding

has been extended to HMO’s and nursing home facilities, where it was determined that such

entities performed similar functions as hospitals. See Shannon v. Health America Pennsylvania,

Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland Park Care Center, LLC, 57 A.3d 582

(Pa. 2012). However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

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& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       There is no legal basis for holding that the purported corporate parent of a hospital can be

held liable under a theory of corporate negligence. The Trustees of the University of Pennsylvania

is not a hospital and cannot be held liable under a theory of corporate liability, regardless of its

relationship with Pennsylvania Hospital. Moreover, as Pennsylvania Courts have consistently

held, corporate negligence duties are “non-delegable,” i.e., only one entity can be held liable for a

breach of these duties. The Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07. Thus, even if a corporate negligence claim were permissible as to Pennsylvania

Hospital, which is denied for the reasons stated above, The Trustees of the University of

Pennsylvania, which is not a hospital, cannot also be exposed to liability for an alleged breach of

the same, non-delegable duties arising out of the same factual allegations. Accordingly, even

accepting as true all well pled facts in Plaintiffs’ Complaint, the corporate negligence claims as to

the non-hospital Defendant, the Trustees of the University of Pennsylvania, are legally insufficient

and must therefore be dismissed.

       C. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
          SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the nature of

a motion to strike for insufficient specificity in a pleading. A plaintiff’s Complaint is required to

provide a defendant with notice of what the plaintiff’s claims are and the grounds upon which they

rest, and the complaint must also formulate the issues by summarizing the facts essential to support

the claims. Alpha Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352

(Pa. Super. 1983) (citations omitted). Pennsylvania Rule of Civil Procedure 1019(a) provides that

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“the material facts on which a cause of action or defense is based shall be stated in a concise and

summary form.” Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       Further, it is well established that, with regard to the description of injuries sustained by a

plaintiff, the Complaint must be stated with sufficient particularity to put the defendant on notice

of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa. 1953). A plaintiff’s

Complaint must set forth the extent, nature, location and duration of the injuries suffered,

and injuries that are permanent should be stated specifically. Miller v. Perrige, 71 Pa. D. &

C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa.

Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more than a generalized

averment under which any injuries whatever could be proved at the trial. Defendant would have

no knowledge in advance of the trial of what they are.”)

       Plaintiffs’ Complaint is woefully deficient with regard to the specificity of the allegations

of the relevant facts and injuries at issue in this case. Plaintiffs’ description of the material facts

relating to the minor’s care and treatment, diagnosis and injuries is limited to four paragraphs,

which are utterly insufficient to enable defendants to prepare their defenses. See Exhibit “A,” ¶¶

11-14. Plaintiffs aver that the minor was born prematurely but do not identify the gestational age
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at which the child was born or his birth weight. Plaintiffs’ allegation that “upon information and

belief,” the minor was fed Similac and/or Enfamil shortly after his birth (Id. at ¶ 12) does not

comply with the fact-pleading requirements of Rule 1019(a), since such allegations do not provide

Moving Defendants with appropriate notice of the facts as to whether the minor actually ingested

cow’s milk-based products. Further, plaintiffs have failed to identify which of the numerous

products sold by Abbott and Mead Johnson under the Similac and Enfamil brand names were

ingested by the minor. Id. at ¶¶ 37-38. Plaintiffs’ Complaint further fails to provide a description

of the material facts as to the period of time in which such products were ingested, when the minor

was allegedly diagnosed with NEC and what treatment was provided for that condition.

        The Complaint further fails to state the nature of the injuries and “long-term health effects”

that are alleged to have resulted from the diagnosis of NEC. Plaintiffs’ damages claim is not stated

with particularity, is amorphous, vague, and open-ended. Pursuant to Pennsylvania pleading

requirements, Moving Defendants should not be compelled to defend a claim for which the

statement of injury is unspecified and subject to change.

        In short, Plaintiffs’ Complaint is inconsistent with the requirements of the Pennsylvania

Rules of Civil Procedure as to the necessary specificity for the description of the facts and alleged

injuries sustained. The facts in the Complaint are pleaded almost entirely “on information and

belief.” These omissions are fatal defects in Plaintiff’s Complaint. Therefore, Plaintiffs’ Complaint

should be stricken in its entirety.

        D. MOTION TO STRIKE PLAINTIFFS’ CLAIMS FOR PUNITIVE DAMAGES

        As in the other infant formula cases, In the Ad Damnum clauses of Counts VI and VII of

the Complaint, Plaintiffs make baseless accusations that Moving Defendants engaged in

oppressive, reckless, malicious and/or fraudulent conduct that allegedly justify an award of



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punitive damages. See Exhibit “A,” pp. 38, 46. However, the Complaint contains no specific

allegations of conduct that would permit recovery of punitive damages as to Moving Defendants.

Rather, Plaintiffs merely allege that “upon information and belief” J.C. may have been given a

cow’s milk-based infant formula following birth, absent any context to indicate that such an action

was inappropriate based on the specific issues involved in J.C.’s medical care and condition

following birth. For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

and any health care providers regarding the purported use of cow’s milk-based products.

       Plaintiff’s allegations of oppressive, malicious and similar conduct must be rejected as

mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula in

care of low birth weight infants, with no restriction as to the use of cow’s milk-based products for

such infants. Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least four

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula. Absent specific factual allegations to justify the claim that the use of

infant formula in J.C.’s case was extreme and outrageous, there is no basis for an award of punitive

damages in this case. Merely contending that punitive damages should be awarded with no

supporting factual justification requires dismissal of this claim.

       Since the purpose of punitive damages is not compensation of a plaintiff but punishment

of the defendant and deterrence, punitive damages can be awarded only for conduct involving

some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania Supreme Court decisions establish that “punitive damages are an ‘extreme remedy’

available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa. Dist. & Cnty. Dec.



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LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584 Pa. 179, 188, 883

A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to heap an additional

punishment on a defendant who is found to have acted in a fashion which is particularly

egregious.” Wagner at *12.

       Punitive damages may not be awarded for misconduct that constitutes ordinary negligence

such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp., 494 A.2d

1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

An award of punitive damages must be supported by evidence of conduct more serious than the

mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984).

       Specifically, with regard to punitive damages in the context of claims against health care

providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages only

to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
       of the health care provider’s willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly
       consider the character of the health care provider’s act, the nature and extent of the
       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

41 P.S. §1303.505.

       The Supreme Court has made clear that when assessing the propriety of the imposition of

punitive damages, “the state of mind of the actor is vital. The act or failure to act, must be

intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk is a

necessary element of the mental state required for the imposition of punitive damages. Id. at 772.



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Thus, “a punitive damages claim must be supported by evidence sufficient to establish that (1) a

defendant had a subjective appreciation of the risk of harm to which the plaintiff was exposed and

that (2) he acted, or failed to act, as the case may be, in conscious disregard of that risk.” Id.

        Since professional negligence actions involve allegations that health care professionals

deviated from the governing standard of care, punitive damages are generally not recoverable in

malpractice actions unless the medical provider’s deviation from the applicable standard of care is

so egregious as to evince a conscious or reckless disregard of a patent risk of harm to the patient.

Wagner, supra.

        Where the facts as averred show nothing more than negligence, a lapse in judgment, or

mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive damages,

often at the pleadings stage of litigation and even if the complaint alleged severe injuries or death.

See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985) (dismissing punitive

damages claim where a plaintiff alleged that a physician negligently performed a spinal fusion

surgery that left the plaintiff with severe neurological defects, and noting that “the mere pleading

of outrageous conduct does not, of course, satisfy the requirement stating facts which, if proven,

would form a basis for a jury concluding that the conduct was such that an award of punitive

damages was warranted.”) (emphasis added); Wagner, supra at *11 (contentions that physician

failed to prescribe antibiotics, order certain tests or request an infectious disease consult constituted

“nothing more than ordinary negligence and are insufficient to support an award of punitive

damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa. Com. Pl. 1996) (sustaining

preliminary objections and dismissing claim for punitive damages where the plaintiff alleged

negligence in the prenatal care of her child that led to the child was stillborn and holding that “[i]t

is not the outcome of the alleged negligence that is of consideration, but rather the alleged conduct



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of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15 Pa. D. & C.4th 645, 670 (Pa.

Com. Pl. 1992) (sustaining preliminary objections and finding that plaintiffs were not “capable of

pleading the requisite behavior” for an award of punitive damages where a hospital allegedly failed

to properly utilize a fetal monitor on a pregnant woman who was involved in a serious car accident

and thereafter delivered a stillborn child).

       Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical




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insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       All of the cases in the paragraph above set forth examples of egregious conduct, completely

inapposite to the facts of the instant case. The facts underlying Plaintiffs’ bare assertions of

reckless, outrageous or similar behavior do not even remotely meet the requisite standard under

Pennsylvania law that would permit an award of punitive damages. Even assuming the allegations

in the Complaint were true for the purposes of this argument only, the outcome in this case was

not the result of any intentional wrongdoing or deliberate misconduct on the part of Moving

Defendants or any medical provider at Pennsylvania Hospital, nor does the Complaint contain any

such allegations.

       Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are specifically

restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c). Plaintiffs allege in this action that unidentified “staff” fed J.C. Similac

and/or Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent

of the alleged risks of such products. See Exhibit “A,” ¶ 12. Even if such actions were claimed to

be egregious or malicious such that punitive damages were permissible, which is denied for the

reasons stated above, Plaintiffs must allege facts to establish that Moving Defendants had actual

knowledge of the alleged wrongful conduct and nevertheless allowed it. See Zazzera v. Roche, 54

D. & C. 4th 225, 238 (Pa. Com. Pl. 2001); Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637

(Pa. Super. 1985). In this matter, Plaintiffs have failed to plead any facts to suggest that Moving



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Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E. MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

               1. Plaintiff-Parent has Failed to State a Cause of Action

       Plaintiff-parent seeks to recover damages in her own right and as the parent and natural

guardian of J.C. Plaintiffs’ Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-parent “suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly altered by the Injured Infant’s

injuries.” See Exhibit “A,” ¶¶ 126, 139 and 147. However, no specific cause of action is asserted

as to any damages sought by Plaintiff-parent in her own right, who is not alleged in the Complaint

to have suffered any physical injuries as a result of the alleged negligent conduct of Moving

Defendants. For this reason, Plaintiff-parent’s claim should be dismissed.

               2. Plaintiffs are Required to Plead Separate Claims Pursuant to
                  Pa.R.C.P. 1020

       Further, even if Plaintiff-parent had properly articulated a cause of action in the Complaint

to allow her to recover damages in her own right, the Complaint should be stricken pursuant to

Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf of both the

Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein. Claims on



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behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint, specifically

identifying the cause of action asserted and relief sought in each count.

               3. Plaintiff-Parent’s Claim Is Precluded Pursuant to the Statute of Limitations

       Although the statute of limitations for claims asserted on behalf of minors are tolled until

the age of majority, Plaintiff-parent’s claims were not similarly tolled and were required to have

been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561 A.2d

1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524. Plaintiffs allege that J.C. was born on October 6, 2014,

was fed the Defendant manufacturers’ products shortly after his birth, and developed NEC shortly

thereafter. See Exhibit “A,” ¶¶ 11-13. Thus, since the Complaint herein was filed on March 24,

2022, Plaintiff-parent’s claims herein are clearly time-barred based on the applicable statute of

limitations.

       F. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
          COMPLY WITH Pa.R.C.P. 1024

       Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every pleading

containing a factual averment based upon the signer’s personal knowledge or information and

belief. Rule 1024(c) requires that the verification be made by one or more of the parties filing the

pleading. In this case, Plaintiffs’ counsel signed the verification for the Complaint, in violation of

Rule 1024. See Exhibit “A.” Accordingly, the Complaint should be stricken for lack of an

appropriate verification.




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V,     REQUESTED RELIEF

       For the foregoing reasons, Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.



                                             BURNS WHITE LLC


                                       BY:
                                             JAMES A. YOUNG, ESQ.
                                             RICHARD S. MARGULIES, ESQ.
                                             Attorneys for Defendants,
                                             The Pennsylvania Hospital of the University of
                                             Pennsylvania Health System d/b/a Pennsylvania
                                             Hospital and The Trustees of the University of
                                             Pennsylvania d/b/a Penn Medicine




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                                 CERTIFICATE OF SERVICE

       I, Richard S. Margulies, Esquire, do hereby certify that on this day I caused a true and

correct copy of the foregoing Preliminary Objections of Defendants The Pennsylvania Hospital of

the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine to Plaintiff’s Complaint, to be served via the

electronic filing system to all counsel of record.




                                          BY:
                                                RICHARD S. MARGULIES, ESQ.


Dated: June , 2023
